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·1· · · · ·IN THE UNITED STATES DISTRICT COURT

·2· · · · · ·EASTERN DISTRICT OF PENNSYLVANIA

·3

·4
· · · MARNIE O'BRIEN,· · · · ·)
·5· · · · · · · · · · · · · · )
· · · · · ·Plaintiff,· · · · ·)
·6· · · · · · · · · · · · · · )Civil Action No.
· · · v.· · · · · · · · · · · )19-06078 JMG
·7· · · · · · · · · · · · · · )
· · · MIDDLE EAST FORUM,· · · )
·8· · DANIEL PIPES· · · · · · )
· · · (individually), and GREGG )
·9· · ROMAN (individually),· ·)
· · · · · · · · · · · · · · · ·)
10· · · · ·Defendants.· · · · · · )
· · · ---------------------------
11· · GREGG ROMAN,· · · · · · · · )
· · · · · · · · · · · · · · · )
12· · · · ·Counterclaim and· ·)
· · · · · ·Third-Party· · · · · · )
13· · · · ·Plaintiff,· · · · ·)
· · · · · · · · · · · · · · · )
14· · v.· · · · · · · · · · · )
· · · · · · · · · · · · · · · )
15· · MARNIE O'BRIEN,· · · · ·)
· · · · · · · · · · · · · · · )
16· · · · ·Counterclaim· · · ·)
· · · · · ·Defendant.· · · · ·)
17

18
· · · · · · DEPOSITION OF MARNIE O'BRIEN
19
· · · · · · ·TAKEN ON JANUARY 14, 2021
20

21
· · · · · · · · · ·WILCOX & FETZER
22· · · · Registered Professional Reporters
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                      Marnie O'Brien - January 14, 2021                  2


·1· · · · · ·Deposition of MARNIE O'BRIEN via

·2· · · remote videoconferencing of all

·3· · · participants taken pursuant to notice

·4· · · beginning at 9:09 a.m., on Thursday,

·5· · · January 14, 2021, before Kurt A.

·6· · · Fetzer, Registered Diplomate Reporter

·7· · · and Notary Public.

·8· · APPEARANCES:

·9· · · · ·ERICA A. SHIKUNOV, ESQ.
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12
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· · · · · · ·Counterclaim Third-Party Plaintiff
19
· · · ALSO PRESENT:
20· · · · ·MARC FINK, ESQ.
· · · · · ·MATTHEW MAINEN, ESQ.
21· · · · ·IN-HOUSE COUNSEL - MIDDLE EAST FORUM

22· · · · ·DANIEL PIPES
· · · · · ·GREGG ROMAN
23· · · · ·JON CAVALIER
· · · · · ·JASON BROCKMAN, PARALEGAL
24· · · · ·CHRIS WEISS CALHOUN, VIDEOGRAPHER


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                      Marnie O'Brien - January 14, 2021                  3


·1· · · · · · · · -· -· -· -       -

·2· · · · · · · · ·THE COURT REPORTER:· Will

·3· · · counsel stipulate to the admissibility

·4· · · of my oath via remote video-

·5· · · conferencing?

·6· · · · · · · · ·MS. DIBIANCA:· Yes.

·7· · · · · · · · ·MS. SHIKUNOV:· Yes.

·8· · · · · · · · ·THE VIDEOGRAPHER:· We are on

·9· · · the record.· My name is is Chris Weiss

10· · · Calhoun, Certified Legal Videographer

11· · · retained by Lexitas.

12· · · · · · · · ·This is a video deposition

13· · · in the United States District Court

14· · · Eastern District of Pennsylvania.

15· · · Today's date is January 14th of 2021.

16· · · The time on the monitor is 9:09 a.m.

17· · · Eastern Time.

18· · · · · · · · ·The deposition is being held

19· · · virtually in the matter of Marnie

20· · · O'Brien versus Middle East Forum,

21· · · Daniel Pipes and Gregg Roman.· The

22· · · deponent is Marnie O'Brien.

23· · · · · · · · ·Will the attorneys please

24· · · state their appearance for the record?


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                       Marnie O'Brien - January 14, 2021                  4


·1· · · · · · · · ·MS. SHIKUNOV:· Erica

·2· · · Shikunov for plaintiff.

·3· · · · · · · · ·MS. DIBIANCA:· And Molly

·4· · · DiBianca behalf of the defendant.

·5· · · · · · · · ·THE VIDEOGRAPHER: And the

·6· · · court reporter today is Kurt Fetzer and

·7· · · will now administer the oath.

·8

·9· · · · · · · · · -· -· -· -        -

10

11· · · · · · · · · MARNIE O'BRIEN,

12· · · · ·the deponent herein, having first

13· · · · ·been duly sworn on oath, was

14· · · · ·examined and testified as follows:

15· · · · · · · · · · EXAMINATION

16· · · BY MS. DIBIANCA:

17· · · · Q.· ·Good morning, Ms. O'Brien.· I'm

18· · · quite certain your counsel has done a

19· · · great job in getting you ready so I'm

20· · · not going to go into a whole bunch of

21· · · instructions other than to just

22· · · reiterate the need for us not to speak

23· · · on top of each other.

24· · · · · · · · ·If I cut you off, it is not


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                      Marnie O'Brien - January 14, 2021                  5


·1· · · my intention so if I do that I will

·2· · · stop talking and you can continue.· And

·3· · · I'll just ask that you do the same for

·4· · · me.

·5· · · · · · · · ·The other instruction that

·6· · · I'll just note is just a matter of

·7· · · civility.· There are times inevitably

·8· · · where the witness will nod or give a

·9· · · non-verbal answer like a shake of the

10· · · head instead of a yes or a no. I'm

11· · · going to need you to say a yes or a no

12· · · if that's what you mean on the record

13· · · using words.· So I may say did you mean

14· · · yes or no or did you mean yes?

15· · · · · · · · ·And when I do that, I'm not

16· · · trying to be rude.· I'm not trying to

17· · · suggest an answer to you.· I just want

18· · · to make sure that we have a record that

19· · · has words.

20· · · · · · · · ·So those are the only two

21· · · instructions.· If there's any questions

22· · · at any time, let me know.· If you need

23· · · to revise an answer, let me know.

24· · · · · · · · ·We're going to take plenty


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                      Marnie O'Brien - January 14, 2021                  6


·1· · · of breaks.· I try not to go for longer

·2· · · than an hour without a break, but you

·3· · · or your counsel can request one at any

·4· · · time.· It's not a problem.· All right.

·5· · · · · · · · ·Have you had your deposition

·6· · · taken before?

·7· · · · A.· ·No.

·8· · · · Q.· ·Are you currently employed?

·9· · · · A.· ·No.

10· · · · Q.· ·When was the last time you held

11· · · a job?

12· · · · A.· ·At the Middle East Forum.

13· · · · Q.· ·What income have you had since

14· · · you left the Forum?

15· · · · A.· ·I have a consulting business

16· · · that I always have done on the side.

17· · · It's small.· It's not a substantial

18· · · amount of income.

19· · · · · · · · ·I was supposed to have a new

20· · · job when quarantine hit.· It didn't

21· · · happen.· I was let go before I even

22· · · started, so I collected unemployment.

23· · · · · · · · ·And then I had gotten my

24· · · real estate license.· So I had sold a


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                       Marnie O'Brien - January 14, 2021                 7


·1· · · couple of houses, dabbled in that a

·2· · · little.

·3· · · · Q.· ·I'm sorry.· That something a

·4· · · little?

·5· · · · A.· ·I dabbled with the real estate a

·6· · · little.

·7· · · · Q.· ·Okay.· Since you left the Middle

·8· · · East Forum, how much have you earned as

·9· · · a result of the consulting business?

10· · · · A.· ·I don't know.· I would have to

11· · · look.· I think, I think I sent that

12· · · over at some point.

13· · · · Q.· ·And the name of that business is

14· · · GC4, correct?

15· · · · A.· ·GC4 Consulting.

16· · · · Q.· ·And what type of work do you do

17· · · for that business?

18· · · · A.· ·Bookkeeping.

19· · · · Q.· ·When did you start that

20· · · business?

21· · · · A.· ·2012.

22· · · · Q.· ·And are you the only person

23· · · involved in the business?

24· · · · A.· ·Yes.


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                       Marnie O'Brien - January 14, 2021                  8


·1· · · · Q.· ·What does the name stand for,

·2· · · GC4?

·3· · · · A.· ·It's Group Consulting.

·4· · · · Q.· ·What's the 4 stand for?

·5· · · · A.· ·When I was originally doing it

·6· · · there were four platforms.· I had four

·7· · · other -- actually, I had five.· When I

·8· · · started there were four.

·9· · · · · · · · ·I had four other women who

10· · · weren't happy in their jobs and, you

11· · · know, wanted to try to do something.

12· · · So each one of us had a platform.· One

13· · · was operations.· Mine was bookkeeping.

14· · · One was marketing and I think the other

15· · · was events.

16· · · · · · · · ·And then one of the

17· · · marketing girls had -- her father-in-

18· · · law had been really good at advertising

19· · · so we brought him in.· He was in for a

20· · · little while.

21· · · · Q.· ·And are those people involved

22· · · now?

23· · · · A.· ·No.· They -- you know, it was

24· · · more or less what I had offered to them


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                       Marnie O'Brien - January 14, 2021                  9


·1· · · was, you know, if they brought in that

·2· · · business like I would get a percentage

·3· · · of it for doing the back end of the

·4· · · bookkeeping.· And because it was my

·5· · · business that was promoting it, I would

·6· · · get like a certain chunk of it.

·7· · · · · · · · ·So they would have to sell

·8· · · it basically and if they sold something

·9· · · that they needed help with, they could

10· · · pull the other players in to help with

11· · · that.· So everybody would basically be

12· · · trying to build their own business

13· · · under one umbrella and hopefully

14· · · providing work for one another.

15· · · · Q.· ·Okay.· So you mentioned -- and

16· · · I'll circle back to what you testified

17· · · to about the other job that you had

18· · · lined up.

19· · · · · · · · ·So you had a job lined up

20· · · when you resigned from MEF, correct?

21· · · · A.· ·Yes.

22· · · · Q.· ·And where was that job?

23· · · · A.· ·It was called 1 Creation

24· · · Construction.


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                       Marnie O'Brien - January 14, 2021                  10


·1· · · · Q.· ·As in the number o-n-e 1?

·2· · · · A.· ·I think they used both.

·3· · · · Q.· ·But not like w-o-n?

·4· · · · A.· ·No.

·5· · · · Q.· ·Okay.· One.· Okay.

·6· · · · · · · · ·Tell me where they're

·7· · · located?

·8· · · · A.· ·They are in I think Cherry Hill,

·9· · · like that area.

10· · · · Q.· ·Okay.· What were you going to do

11· · · for them?

12· · · · A.· ·Bookkeeping, help them organize

13· · · their office and they kind of wanted me

14· · · to like manage their office and their

15· · · back end for them so that they could

16· · · get the, you know, the business in and

17· · · do the construction.

18· · · · · · · · ·They did --

19· · · · Q.· ·Okay.

20· · · · A.· ·-- custom homes.

21· · · · Q.· ·Sorry.· It's inevitable we'll

22· · · trip over each other a little bit.

23· · · It's inevitable via Zoom and I

24· · · apologize.


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                       Marnie O'Brien - January 14, 2021                  11


·1· · · · · · · · ·Would that have been a

·2· · · full-time position?

·3· · · · A.· ·Yes.

·4· · · · Q.· ·And what would have been your

·5· · · wages?· Would it have been salary?

·6· · · · A.· ·Yeah.· They were going to pay me

·7· · · salary 50,000 a year, but they were

·8· · · putting me in a position so that I

·9· · · could upsell their customers.· Like if

10· · · they added on different things as a

11· · · result of them talking with me, I'd be

12· · · able to make money there.

13· · · · · · · · ·And then they also wanted me

14· · · to -- they have a lot of people that

15· · · come to them that want a custom home

16· · · but they don't have a place to build it

17· · · so they wanted to help me find them

18· · · houses that they could customize or

19· · · knock down and redo so then I would

20· · · make money selling the houses.

21· · · · Q.· ·Okay.· And you would be

22· · · utilizing your real estate license to

23· · · do that, correct?

24· · · · A.· ·Yes.


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                       Marnie O'Brien - January 14, 2021                  12


·1· · · · Q.· ·What about benefits, did it come

·2· · · with healthcare?

·3· · · · A.· ·No.· I would have had to do my

·4· · · own.

·5· · · · Q.· ·What would have been, what did

·6· · · you expect your earning potential would

·7· · · be there as far as the salary plus the

·8· · · upselling part?

·9· · · · A.· ·They were, they were pretty

10· · · excited about building their business

11· · · and they wanted to build it up pretty

12· · · big.· So worst-case scenario I figured

13· · · if it didn't come out to where I was

14· · · making -- you know, I wanted to make

15· · · over a hundred.· 130 is my goal.

16· · · · · · · · ·So even if I didn't see that

17· · · working out, at least I would be out of

18· · · MEF and I would be able to, you know,

19· · · then I would try to look for something

20· · · else.

21· · · · Q.· ·When did you apply to that

22· · · employer?

23· · · · A.· ·I don't remember exactly.          I

24· · · guess it was -- I don't know.· I know


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                       Marnie O'Brien - January 14, 2021                  13


·1· · · that I gave my notice I think February

·2· · · 29th, so it was prior to that in 2020.

·3· · · So it was either -- and I think it took

·4· · · a little while too.· Like I met them

·5· · · once.· We talked a couple of times and

·6· · · then they were thinking about trying to

·7· · · see if they could afford me or whatever

·8· · · and then they made an offer.

·9· · · · Q.· ·Okay.· So if I understand it

10· · · correctly -- and please do correct me

11· · · if I'm wrong -- your expectation for

12· · · that job was that you would get a

13· · · minimum income of the $50,000 per year

14· · · with salary and that you had potential

15· · · to earn upwards of a hundred, in the

16· · · neighborhood of 130,000.· Is that

17· · · right?

18· · · · A.· ·I mean I don't know if the

19· · · potential for that was there.· I didn't

20· · · know, but I was going to take the

21· · · chance.

22· · · · · · · · ·And I also had my consulting

23· · · business on the side so...

24· · · · Q.· ·Has your consulting business


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                       Marnie O'Brien - January 14, 2021                  14


·1· · · taken a hit because of the pandemic?

·2· · · · A.· ·No.· I've done okay and I've

·3· · · actually been concentrating on building

·4· · · that up because I don't really want to

·5· · · work for anybody.

·6· · · · Q.· ·Okay.· Have you taken any steps

·7· · · to build that business up such as

·8· · · advertising or networking, for example?

·9· · · · A.· ·Networking.

10· · · · Q.· ·Networking.· And are you

11· · · continuing to try to build that

12· · · business up?

13· · · · A.· ·Yes.

14· · · · Q.· ·And what was your expected start

15· · · date for the new position?

16· · · · · · · · ·Was it 1 Construction?· Was

17· · · that the name of it?

18· · · · A.· ·I think it was March 16th.

19· · · · Q.· ·2020?

20· · · · A.· ·Mm-hmm.

21· · · · Q.· ·I need you to say yes.

22· · · · A.· ·Yes.· Yes, 2020.

23· · · · Q.· ·Okay.· That was our first little

24· · · practice there.


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                       Marnie O'Brien - January 14, 2021                  15


·1· · · · · · · · ·So it was March what again?

·2· · · I'm sorry.

·3· · · · A.· ·16th.

·4· · · · Q.· ·Okay.

·5· · · · A.· ·I believe.· I think it was the

·6· · · Monday of that, so it might have been

·7· · · 15th, 16th, 17th, but it was the

·8· · · Monday.· I believe it was the exact day

·9· · · that quarantine started.

10· · · · Q.· ·March 16th -- I'm looking at my

11· · · calendar -- is a Monday so that would

12· · · correspond with that.· Okay.

13· · · · · · · · ·And when did you -- did they

14· · · delay your start date when the

15· · · quarantine hit?· Initially did they

16· · · delay it?

17· · · · A.· ·They delayed it inevitably.

18· · · · Q.· ·Okay.

19· · · · A.· ·Like they delayed it -- I'm

20· · · sorry.· Not inevitably.· That's the

21· · · wrong word.

22· · · · · · · · ·But they delayed --

23· · · · Q.· ·Go ahead.· Tell me what they

24· · · said when they called.· That would


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                       Marnie O'Brien - January 14, 2021                  16


·1· · · probably be easier than me suggesting a

·2· · · word for you.

·3· · · · A.· ·They said that they were shut

·4· · · down because they were custom homes.

·5· · · Even though they were I guess a

·6· · · business that could still operate, they

·7· · · were kind of handcuffed because they

·8· · · couldn't get CO's.· They couldn't get

·9· · · approvals.· They were having trouble

10· · · getting supplies.

11· · · · · · · · ·So they were just completely

12· · · jammed up and they weren't in a

13· · · position to have somebody new come in.

14· · · · Q.· ·Okay.· Did they tell you whether

15· · · they hoped -- was there is sort of a

16· · · tentative check-in date, like we will

17· · · see, hopefully we will be able to get

18· · · started again or was it just -- how was

19· · · it left?

20· · · · A.· ·They said -- well, I mean it was

21· · · quarantine.· Nobody really knew what

22· · · was going to happen.· I think all of us

23· · · were expecting that the world was going

24· · · to end and everyone was going to die at


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·1· · · that point.

·2· · · · · · · · ·So they left it that we'll

·3· · · see and then we touched base, you know,

·4· · · every so often.· And then I just

·5· · · started trying to focus on my

·6· · · consulting.

·7· · · · Q.· ·And this is likely stating the

·8· · · obvious.· But am I correct to say that

·9· · · it never did come to fruition, they

10· · · never --

11· · · · A.· ·Correct.

12· · · · Q.· ·I'm correct?

13· · · · A.· ·Yes.

14· · · · Q.· ·Okay.· Is that door still open

15· · · with them, in other words, if things

16· · · were to change in the pandemic in let's

17· · · say six months?

18· · · · A.· ·I think so.

19· · · · Q.· ·Okay.· So nothing you did caused

20· · · you to not proceed with that job,

21· · · correct?

22· · · · A.· ·No.

23· · · · · · · · ·MS. SHIKUNOV:· Molly, can

24· · · reask that because you had a double


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·1· · · negative in it and I think --

·2· · · · · · · · ·MS. DIBIANCA:· Sure.· Sure.

·3· · · Absolutely.

·4· · · · · · · · ·MS. SHIKUNOV:· Thank you.

·5· · · BY MS. DIBIANCA:

·6· · · · Q.· ·So you did not cause -- I'll say

·7· · · it actually in a better way.

·8· · · · · · · · ·The pandemic was the reason

·9· · · you're not working for that company,

10· · · correct?

11· · · · A.· ·Yes.

12· · · · Q.· ·Now, at this time do you have

13· · · any plans to look for another job or

14· · · are you just sticking, planning to

15· · · stick with the consulting business?

16· · · · A.· ·I'm planning to stick with the

17· · · consulting business.· If there was an

18· · · opportunity that presented itself and I

19· · · was comfortable with the person that

20· · · wanted to hire me, then I would think

21· · · about it.· But right now my plan is

22· · · just to try to be growing the client

23· · · list for my consulting business and to

24· · · try to do some real estate on the side.


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·1· · · · Q.· ·Okay.· Other than with 1

·2· · · Construction, did you have any other

·3· · · employment opportunities other than

·4· · · your consulting business since leaving

·5· · · MEF?

·6· · · · A.· ·I had gotten a new client who

·7· · · talks about hiring me in, but he is

·8· · · either going to go out of business

·9· · · or -- it's not, it's not a solid

10· · · business.· There's a really good chance

11· · · he's going to go out of business.

12· · · · · · · · ·So I said that I wanted to

13· · · continue consulting and then we could

14· · · talk about employment if he got to a

15· · · position where I would have a job

16· · · security.

17· · · · Q.· ·Is his question with regard to

18· · · going out of business or not, is that

19· · · also pandemic related?

20· · · · A.· ·I don't know what that is.· He

21· · · was in bad shape before the pandemic so

22· · · I don't really know what the problem

23· · · was.

24· · · · Q.· ·All right.· Let's talk about


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·1· · · your real estate license.

·2· · · · · · · · ·When did you obtain your

·3· · · real estate license?

·4· · · · A.· ·I can't -- I don't know exactly.

·5· · · I know that I was supposed to go -- I

·6· · · had told Gregg that I had wanted to do

·7· · · that and the only way that I could do

·8· · · it is I had to take a class.· And I

·9· · · could do it nights for like a month and

10· · · a half or something like that or I

11· · · could take two weeks and do a two-week

12· · · stint.

13· · · · · · · · ·So it was too much for me.

14· · · I have two kids.· I couldn't work all

15· · · day and then go to school all night

16· · · like that.

17· · · · · · · · ·So I had asked him if I

18· · · could not be in the office and I just

19· · · worked in the morning before I went and

20· · · took care of my responsibilities for

21· · · work.· That's what I planned to do and

22· · · then just do the class for the two

23· · · weeks.

24· · · · · · · · ·And he had given me


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·1· · · permission to do that.· And I was

·2· · · supposed to start right when everything

·3· · · happened.· So Daniel was -- it was

·4· · · actually the day, it was November 1st I

·5· · · think that I was supposed to start that

·6· · · class.· And Daniel Pipes called a

·7· · · mandatory meeting so I ended up pushing

·8· · · the class back and I can't remember

·9· · · exactly when I did it.· I think I'm

10· · · going to say like maybe February or

11· · · March of 2019.· I'm not exactly sure.

12· · · · Q.· ·Okay.

13· · · · A.· ·And I had asked Daniel Pipes if

14· · · he would be okay with me doing that and

15· · · I had explained to him that Gregg had

16· · · approved it and that I wasn't able to

17· · · do it because of everything that

18· · · happened and he okayed it.

19· · · · Q.· ·What state do you hold your

20· · · license in?

21· · · · A.· ·Jersey.

22· · · · Q.· ·And who are you affiliated with

23· · · as far as being a broker?· What

24· · · organization or organizations?


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·1· · · · A.· ·Berkshire Hathaway.

·2· · · · Q.· ·Okay.· Have you been affiliated

·3· · · with any other firm?

·4· · · · A.· ·No.· I am under -- in Berkshire

·5· · · Hathaway I am under the Randy Knowles

·6· · · team.

·7· · · · Q.· ·Randy Miller?· Is that what you

·8· · · said?

·9· · · · A.· ·Randy Knowles.

10· · · · Q.· ·Knowles, K-n-o-w-l-e-s?

11· · · · A.· ·Yes.

12· · · · Q.· ·How much of your time now is

13· · · devoted to real estate?

14· · · · A.· ·Very little.· I got a few deals

15· · · just from people I know that asked me

16· · · to help them and I'm still learning it.

17· · · So I'm trying to do classes for that

18· · · like to learn more, but the Randy

19· · · Knowles team has an admin who when I

20· · · would get a deal she would basically

21· · · walk me through it.

22· · · · Q.· ·Do you know about how many deals

23· · · you've had since you've --

24· · · · A.· ·Three.


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·1· · · · Q.· ·Three total?

·2· · · · A.· ·Mm-hmm.

·3· · · · Q.· ·Is that a yes?

·4· · · · A.· ·Yes.· Sorry.

·5· · · · Q.· ·That's okay.

·6· · · · · · · · ·Tell me why you thought

·7· · · about getting your real estate license

·8· · · in the first place.· What prompted

·9· · · that?

10· · · · A.· ·I always was interested in it

11· · · and I was doing the books for Lisa

12· · · Knowles because they have rental

13· · · properties.· And so I was just always

14· · · interested in house flipping and rental

15· · · properties so I wanted to kind of

16· · · dabble in that.

17· · · · Q.· ·Was it ever your intention to do

18· · · that as a full-time job?

19· · · · A.· ·I mean if I got great at it

20· · · maybe, but I wanted to try it.

21· · · · Q.· ·You said that Mr. Roman and

22· · · Mr. Pipes or Dr. Pipes separately both

23· · · gave you approval to take that course

24· · · even though it required time away from


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·1· · · work, correct?

·2· · · · A.· ·Yes.

·3· · · · Q.· ·And did Mr. Roman at some point

·4· · · during your employment also permit you

·5· · · at your request to meet with clients

·6· · · for your consulting business through

·7· · · the workweek?

·8· · · · A.· ·When I originally was hired he

·9· · · told me that I would have flexibility

10· · · in my schedule, that I wouldn't have to

11· · · be pinned to my desk 9:00 to 5:00, that

12· · · Daniel's way of running an office is

13· · · that you're an adult.· If your work is

14· · · done, then you can do what you want.

15· · · You can manage your time yourself.

16· · · · · · · · ·He didn't care if you worked

17· · · in the middle of the night as long as

18· · · you were available if he needed you and

19· · · if your responsibilities were handled.

20· · · · · · · · ·After I started it became

21· · · very clear to me that I felt like it

22· · · was a bait and switch because if I

23· · · wasn't at my desk at 9:00 o'clock, he

24· · · was on my phone where are you, where


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·1· · · are you, where are you, where are you?

·2· · · · · · · · ·So it really did fall off

·3· · · and I didn't grow my business at all

·4· · · while I worked there.· I was just at

·5· · · MEF and, you know, he was talking about

·6· · · growing that to a 20-million-a-year

·7· · · organization.· So I was -- you know, I

·8· · · enjoy startups and I was all in for

·9· · · that.

10· · · · Q.· ·So during your employment with

11· · · MEF did you ask Mr. Roman for

12· · · permission to meet with your consulting

13· · · clients during the workweek?

14· · · · A.· ·I don't know that I did meet

15· · · with them during the workweek.· There

16· · · may have been times, but I don't know

17· · · that I felt like I had -- if I didn't

18· · · or I did, I don't know that I needed

19· · · to.· I was told that I could manage my

20· · · time myself.

21· · · · Q.· ·Okay.· Again, just to be clear,

22· · · I'm not asking whether you did meet

23· · · with the clients.

24· · · · · · · · ·I'm asking if you asked for


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·1· · · permission to be able to have the

·2· · · flexibility to do that?

·3· · · · A.· ·Yes.· I told him when I started

·4· · · that I had a consulting business and I

·5· · · would need flexibility.· It was after I

·6· · · started that the flexibility was pulled

·7· · · from me.

·8· · · · Q.· ·Were you able to meet with

·9· · · clients during the workweek?

10· · · · A.· ·No.· Very rarely.· If I did,

11· · · maybe, you know, rarely.· I can't

12· · · remember at the time.· I may have had

13· · · one that I would go to but...

14· · · · Q.· ·Did you maintain your consulting

15· · · business throughout your employment

16· · · with MEF?

17· · · · A.· ·Yes.

18· · · · Q.· ·And how did you do that without

19· · · meeting with your clients?

20· · · · A.· ·I would wake up at 5:00 o'clock

21· · · in the morning every morning.· I would

22· · · meet with them at night.· But, again, I

23· · · was supposed to have flexibility with

24· · · my job so I would try to be flexible


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·1· · · and maybe ask for a late start.

·2· · · · · · · · ·A lot of times instead of,

·3· · · you know, I would start later, start

·4· · · later, stay later or maybe start

·5· · · earlier and leave early so that I could

·6· · · get to the other client.

·7· · · · Q.· ·During your employment with MEF

·8· · · you had planned to go into business

·9· · · with Mr. Roman at some point.· Is that

10· · · correct?

11· · · · A.· ·He would take me to lunch and

12· · · say that he was going to start his own

13· · · business.· And it was like I never

14· · · really understood what his business was

15· · · going to be because he never really was

16· · · clear about it.· It was like secret spy

17· · · stuff and he was going to -- you know,

18· · · and I was like okay, you know, I am

19· · · okay with that, like let's do it.

20· · · · · · · · ·And then he would have

21· · · another meeting about it and say

22· · · basically the same thing and not do

23· · · anything about it and then nothing

24· · · would happen.


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·1· · · · Q.· ·What kind of an organization was

·2· · · it, was it for tax purposes?· Was it a

·3· · · 501?

·4· · · · A.· ·What organization?

·5· · · · Q.· ·The one that he started, that he

·6· · · had talked to you about starting.

·7· · · · A.· ·I have no idea.· He wasn't very

·8· · · clear about what it was.· He told me --

·9· · · · Q.· ·Who -- go ahead.

10· · · · A.· ·He asked me if I would be

11· · · willing to take envelopes and deliver

12· · · them to people.

13· · · · · · · · ·I said is it illegal?· And

14· · · he said no.

15· · · · · · · · ·I said well, then, why

16· · · wouldn't I?

17· · · · Q.· ·Was there any conversation about

18· · · how you would be compensated for that?

19· · · · A.· ·I don't remember.· I mean he was

20· · · talking about an entrepreneurial

21· · · startup.· I didn't put much stock into

22· · · it because he never gave any substance

23· · · to what they was doing.· It was almost

24· · · like when I grow up I'm going to have


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·1· · · my own business.· Do you want to be

·2· · · landscapers?· Do you know what I mean?

·3· · · · · · · · ·It just was not -- I didn't

·4· · · put much effort or thought into it.           I

·5· · · didn't put any effort into it.          I

·6· · · didn't put much thought into it because

·7· · · he didn't do anything.

·8· · · · Q.· ·Did you discuss it with Matt

·9· · · Bennett as well?

10· · · · A.· ·Yeah.· He was always there.· He

11· · · was going to be in the business too.

12· · · · Q.· ·You interviewed with the Kimmel

13· · · Center at some point, correct?

14· · · · A.· ·I did.

15· · · · Q.· ·And that was while you were

16· · · employed with MEF.· Is that correct?

17· · · · A.· ·Yes.

18· · · · Q.· ·What was the position for which

19· · · you were interviewing?

20· · · · A.· ·It was an accounting position or

21· · · controller.· I don't remember exactly.

22· · · · Q.· ·Who interviewed you?

23· · · · A.· ·I think there were two different

24· · · people, the HR person and then I don't


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·1· · · remember.

·2· · · · Q.· ·But your recollection is that

·3· · · there were two people in the room?

·4· · · · A.· ·Yes.

·5· · · · Q.· ·A man or a woman?

·6· · · · A.· ·One was a woman and one was a

·7· · · man.

·8· · · · Q.· ·And the HR person was male or

·9· · · female?

10· · · · A.· ·Female.

11· · · · Q.· ·And you got that interview

12· · · through a recruiter, correct?

13· · · · A.· ·Yes.

14· · · · Q.· ·What was the name of the

15· · · recruiter?

16· · · · A.· ·PeopleShare, I think.

17· · · · Q.· ·And of the individual recruiter?

18· · · · A.· ·I'd have to look.· I don't

19· · · remember her name off the top of my

20· · · head.

21· · · · Q.· ·It was a woman though?

22· · · · A.· ·Yes.

23· · · · Q.· ·And how did you come to find the

24· · · recruiter?


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·1· · · · A.· ·They found me.· And they were in

·2· · · the building that MEF's offices were.

·3· · · So I was -- I thought it was so

·4· · · strange.· And I had a severe sense of

·5· · · paranoia at that point and I just

·6· · · didn't know how they would have picked

·7· · · my name out of a hat.· And it was very

·8· · · nerve-racking because we had the NDA

·9· · · and we had to protect Savannah.

10· · · · · · · · ·So even though we worked for

11· · · MEF, we had to pretend in the building

12· · · that we worked for Savannah.· And it

13· · · was made very clear to us if you blew

14· · · your cover for Savannah that you would

15· · · be sued and take your first born child.

16· · · · · · · · ·So it was very nerve-racking

17· · · to me that out of a hat with all these

18· · · resumes this place pulled my resume and

19· · · they were right in the building so then

20· · · I was scared somebody would see me and

21· · · ask me if I was in there because on my

22· · · resume --

23· · · · Q.· ·You're breaking up a little bit

24· · · for me.· Could you maybe lean a little


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·1· · · closer perhaps?· I'm not sure what's

·2· · · happening, but suddenly you're awfully

·3· · · I quiet.

·4· · · · · · · · ·MS. SHIKUNOV:· There's two

·5· · · other --

·6· · · · · · · · ·MS. DIBIANCA:· Can I have

·7· · · the two people who are not on mute go

·8· · · ahead and mute their lines, please?

·9· · · And I understand if you're on mute on

10· · · your phone that's great, but if you can

11· · · mute on Zoom at the bottom of the Zoom

12· · · screen that would be helpful because

13· · · it's interfering with the video event.

14· · · · · · · · ·Or, Chris, if you are able

15· · · to do it from your end, that would be

16· · · fine with me too.

17· · · · · · · · ·One more, a 248 number.

18· · · · · · · · ·Thank you.

19· · · BY MS. DIBIANCA:

20· · · · Q.· ·Okay.· Ms. O'Brien, sorry about

21· · · that.

22· · · · · · · · ·Would you mind restating

23· · · your answer?· And I apologize.· I don't

24· · · know where you left off because I lost


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·1· · · the audio there.

·2· · · · A.· ·Can you tell me --

·3· · · · Q.· ·I can try.· Oh, you were talking

·4· · · about the recruiter and you said you

·5· · · were paranoid about why they got your

·6· · · resume.

·7· · · · A.· ·Right.· You asked me how I got

·8· · · the recruiter.· They found me.· They

·9· · · were in the building that MEF's offices

10· · · were, which was concerning to me

11· · · because I signed an NDA that I was

12· · · supposed to protect the identity of

13· · · MEF.· No one was supposed to know where

14· · · our geographic footprint was.

15· · · · · · · · ·So within the building and

16· · · anyone that knew us in the building, we

17· · · had to present ourselves as if we

18· · · worked for Savannah Mercantile.· And,

19· · · you know, I had on my resume that I

20· · · worked for the Middle East Forum and I

21· · · had to go two floors down and go in and

22· · · out of the elevators every day with all

23· · · these people that worked at PeopleShare

24· · · who saw my resume and knew I worked at


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·1· · · the Middle East Forum.

·2· · · · · · · · ·So then I was nervous that I

·3· · · was going to have to explain why I was

·4· · · in the building and I was nervous that

·5· · · I was going to, you know, out MEF and

·6· · · blow the cover and then be sued for a

·7· · · gazillion dollars.

·8· · · · Q.· ·So is it fair to say that the

·9· · · answer to the question is that the

10· · · recruiter found you?

11· · · · A.· ·Yes.

12· · · · Q.· ·Okay.· Did you pay the

13· · · recruiter?

14· · · · A.· ·No.

15· · · · Q.· ·What other interviews besides

16· · · from the Kimmel Center did the

17· · · recruiter line up for you?

18· · · · A.· ·They wouldn't touch me with a

19· · · ten-foot pole after that because they

20· · · got a call from the Kimmel Center and

21· · · they said that someone had called and

22· · · told them that I was a drug addict and

23· · · suing my boss for sexual harassment and

24· · · that they shouldn't hire me.


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·1· · · · · · · · ·So they called to tell me

·2· · · that that happened and then they washed

·3· · · their hands of me.

·4· · · · Q.· ·Okay.· So there was several

·5· · · pronouns in there so I just want to

·6· · · make sure the record is clear.

·7· · · · · · · · ·So am I correct to say that

·8· · · the Kimmel Center called PeopleShare,

·9· · · your recruiter, and said that the

10· · · Kimmel Center had received a phone call

11· · · that was speaking negatively of you --

12· · · and we'll go into detail about that --

13· · · and they conveyed, Kimmel Center

14· · · conveyed that phone call to the

15· · · recruiter, the recruiter called you and

16· · · said we're not going to have anything

17· · · to do with you now, something to that

18· · · effect?

19· · · · A.· ·No, they didn't say that.· But I

20· · · never got another call from them.

21· · · · Q.· ·Okay.· Okay.· Did you sign a

22· · · contract with the recruiter agency?

23· · · · A.· ·I don't recall.· I wasn't paying

24· · · them.· They were being paid by the


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·1· · · Kimmel Center so they were just trying

·2· · · to send people there.

·3· · · · Q.· ·Now, are you aware that the

·4· · · Kimmel Center has stated that -- let me

·5· · · ask you this:· Did you talk badly about

·6· · · the Forum during your interview with

·7· · · the Kimmel Center?

·8· · · · A.· ·I don't think I talked badly

·9· · · about any specifics.· I said that I

10· · · wasn't -- I said that what I was

11· · · looking for was a positive work

12· · · environment because I had experienced

13· · · an unpleasant work experience.          I

14· · · remember that, but I don't -- I think

15· · · when I was asking them questions I was

16· · · really trying to get a sense of what

17· · · their culture was like because it was

18· · · important to me not to get stuck in

19· · · that same culture.

20· · · · · · · · ·To say that I bad-mouthed

21· · · them, I'm pretty sure that I would not

22· · · have done that specifically because I

23· · · was nervous about that NDA.

24· · · · Q.· ·Are you aware that the Kimmel


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·1· · · Center says that they decided to not

·2· · · hire you during the interview because

·3· · · you spoke so badly of your then current

·4· · · employer?

·5· · · · A.· ·I guess I knew that at some

·6· · · point, but I would -- I mean when you

·7· · · say I spoke so badly of my employer, I

·8· · · can't recall specifically saying

·9· · · anything bad about any specific person.

10· · · · · · · · ·I remember being very

11· · · unhappy in the culture that I

12· · · experienced and I remember wanting to

13· · · make sure that if I took a position I

14· · · wouldn't be in a culture like that

15· · · again.

16· · · · Q.· ·Okay.· So I'm not asking, I'm

17· · · not asking you to change your mind

18· · · about your recollection of the

19· · · interview.

20· · · · · · · · ·I'm just asking if you're

21· · · aware that the Kimmel Center has taken

22· · · the position that the phone call they

23· · · received after your interview did not

24· · · influence their decision; they made


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·1· · · their decision to not hire you or not

·2· · · proceed with your potential employment

·3· · · during your interview as a result of

·4· · · your interview?

·5· · · · · · · · ·Are you aware of that?

·6· · · · A.· ·The recruiter told me that that

·7· · · night, so yes.

·8· · · · Q.· ·The recruiter told you what that

·9· · · night?· What night?

10· · · · A.· ·That they said that it wasn't,

11· · · it wasn't the phone call that they

12· · · didn't like.· It was they weren't happy

13· · · with the way I -- you know, they didn't

14· · · want me.

15· · · · Q.· ·And the recruiter told you the

16· · · night that the recruiter called you to

17· · · convey that there had been the phone

18· · · call?

19· · · · A.· ·Yes.

20· · · · Q.· ·Okay.· I just want to make sure

21· · · I've got it correct.

22· · · · · · · · ·So you had the interview and

23· · · at some point after the interview the

24· · · recruiter called you and said that the


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·1· · · Kimmel Center, Ms. O'Brien, the Kimmel

·2· · · Center has decided not to proceed; they

·3· · · received -- they decided not to proceed

·4· · · because of the way the interview went,

·5· · · but I think you should know that they

·6· · · also received a phone call saying that

·7· · · you were a drug addict and were suing

·8· · · your former or your employer?

·9· · · · · · · · ·Is that about right?

10· · · · A.· ·More or less.

11· · · · Q.· ·Okah.· All right.· Other than

12· · · you, the recruiter and the Kimmel

13· · · Center, who else knew that you were

14· · · going to interview at the Kimmel Center

15· · · in advance of the interview, not after

16· · · the fact?

17· · · · A.· ·I had some friends, probably my

18· · · family.· Delaney and Caitriona were the

19· · · only ones in the office -- I think

20· · · Caitriona was in the office still at

21· · · that point, so they knew.

22· · · · · · · · ·It was in my computer.· It

23· · · was in my calendar as well.

24· · · · Q.· ·You put it in your calendar that


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·1· · · you were interviewing for another job?

·2· · · · A.· ·My personal calendar.

·3· · · · Q.· ·Okay.· Okay.· Did you tell

·4· · · Mr. Roman?

·5· · · · A.· ·Did I tell Mr. Roman?

·6· · · · Q.· ·Yes.

·7· · · · A.· ·No.

·8· · · · Q.· ·Did you tell Dr. Pipes?

·9· · · · A.· ·No.

10· · · · Q.· ·Did you tell Matthew Bennett?

11· · · · A.· ·No.

12· · · · Q.· ·Did you tell Mr. Ebert?

13· · · · A.· ·Yes, he knew.

14· · · · Q.· ·And Mr. Ebert is your domestic

15· · · partner, correct?

16· · · · A.· ·Correct.

17· · · · Q.· ·You and he are not married,

18· · · correct?

19· · · · A.· ·No.

20· · · · Q.· ·And you live together currently,

21· · · correct?

22· · · · A.· ·Correct.

23· · · · Q.· ·And how long have you lived

24· · · together?


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·1· · · · A.· ·I moved in February, I think

·2· · · February 15th of 2020, almost a year.

·3· · · · Q.· ·And you said you moved in, you

·4· · · moved into his home.· Is that correct?

·5· · · · A.· ·Yes.

·6· · · · Q.· ·You said yes, right?

·7· · · · A.· ·Yes.

·8· · · · Q.· ·Okay.· And where did you live

·9· · · prior to moving in with Mr. Ebert?

10· · · · A.· ·I have a townhouse.· I lived

11· · · there.

12· · · · Q.· ·Do you still own the townhouse?

13· · · · A.· ·Yes.

14· · · · Q.· ·And is it rented out at this

15· · · point?

16· · · · A.· ·Currently, yes.

17· · · · Q.· ·Currently.· Okay.

18· · · · · · · · ·Do you have any other

19· · · residences other than Mr. Ebert's home?

20· · · · A.· ·No.

21· · · · Q.· ·When is the rental agreement,

22· · · when does the rental agreement expire

23· · · on your townhouse?

24· · · · A.· ·March 31st.


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·1· · · · Q.· ·Of 2021?

·2· · · · A.· ·Yes.

·3· · · · Q.· ·And do you know if the renter is

·4· · · intending to renew the lease?

·5· · · · A.· ·I have told them that I'm not,

·6· · · I'm not renewing the lease.

·7· · · · Q.· ·Okay.· Are you returning, are

·8· · · you planning to return to the

·9· · · townhouse?

10· · · · A.· ·I'm not.· My son and his

11· · · girlfriend will be renting it, along

12· · · with Mr. Ebert's daughter.

13· · · · Q.· ·Okay.· Do you have any plans to

14· · · move out of Mr. Bennett's home at this

15· · · point?

16· · · · A.· ·No.

17· · · · · · · · ·MS. SHIKUNOV:· Molly, I'm

18· · · sorry.· Molly, you said Mr. Bennett and

19· · · I know --

20· · · · Q.· ·I'm so sorry.· Thank you.          I

21· · · meant Mr. Ebert.· Let me try that

22· · · again.

23· · · · · · · · ·Do you have any plans to

24· · · move out of Mr. Ebert's home at this


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·1· · · point?

·2· · · · A.· ·No.

·3· · · · · · · · ·MS. DIBIANCA: Thank you,

·4· · · Erica.

·5· · · · Q.· ·About how long was that

·6· · · interview at the Kimmel Center?

·7· · · · A.· ·Oh, I don't know.

·8· · · · Q.· ·Let me ask this:· At the end of

·9· · · the interview with Kimmel Center, how

10· · · did you think it had gone?

11· · · · A.· ·Not well.

12· · · · Q.· ·Okay.· You didn't have a good

13· · · feeling about it?

14· · · · A.· ·I didn't -- I wasn't interested

15· · · in the position.

16· · · · Q.· ·What do you mean?

17· · · · A.· ·I didn't, I didn't have a good

18· · · feeling about it, I didn't have a good

19· · · feeling about taking the job there if I

20· · · was offered it.· I would have taken it

21· · · but...

22· · · · Q.· ·Explain that to me.

23· · · · A.· ·Explain what?

24· · · · Q.· ·You said you didn't think it


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·1· · · would be a good fit for you but you

·2· · · would have taken it anyway.· Is that

·3· · · correct?

·4· · · · A.· ·Yes.· It just didn't seem like

·5· · · an environment -- it seemed like -- I

·6· · · don't know.· It didn't seem like it had

·7· · · a good culture there either.· Not -- it

·8· · · just seemed stiff and I wasn't really

·9· · · like oh, excited about it, but I would

10· · · have taken it to get out of MEF.

11· · · · Q.· ·At the time that you left the

12· · · interview, at the conclusion of the

13· · · interview did you think that you were

14· · · going to get a second call or get a

15· · · call back from them?

16· · · · A.· ·I didn't know.

17· · · · Q.· ·I know you didn't know but how

18· · · did you feel about it?

19· · · · A.· ·I felt like you always feel when

20· · · you leave a job interview.· You're

21· · · waiting to hear how it went.

22· · · · Q.· ·Okay.· So tell me, let's talk

23· · · now about what the recruiter told you

24· · · when he -- I'm sorry.· Did you say the


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·1· · · recruiter was a male?

·2· · · · A.· ·So the original recruiter was a

·3· · · female.· The person that called me to

·4· · · tell me about the phone call was a

·5· · · male.

·6· · · · Q.· ·Had you spoken to that person

·7· · · before?

·8· · · · A.· ·I don't think so.· And he was

·9· · · never there when I was there.· He was a

10· · · boss and I guess he just wasn't there

11· · · when I was there or if he was he was

12· · · with someone else and I didn't speak

13· · · with him.

14· · · · Q.· ·Okay.· So tell me what -- you

15· · · you don't happen to remember his name,

16· · · do you?

17· · · · A.· ·No.

18· · · · Q.· ·Tell me what your recollection

19· · · of that phone call was.· And by "that

20· · · phone call" I mean what the boss at the

21· · · recruiting agency said to you when he

22· · · called you about your Kimmel Center

23· · · interview.

24· · · · A.· ·He said that the Kimmel Center


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·1· · · decided not to move forward with me;

·2· · · that there was a phone call that came

·3· · · in shortly after I left saying horrible

·4· · · things about me and that they wanted

·5· · · him to tell me because he felt like

·6· · · they wanted -- he wanted me to know

·7· · · that somebody in my inner circle had it

·8· · · out for me but that wasn't the reason

·9· · · that they were not going to move

10· · · forward with me.

11· · · · Q.· ·Okay.· You said they said the

12· · · person had said horrible things about

13· · · you.

14· · · · · · · · ·Do you recall what the

15· · · horrible things were?

16· · · · A.· ·Yes.· I said them earlier.          I

17· · · said that they said I was a drug addict

18· · · and suing my boss for sexual

19· · · harassment.

20· · · · Q.· ·Suing your boss for sexual

21· · · harassment, that was correct, wasn't

22· · · it?

23· · · · A.· ·Yes.

24· · · · Q.· ·Right.· So would you say that's


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·1· · · a horrible thing?· It's true.

·2· · · · A.· ·Well, it doesn't make me look

·3· · · good to an employer.

·4· · · · Q.· ·Okay.· But it was true?

·5· · · · A.· ·Yes, that was true.· That one

·6· · · was true.

·7· · · · Q.· ·And to say that you are a drug

·8· · · addict is untrue, correct?

·9· · · · A.· ·It is untrue.

10· · · · Q.· ·And I apologize.· That was also

11· · · I threw a lot of negatives in there.

12· · · · · · · · ·But you do use drugs,

13· · · correct?

14· · · · A.· ·I use prescribed Adderall.

15· · · · Q.· ·And your boyfriend testified

16· · · that you are a daily marijuana user.

17· · · Is that true or not true?

18· · · · · · · · ·MS. SHIKUNOV:· Molly, did

19· · · you say she was dealing marijuana?

20· · · · · · · · ·MS. DIBIANCA:· No.· I said

21· · · your boyfriend testified -- I didn't.

22· · · Your boyfriend testified that you are a

23· · · daily -- maybe that's what you heard --

24· · · a daily marijuana user.


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·1· · BY MS. DIBIANCA:

·2· · · · Q.· ·Is that true or untrue?

·3· · · · A.· ·I don't consider marijuana a

·4· · · drug.· It's decriminalized and mostly

·5· · · legal or it's almost legal in Jersey.

·6· · · It's supposed to be legal so I don't

·7· · · see that as a drug, but I do use

·8· · · marijuana.

·9· · · · Q.· ·Okay.· Do you have a medical

10· · · marijuana card?

11· · · · A.· ·I do not.

12· · · · Q.· ·Have you ever had one?

13· · · · A.· ·No.

14· · · · Q.· ·Where do you get your marijuana

15· · · from?

16· · · · A.· ·I don't know.· Matt gets it.

17· · · · Q.· ·You get it from your boyfriend?

18· · · · A.· ·Yes.

19· · · · Q.· ·Does he have a medical marijuana

20· · · card?

21· · · · A.· ·He does.

22· · · · Q.· ·So you're using his lawfully

23· · · prescribed marijuana?

24· · · · A.· ·I believe.· I don't know where


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·1· · · it comes from so...

·2· · · · Q.· ·Other than to say from

·3· · · Mr. Ebert?

·4· · · · A.· ·Yes.

·5· · · · Q.· ·Okay.· Got it.

·6· · · · · · · · ·You said that you were

·7· · · prescribed Adderall.· For how long have

·8· · · you been prescribed Adderall?

·9· · · · A.· ·I don't remember the exact day

10· · · or date or even time.· It was probably

11· · · in 2015.

12· · · · Q.· ·And what was the condition for

13· · · which you were being prescribed the

14· · · drug?

15· · · · A.· ·ADHD.

16· · · · Q.· ·When were you first diagnosed

17· · · with ADHD?

18· · · · A.· ·At that time, like in 2015.

19· · · · Q.· ·Do you take any other

20· · · medications for that condition?

21· · · · A.· ·No.

22· · · · Q.· ·And what's the dosing that you

23· · · take on Adderall?

24· · · · A.· ·I take 10 milligrams.


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·1· · · · Q.· ·Once a day?

·2· · · · A.· ·Yes.

·3· · · · Q.· ·And is that in the same since

·4· · · 2015?

·5· · · · A.· ·I'm sorry?· What?

·6· · · · Q.· ·I'm sorry.· Has that been the

·7· · · same since 2015?

·8· · · · A.· ·Originally she prescribed me 10

·9· · · milligrams and she said see how you

10· · · feel with it.· And then she bumped me

11· · · up to 20 milligrams so I did that for a

12· · · while.· And she bumped me up to 30

13· · · milligrams and I didn't feel

14· · · comfortable with it.· I didn't like it.

15· · · I don't really like to take medication.

16· · · · · · · · ·So I backed it down and I

17· · · only do 10.

18· · · · Q.· ·Okay.· Okay.

19· · · · A.· ·If I'm like doing like a longer

20· · · day --

21· · · · Q.· ·I didn't hear you.· I'm so

22· · · sorry.

23· · · · A.· ·If I have a long day and I'm

24· · · working for a long period and I start


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·1· · · to feel my concentration slip, I'll

·2· · · bump to 20, but that's rare.

·3· · · · Q.· ·Okay.· Have you ever shared your

·4· · · Adderall with another person?

·5· · · · A.· ·Lisa and I had the same

·6· · · prescription and if she was waiting for

·7· · · a prescription or whatever, I would,

·8· · · you know, give her a few of mine and

·9· · · then she would give them back to me

10· · · when she got her prescription filled.

11· · · · · · · · ·I didn't give her any more

12· · · than she was prescribed for and I

13· · · didn't do it often.

14· · · · Q.· ·Okay.· Have you ever snorted

15· · · Adderall?

16· · · · A.· ·No.· I heard it's a thing

17· · · though.

18· · · · Q.· ·Other than Adderall, are you

19· · · currently taking any other medication?

20· · · · A.· ·Yes.

21· · · · Q.· ·And what are they?

22· · · · · · · · ·THE WITNESS:· Is she allowed

23· · · to ask me about my medication?

24· · · · · · · · ·MS. SHIKUNOV:· Yes.· Go


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·1· · · ahead.

·2· · · · A.· ·I don't really know the name of

·3· · · it.· I starts with a V.

·4· · · · Q.· ·What condition is it for?

·5· · · · A.· ·It's for an STD.

·6· · · · Q.· ·Okay.· Anything else?

·7· · · · A.· ·No.

·8· · · · Q.· ·And how about since you left

·9· · · MEF, other than the medication that

10· · · started with a V and the Adderall,

11· · · anything else that you've taken since

12· · · leaving MEF?

13· · · · A.· ·Not that I recall.

14· · · · Q.· ·And I don't mean to say like an

15· · · antibiotic or something like that where

16· · · it's a short course but for a

17· · · condition.

18· · · · A.· ·No.

19· · · · · · · · ·MS. DIBIANCA: Do you know

20· · · what?· We've gone for about fifty

21· · · minutes.

22· · · · · · · · ·So, Erica, is this a good

23· · · time to take a couple of minutes?

24· · · · · · · · ·MS. SHIKUNOV:· Yes.· That's


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·1· · · fine.· And then, Molly, I just want to

·2· · · ask you -- let's go off the record

·3· · · first.

·4· · · · · · · · ·THE VIDEOGRAPHER:· Going off

·5· · · the record at 9:57.

·6· · · · · · · · ·(A brief recess was taken.)

·7· · · · · · · · ·THE VIDEOGRAPHER:· We're

·8· · · rolling and back on the record at 10:10

·9· · · Eastern Time.

10· · · BY MS. DIBIANCA:

11· · · · Q.· ·All right.· So, Ms. O'Brien,

12· · · we're back from break so I'm just going

13· · · to continue with the questioning that

14· · · we left off, which was the Kimmel

15· · · Center.

16· · · · · · · · ·Who made the anonymous call

17· · · to the Kimmel Center, Ms. O'Brien?

18· · · · A.· ·My boyfriend did, Matt Ebert.

19· · · · Q.· ·When did you learn that

20· · · Mr. Ebert made that call?

21· · · · A.· ·I learned that -- so he took

22· · · ownership of that call when he filed

23· · · paperwork because he was served

24· · · something.· He never admitted it until


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·1· · · that point despite the fact that it was

·2· · · pulled from his phone records.

·3· · · · Q.· ·Okay.· So I'm going to break

·4· · · that down a little.

·5· · · · · · · · ·So is it correct to say that

·6· · · the first time Mr. Ebert admitted to

·7· · · you that he had made the phone call to

·8· · · the Kimmel Center was when he put it

·9· · · into a pleading which he filed with the

10· · · court in this case?

11· · · · A.· ·Yes.

12· · · · Q.· ·Prior to that, had you asked him

13· · · if he had been the anonymous caller to

14· · · the Kimmel Center?

15· · · · A.· ·Yes.

16· · · · Q.· ·And --

17· · · · A.· ·Go ahead.· He denied it.

18· · · · Q.· ·When did you first ask him if he

19· · · had made that call?

20· · · · A.· ·I don't, I don't recall.

21· · · Erica --

22· · · · · · · · ·MS. SHIKUNOV:· Don't tell

23· · · her anything that I said.· If you're

24· · · going to say that I showed you phone


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·1· · · records that's fine, but other than

·2· · · that don't talk about our

·3· · · conversations.

·4· · · · Q.· ·Let me restate it in a way that

·5· · · doesn't tend to invoke the counsel

·6· · · part.

·7· · · · · · · · ·Prior to -- is it fair to

·8· · · say that you did not suspect Mr. Ebert

·9· · · made the phone call at the time it was

10· · · made?

11· · · · A.· ·Yes.

12· · · · Q.· ·At the time you filed -- let me

13· · · ask you this:· You filed a charge of

14· · · discrimination with the EEOC.· You

15· · · filed two of them, correct?

16· · · · A.· ·Yes.

17· · · · Q.· ·And the first one was alleging

18· · · sexual harassment, correct?

19· · · · A.· ·Mm-hmm.· Yes.

20· · · · Q.· ·And the second one alleged

21· · · retaliation, correct?

22· · · · A.· ·Correct.

23· · · · Q.· ·And the retaliation charge, when

24· · · you filed that charge did you suspect


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·1· · · it was your boyfriend at that time?

·2· · · · A.· ·I wouldn't have filed that if I

·3· · · thought so, so no, I did not.

·4· · · · Q.· ·Did you attend Mr. Ebert's

·5· · · deposition in this case?· We had it

·6· · · earlier this week.

·7· · · · A.· ·No.

·8· · · · Q.· ·You didn't dial in for that at

·9· · · all?

10· · · · A.· ·No.

11· · · · Q.· ·Do you know, what is your

12· · · understanding of the reason that

13· · · Mr. Ebert made that phone call?

14· · · · A.· ·When I learned that he did it

15· · · and I -- actually, when I learned that

16· · · the phone number was in his phone

17· · · records and when I had confronted him

18· · · about that, he had a very genuine

19· · · reaction of shock and said that he

20· · · thought he was better at that point and

21· · · he didn't remember calling them and he

22· · · didn't know why he would have called

23· · · them.

24· · · · · · · · ·So -- I'm sorry.· Can you


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·1· · · repeat the question again?

·2· · · · Q.· ·Sure.· No problem.

·3· · · · · · · · ·What is your understanding

·4· · · of the reason he did call them?

·5· · · · A.· ·Oh, yeah.· So why now do I think

·6· · · he called?

·7· · · · Q.· ·Sure.· Sure.

·8· · · · A.· ·Now I think he's a very insecure

·9· · · person and I think he didn't want me to

10· · · have that job and I think he suffers

11· · · from impulse problems and he took it

12· · · upon himself to make sure I didn't get

13· · · it.· That's what I think.

14· · · · Q.· ·So I'll represent to you that he

15· · · testified that he made the call at

16· · · least in part to get back at you for

17· · · giving him an STD.

18· · · · A.· ·And then there's that.

19· · · · Q.· ·Would that be consistent with

20· · · the information that you know?

21· · · · A.· ·I felt that that was a different

22· · · problem, but I thought that -- I don't

23· · · know.· I guess, I guess, I guess that

24· · · makes sense, but I just kind of thought


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·1· · · that there was a gap in between the

·2· · · phone calls.

·3· · · · · · · · ·I didn't think at that point

·4· · · that he would still be -- I felt like,

·5· · · I guess I felt our relationship was at

·6· · · a different point because I didn't know

·7· · · any of this happened, but looking back

·8· · · I thought our relationship was at a

·9· · · different point that he wouldn't have

10· · · done something spiteful like that to me

11· · · and that it was more about controlling

12· · · where I worked.· But it makes -- you

13· · · know, if that's what he said, then I

14· · · guess that's why he did it.

15· · · · Q.· ·When you say gap between the

16· · · phone calls, what's the other phone

17· · · call you're talking about?

18· · · · A.· ·The one that he made to

19· · · Mr. Roman.

20· · · · Q.· ·And when did you first learn

21· · · about that?

22· · · · · · · · ·Just to be clear, I'm not

23· · · asking you if you learned it from

24· · · counsel.· Don't tell me that you


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·1· · · learned it from counsel.· Just when?

·2· · · · A.· ·I don't know the exact date, so

·3· · · I don't know.· I'm not sure of the date

·4· · · that I found out that he had called

·5· · · him.

·6· · · · · · · · ·Again, I found out that it

·7· · · was from -- I was just told that his

·8· · · phone records showed that he made a

·9· · · call to Gregg Roman.

10· · · · Q.· ·Do you recall when you -- by

11· · · "when" I don't mean an exact date but

12· · · the best approximation you can give.

13· · · · · · · · ·When did you tell Mr. Ebert

14· · · that you had an STD?

15· · · · A.· ·I think I found out in like late

16· · · June or early July and the day I found

17· · · out I went and told him.

18· · · · Q.· ·When you learned that Mr. Ebert

19· · · had sabotaged, well, that's too -- let

20· · · me strike that.

21· · · · · · · · ·When you found out that

22· · · Mr. Ebert had made the phone call to

23· · · the Kimmel Center, did you consider

24· · · moving out of his home?


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·1· · · · A.· ·When he sabotaged my job

·2· · · opportunity?· Yes.

·3· · · · Q.· ·Okay.· Did you move out of his

·4· · · home at that time?

·5· · · · A.· ·I was not able to move out of

·6· · · his home at that time.

·7· · · · Q.· ·And why is that?

·8· · · · A.· ·Because quarantined had happened

·9· · · and I had nowhere to go.· I had rented

10· · · out my house so I couldn't go back

11· · · there.· I couldn't go to my mom because

12· · · we were quarantining and I thought she

13· · · would die if I went near her.· So I had

14· · · to stay there.

15· · · · Q.· ·Did you continue to share a

16· · · bedroom?

17· · · · A.· ·No.· We were keeping space.· He

18· · · was definitely keeping space from me.

19· · · · Q.· ·I'll represent to you that he

20· · · testified that he slept on the couch

21· · · maybe one or two nights but that was

22· · · about it.· Is that correct?

23· · · · A.· ·Maybe.· I don't know.

24· · · · Q.· ·So what did you mean when you


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·1· · · said he was definitely keeping space

·2· · · from you?

·3· · · · A.· ·There was -- we weren't talking.

·4· · · We weren't hanging out.· If he came --

·5· · · we kept different, you know, did our

·6· · · own things during the day.· So if he

·7· · · came to bed I might have already been

·8· · · asleep.· It wasn't like we were, you

·9· · · know, snuggled up.

10· · · · Q.· ·And at this point -- go ahead.

11· · · Sorry.

12· · · · A.· ·I think the kids had no idea

13· · · what was going on and it was more about

14· · · not upsetting or alarming the kids.

15· · · · Q.· ·And do you both have children

16· · · that reside in that home?

17· · · · A.· ·Yes.

18· · · · Q.· ·But you and Mr. Ebert have

19· · · worked it out since then, correct?

20· · · · A.· ·We continue to work it out.

21· · · · Q.· ·But you're not keeping space

22· · · from one another at this point,

23· · · correct?

24· · · · A.· ·We're working on our


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·1· · · relationship.

·2· · · · Q.· ·And how long have you two been

·3· · · together?

·4· · · · A.· ·Almost two years.

·5· · · · Q.· ·So this is October -- I'm sorry.

·6· · · I looked at my clock and it says 10.

·7· · · It's actually January.· It's January

·8· · · 2021, so almost two years.

·9· · · · · · · · ·Do you remember about what

10· · · month it was when you first became I'll

11· · · say -- I know you knew each other in

12· · · high school so I don't want to say when

13· · · you met.

14· · · · · · · · ·But when you became a couple

15· · · about two years ago do you remember

16· · · about what month?

17· · · · A.· ·We started dating, our first

18· · · date was May 5th of 2020 and we dated

19· · · for a few months.· I wouldn't say we

20· · · were a couple until later, but I was

21· · · seeing him exclusively at the time but,

22· · · you know, I wasn't so quick to jump in

23· · · all in.

24· · · · Q.· ·Can you hold on for just a


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·1· · · minute?· I apologize.

·2· · · · · · · · ·THE VIDEOGRAPHER:· Do you

·3· · · want to go off?

·4· · · · · · · · ·MS. DIBIANCA:· There's no

·5· · · need to go off.· It was the FedEx had

·6· · · come in.· Sorry.

·7· · · BY MS. DIBIANCA:

·8· · · · Q.· ·So you said May 5th.· What was

·9· · · the year?

10· · · · A.· ·It was 2019.

11· · · · Q.· ·Thanks.

12· · · · · · · · ·Your first charge of

13· · · discrimination, let's go ahead and I'm

14· · · going to pull that document up now so

15· · · that it's available on the screen to

16· · · me, but I think Erica is going to give

17· · · you a copy of it as well so you have a

18· · · paper copy.

19· · · · · · · · ·Give me just a minute to

20· · · navigate to that.

21· · · · · · · · ·MS. SHIKUNOV:· The July 24,

22· · · 2019 EEOC you're asking about?

23· · · · · · · · ·MS. DIBIANCA:· Yes.

24


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·1· · BY MS. DIBIANCA:

·2· · · · Q.· ·Ms. O'Brien, because we've been

·3· · · able to get, your counsel has been kind

·4· · · enough to give you a paper copy of that

·5· · · I'm not going to share my screen.

·6· · · · · · · · ·MS. DIBIANCA:· Unless,

·7· · · Erica, you prefer me to do so so you

·8· · · can see it.

·9· · · · · · · · ·MS. SHIKUNOV:· I have it.

10· · · · · · · · ·MS. DIBIANCA:· Okay.

11· · · Perfect.· So if you want me to put it

12· · · on the screen at any time just let me

13· · · know but since we all have a copy I'm

14· · · going to skip that challenging

15· · · technology stuff.

16· · · · · · · · ·All right.· So the document

17· · · that we're referring to right now and

18· · · that we're going to mark as Exhibit 1

19· · · for the court reporter's purpose is

20· · · dated July 24th, 2019.

21· · · · · · · · ·(O'Brien Deposition Exhibit

22· · · No. 1 was marked for identification.)

23· · BY MS. DIBIANCA:

24· · · · Q.· ·And this is your charge of


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·1· · · discrimination filed with it says

·2· · · Pennsylvania Human Relations Commission

·3· · · on the top, but I understand it was

·4· · · duly filed with the EEOC as well.

·5· · · · · · · · ·And is that the document

·6· · · that you have got in front of you?

·7· · · · A.· ·Yes.

·8· · · · Q.· ·And is this to the best of your

·9· · · knowledge a true and correct copy of

10· · · the document you filed with the EEOC?

11· · · · A.· ·I believe so.

12· · · · Q.· ·Were you represented by counsel

13· · · at the time you filed this?

14· · · · A.· ·Yes.

15· · · · Q.· ·It says on the first paragraph

16· · · in the section titled The Particulars,

17· · · it says, in part, that your job duties

18· · · included handling human resource

19· · · issues.

20· · · · · · · · ·Did you handle human

21· · · resource issues for the Forum?

22· · · · A.· ·Yes.

23· · · · Q.· ·And then the next paragraph says

24· · · that throughout your employment with


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·1· · · the Forum -- and I'm paraphrasing --

·2· · · you had been subjected to crude

·3· · · comments from Gregg Roman, director.

·4· · · · A.· ·Yes.

·5· · · · Q.· ·He would make comments to you

·6· · · such as, quote, I like older women,

·7· · · quote, or, quote, non-Jewish women were

·8· · · made for sex, quote.· These comments

·9· · · made you feel extremely uncomfortable.

10· · · · · · · · ·When did Mr. Roman say that

11· · · he liked older women?

12· · · · A.· ·That was pretty early on in my

13· · · employment.

14· · · · Q.· ·Who else was present when he

15· · · said that?

16· · · · A.· ·I don't recall.· Matt Bennett

17· · · may have been present, but I'm not

18· · · sure.

19· · · · Q.· ·Was that statement said in the

20· · · office?

21· · · · A.· ·Yes.

22· · · · Q.· ·And what did you say in

23· · · response, if anything?

24· · · · A.· ·I don't recall.· I probably just


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·1· · · said oh or tried to move the

·2· · · conversation elsewhere would probably

·3· · · be how I would handle something like

·4· · · that, but I don't recall specifically.

·5· · · · Q.· ·Okay.· And then the second

·6· · · comment is non-Jewish women were made

·7· · · for sex.· Do you recall when Mr. Roman

·8· · · allegedly said that?

·9· · · · A.· ·Yes.· That was when he had

10· · · asked, he suggested that we start going

11· · · out on quarterly like management

12· · · meetings and have a more relaxed

13· · · atmosphere, go get a couple of drinks

14· · · and talk about shop.

15· · · · · · · · ·And he didn't talk very much

16· · · shop.· It became very personal where he

17· · · was telling me about his marital

18· · · problems and how he was unhappy and I

19· · · suggested that he get a divorce or

20· · · think about leaving.

21· · · · · · · · ·MS. DIBIANCA: We lost your

22· · · audio.· I can't hear you, Erica.

23· · · Sorry.

24· · · · · · · · ·(A discussion was held off


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·1· · · the record.)

·2· · · BY MS. DIBIANCA:

·3· · · · Q.· ·All right.· Let's go back.· We

·4· · · did have some audio issues.· So just to

·5· · · make sure we've got the testimony,

·6· · · let's go ahead and do it again.· Okay,

·7· · · Ms. O'Brien?

·8· · · · · · · · ·Actually, we'll just start

·9· · · in the beginning of that and we'll just

10· · · break it down.

11· · · · · · · · ·What was the year or month

12· · · that Mr. Roman allegedly said that

13· · · non-Jewish women were made for sex?

14· · · · A.· ·I'm not sure.· It was probably

15· · · earlier in 2019.

16· · · · Q.· ·Are you Jewish?

17· · · · A.· ·No.

18· · · · Q.· ·And where did he say this?

19· · · Where was he when he said that

20· · · allegedly?

21· · · · A.· ·I believe it was Misconduct,

22· · · which was where he had taken me for a

23· · · quarterly management meeting that he

24· · · said he wanted to have with me where we


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·1· · · would just go relax and talk shop and

·2· · · strategize about, you know, the future.

·3· · · · Q.· ·When you say Misconduct, is that

·4· · · a place?

·5· · · · A.· ·Yes.

·6· · · · Q.· ·Okay.· Sorry.· I'm a Delawarean.

·7· · · · · · · · ·Okay.· So you were outside.

·8· · · You were not in the office at that

·9· · · time.· Is that correct?

10· · · · A.· ·Correct.

11· · · · Q.· ·Was there anyone present with

12· · · you other than you and Mr. Roman?

13· · · · A.· ·No.

14· · · · Q.· ·And when you say quarterly

15· · · management meetings, how many times did

16· · · a quarterly management meeting outside

17· · · of the office between you and Mr. Roman

18· · · occur?

19· · · · A.· ·One time.

20· · · · Q.· ·And how long did that meeting

21· · · last?

22· · · · A.· ·I couldn't say.

23· · · · Q.· ·And when he said that non-Jewish

24· · · women were made for sex, what did you


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·1· · · say, if anything?

·2· · · · A.· ·I don't, I don't remember.

·3· · · Again, I probably just was

·4· · · uncomfortable because he was talking

·5· · · about his marriage and stuff like that.

·6· · · I wasn't comfortable.

·7· · · · Q.· ·So you said early 2019 but

·8· · · Mr. Roman wasn't in the office in early

·9· · · 2019, was he?

10· · · · A.· ·Oh, 2018 maybe.· Yeah.· I'm not

11· · · sure.· That's why I said I'm not sure.

12· · · · Q.· ·Well, you didn't interact with

13· · · him in early 2019, did you?

14· · · · A.· ·No.

15· · · · Q.· ·So it would would have to have

16· · · been -- can you think about when it

17· · · was?· Was it early 2018?

18· · · · A.· ·I would have to look, I guess.

19· · · I don't recall.

20· · · · Q.· ·Where would you look?

21· · · · A.· ·I actually don't know where I

22· · · would look.· Maybe my Google calendar.

23· · · I don't know.· I don't, I don't recall.

24· · · · Q.· ·And I apologize because I'm


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·1· · · going to ask a question that we've

·2· · · already discussed but just so we have a

·3· · · clear record.

·4· · · · · · · · ·At this time you do not

·5· · · recall the month or time period when

·6· · · Mr. Roman allegedly made the comment

·7· · · that non-Jewish women were made for

·8· · · sex, correct?

·9· · · · A.· ·It was at that meeting.

10· · · · Q.· ·Okay.

11· · · · A.· ·I know that.

12· · · · Q.· ·But you don't know the date of

13· · · that meeting, right?

14· · · · A.· ·Mm-mm.

15· · · · Q.· ·All right.· And you need to say

16· · · yes or no.

17· · · · A.· ·Oh, I'm sorry.· No.

18· · · · Q.· ·Okay.· And you believe it was in

19· · · 2018?

20· · · · A.· ·Yes.

21· · · · Q.· ·But you don't know -- do you

22· · · know the season?· Was it warm outside?

23· · · Was it cold outside?

24· · · · A.· ·He had when he took me to the


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·1· · · meeting the first stop that -- we were

·2· · · walking outside.· He walked me to the

·3· · · parking garage where his car was

·4· · · because he said he needed to get

·5· · · something.· And what he needed to get

·6· · · was some little thing that he had

·7· · · bought that was like a marijuana

·8· · · diffuser and he was like do you want to

·9· · · get high?

10· · · · · · · · ·So I was like okay, just,

11· · · you know, took one or two hits.· When

12· · · I'm working I don't want to be,

13· · · especially one on one in a parking

14· · · garage with a man I wouldn't want to

15· · · let my defenses be too far down.

16· · · · Q.· ·So does that help you remember

17· · · what time of year it was?

18· · · · A.· ·So it was warm was my point

19· · · because of the walking.

20· · · · Q.· ·Okay.· All right.· To the best

21· · · of your knowledge, has Mr. Roman had

22· · · sex with non-Jewish women?

23· · · · A.· ·I'm not sure.· He told me that

24· · · he had sex in the office at work.· He


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·1· · · told me that he had sex with Leah

·2· · · Merville.· I'm not sure what she is.

·3· · · · Q.· ·Let's go to the next paragraph

·4· · · of the charge.· It says "In or around

·5· · · September 2018 Ms. O'Brien and

·6· · · Mr. Roman went to dinner to discuss the

·7· · · office, staff and operations."

·8· · · · · · · · ·Do you recall where you went

·9· · · to dinner?

10· · · · A.· ·That was Misconduct so it was

11· · · then.

12· · · · Q.· ·So is that -- so I'm getting the

13· · · facts right, it would have been

14· · · September 2018 was the meeting at

15· · · Misconduct where he also said that

16· · · non-Jewish women were made for sex?

17· · · · A.· ·Yes.· I guess that's when I

18· · · thought it was.· At the time I said

19· · · that I must have thought that was when

20· · · it was.· That was that same time.

21· · · · Q.· ·And is that also -- okay.

22· · · · · · · · ·So it says you went to

23· · · dinner at Misconduct.· Did you sit at

24· · · the bar or did you sit at a table?           I


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·1· · · don't even know if there are tables.

·2· · · · A.· ·Table.

·3· · · · Q.· ·Table.· Okay.· About how long

·4· · · did the dinner last?

·5· · · · A.· ·I don't think it lasted that

·6· · · long.· I don't recall.· It was...

·7· · · · Q.· ·So "During that same dinner at

·8· · · Misconduct in or around September 2018

·9· · · Mr. Roman discussed various

10· · · inappropriate topics that were

11· · · unrelated to work, specifically, sex,

12· · · relationships, and current problems he

13· · · was having with his wife."

14· · · · A.· ·Yes.

15· · · · Q.· ·So let's take that one at a

16· · · time.

17· · · · · · · · ·What did he discuss with

18· · · regard to sex?

19· · · · A.· ·That was when he made the

20· · · comment about sex being for Jewish

21· · · women and he was telling me that he

22· · · needed a release.

23· · · · Q.· ·Why didn't you put that in the

24· · · charge?


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·1· · · · A.· ·Why didn't I put what in the

·2· · · charge?

·3· · · · Q.· ·That he made that comment about

·4· · · a release.

·5· · · · A.· ·I guess that's the sex

·6· · · reference.

·7· · · · Q.· ·Anything else referencing sex?

·8· · · · A.· ·I'm sure, but I would have to --

·9· · · I can't think of it right now.

10· · · · Q.· ·This is your chance so that's

11· · · why we're here.

12· · · · A.· ·Right.· He told me he was having

13· · · problems with his wife.· He was asking

14· · · me about my relationships, about how I

15· · · was like getting out of my marriage and

16· · · was I seeing anyone and talking about

17· · · how he needed a release.

18· · · · Q.· ·Okay.

19· · · · A.· ·He also kept telling me that he

20· · · forgot to sign papers because he wanted

21· · · to switch banks and there was paperwork

22· · · that had to be signed.· I had sent it

23· · · to him and asked him to sign it

24· · · electronically, but he kept saying


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·1· · · several times throughout the night that

·2· · · oh, we need, we can stop back to the

·3· · · office, I forgot to sign those papers

·4· · · for you, but we can stop back to the

·5· · · office, we can sign those papers for

·6· · · you.

·7· · · · · · · · ·And between those comments

·8· · · and between the release comments and

·9· · · the topic of the conversation, I became

10· · · so uncomfortable that I stopped and I

11· · · said you know I'm not going to fuck

12· · · you, right?

13· · · · Q.· ·Okay.· And that was in the

14· · · restaurant?

15· · · · A.· ·That was when we were walking.

16· · · · Q.· ·Walking back from the

17· · · restaurant?

18· · · · A.· ·I think we might have been

19· · · walking -- I'm not sure where we were

20· · · walking.· I think it was when we were

21· · · walking.· I think we might have

22· · · switched locations, but I can't

23· · · remember exactly.

24· · · · Q.· ·What do you mean "switched


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·1· · · locations"?

·2· · · · A.· ·I don't know.· I think we might

·3· · · have had a drink somewhere and then

·4· · · went to Misconduct.· I can't remember

·5· · · if we were in one location the entire

·6· · · time.

·7· · · · Q.· ·So is it your testimony that you

·8· · · left the office with Mr. Roman, stopped

·9· · · at the parking garage, had a couple of

10· · · hits of weed and then went where?

11· · · · A.· ·To eat.· I believe we went

12· · · somewhere initially and maybe he didn't

13· · · like it and then we switched and then

14· · · went to Misconduct.· I believe that's

15· · · where we went and ate.

16· · · · · · · · ·And then walking he may have

17· · · mentioned, I think he kept mentioning

18· · · the papers and I made that comment.

19· · · · Q.· ·When you made the comment about

20· · · you're not going to fuck him?

21· · · · A.· ·Yes.

22· · · · Q.· ·Are you sure this wasn't 2017?

23· · · · A.· ·It may have been.· I told you

24· · · I'm not sure of the date.


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·1· · · · Q.· ·He's asked you if you were

·2· · · getting out of -- you discussed you

·3· · · were getting a divorce.· Is that right?

·4· · · · A.· ·Yes.· I was not -- I think my

·5· · · divorce wasn't final at that point but

·6· · · I had, you know, I was separated and

·7· · · living in my own place.

·8· · · · Q.· ·Does that help you remember the

·9· · · year?

10· · · · A.· ·It really doesn't.

11· · · · Q.· ·When did you separate from your

12· · · husband?

13· · · · A.· ·In 2014.

14· · · · Q.· ·And when was your divorce

15· · · finalized?

16· · · · A.· ·I don't -- I stayed married for

17· · · a while because I stayed on his

18· · · benefits.· Maybe -- I don't know.

19· · · Maybe 2017.

20· · · · Q.· ·So if your divorce was finalized

21· · · in 2017, does that help you recall

22· · · whether it was 2017 that you had this

23· · · dinner with Mr. Roman at Misconduct?

24· · · · A.· ·No.· Because he was just prying


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·1· · · about my personal life.· It wasn't like

·2· · · he was asking me about like the

·3· · · specifics of my divorce.· It was more

·4· · · about like my marriage and what was it

·5· · · like and what did you do and stuff like

·6· · · that.

·7· · · · · · · · ·So it doesn't help me

·8· · · remember.· I know that I went to dinner

·9· · · with him one on one and that was my

10· · · evening, was uncomfortable.

11· · · · Q.· ·And did you tell him at that

12· · · dinner about your son having a drug

13· · · problem?

14· · · · A.· ·A drug problem?· My son doesn't

15· · · have a drug problem so I wouldn't have

16· · · told him that.

17· · · · Q.· ·Did you tell him anything about

18· · · your son at that dinner?

19· · · · A.· ·My son has struggled with issues

20· · · and I think I had to take time off

21· · · because of that and so he may have

22· · · asked me about that, so I may have told

23· · · him some of those issues.

24· · · · Q.· ·Do you mean take off work at MEF


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·1· · · or prior to working at MEF?

·2· · · · A.· ·At MEF.

·3· · · · Q.· ·Okay.· Then did you walk back to

·4· · · the office after that dinner?

·5· · · · A.· ·I didn't go back to the office

·6· · · with him.· I went home.

·7· · · · Q.· ·Where was your car parked?

·8· · · · A.· ·I don't remember.· I generally

·9· · · took PATCO in, so I may have taken the

10· · · train.· If I drove in, I don't know.           I

11· · · would have probably parked at Liberty

12· · · One.

13· · · · Q.· ·So after the dinner the two of

14· · · you left separately, correct?

15· · · · A.· ·I didn't -- yeah.· I didn't go

16· · · back to the office with him.· I didn't

17· · · go anywhere.· I went home.

18· · · · Q.· ·You didn't go to the parking

19· · · garage with him?

20· · · · A.· ·After?

21· · · · Q.· ·Yes.

22· · · · A.· ·I don't think so.

23· · · · Q.· ·Okay.· I'm just asking just so

24· · · my questions are clear.


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·1· · · · · · · · ·And you say in your charge

·2· · · that he continued to make advances

·3· · · throughout the dinner.· What were the

·4· · · advances?· Was there something?· Did he

·5· · · proposition you?

·6· · · · A.· ·He talked about -- no, I don't

·7· · · remember saying there was a

·8· · · proposition.· I recall saying that he

·9· · · kept leading the conversation to

10· · · marital problems, asking me about what

11· · · it's like dating, what the dating scene

12· · · is like and him saying how he needed a

13· · · release.

14· · · · · · · · ·I said that the topic of

15· · · conversation made me feel so

16· · · uncomfortable that I said to him you

17· · · know I'm not going to fuck you, right?

18· · · · · · · · ·And he said why would you

19· · · say that?

20· · · · · · · · ·I said because I felt like I

21· · · needed to.

22· · · · Q.· ·And what did he say?

23· · · · A.· ·He changed the topic.

24· · · · Q.· ·Did he change the topic back to


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·1· · · work?

·2· · · · A.· ·I don't recall.· There wasn't

·3· · · much work talk.

·4· · · · Q.· ·After he changed the topic did

·5· · · you feel -- was there anything else

·6· · · that he said after that that evening

·7· · · that made you feel uncomfortable?

·8· · · · A.· ·I don't recall.· I believe the

·9· · · release comment came after that.

10· · · · Q.· ·Was that the only time you went

11· · · to dinner with Mr. Roman?

12· · · · A.· ·I believe so.

13· · · · Q.· ·Let's go to the next page of the

14· · · charge.· It says "A few weeks later

15· · · Mr. Roman invited Ms. O'Brien on a

16· · · business trip to Israel with him."

17· · · · · · · · ·So tell me what you mean by

18· · · that, he invited you on a business

19· · · trip.· How did he invite you on a

20· · · business trip?

21· · · · A.· ·He said that, you know, they

22· · · were working on some secret project and

23· · · it was top secret and high security and

24· · · high security like -- I don't know why


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·1· · · but whatever.

·2· · · · · · · · ·He said that he needed help

·3· · · because he needed someone to take notes

·4· · · for him or something, and he asked me

·5· · · if I would want to go.· It would be

·6· · · about a week.

·7· · · · · · · · ·And I did want to go.· And

·8· · · he said I got an Airbnb, it's two

·9· · · bedrooms and you'll have your own room.

10· · · · · · · · ·And I said I'm not

11· · · comfortable with that at all and I

12· · · would want to go, but I want a hotel

13· · · room.

14· · · · Q.· ·Okay.· What did he say?

15· · · · A.· ·He said he would ask someone

16· · · else.

17· · · · Q.· ·So that trip -- did he ask

18· · · someone else?

19· · · · A.· ·He asked Lisa Barbounis.

20· · · · Q.· ·So the trip that Lisa Barbounis

21· · · took to Israel I'll represent to you

22· · · was in March of 2018.

23· · · · · · · · ·Does that sound correct to

24· · · you?


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·1· · · · A.· ·Okay.· Yeah.

·2· · · · Q.· ·So your dinner at Misconduct was

·3· · · prior to March 2018.· Is that correct?

·4· · · · A.· ·I believe.· I'm not entirely

·5· · · sure, but I believe that it was.

·6· · · · Q.· ·In other words, the dinner at

·7· · · Misconduct was before he talked to you

·8· · · about Israel?

·9· · · · A.· ·I am not sure which came first.

10· · · · Q.· ·Well, you put in your charge a

11· · · few weeks later.· That's the first --

12· · · · A.· ·Okay.· Then I guess that's what

13· · · it was.· I'm not sure now.· If I said

14· · · that then, then that's when I thought

15· · · it happened.

16· · · · Q.· ·Okay.· Now, had you stayed at an

17· · · Airbnb with anyone from the Forum

18· · · during your employment?

19· · · · A.· ·I had been invited to go help at

20· · · AIPAC.· They were going to AIPAC and

21· · · they were having dinner and they needed

22· · · help with that.· So I went with -- I

23· · · don't know how I got there -- I guess

24· · · with Lisa Barbounis and Trish McNulty


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·1· · · and we had a hotel room that we were

·2· · · supposed to stay in, one room.· We

·3· · · shared, the three of us, one hotel

·4· · · room.

·5· · · · · · · · ·And Matt and Gregg were also

·6· · · there and they had I think a three

·7· · · bedroom, it was a three bedroom Airbnb.

·8· · · · · · · · ·And so we had gone out

·9· · · afterwards to I guess different

10· · · functions.· The different organizations

11· · · hold functions trying to network.· And

12· · · Gregg invited some people back to the

13· · · Airbnb for like an after party after

14· · · that, so we all went back there.

15· · · · Q.· ·And did you stay there that

16· · · night?

17· · · · A.· ·I did.· We had been drinking and

18· · · actually when we first got there he

19· · · said here, come here, I want to show,

20· · · here come back here, come back here and

21· · · I followed him.· I didn't know the

22· · · layout.

23· · · · · · · · ·So I was just following him

24· · · and he took me right into his bedroom


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·1· · · and shut the door.· And I was

·2· · · uncomfortable and he's like here, you

·3· · · know, he had pot.· So I was like ahhh,

·4· · · I don't want to be back here;

·5· · · everybody's going like be wondering

·6· · · what we're doing.· And I went out on

·7· · · the terrace because I was

·8· · · uncomfortable.

·9· · · · · · · · ·After that everyone was

10· · · hanging out and I remember it was

11· · · getting later and there were grantees

12· · · there.· There were a couple of fellows

13· · · there.· And at one point he was sitting

14· · · on the couch in between Lisa and Tricia

15· · · and he put his arms around them and

16· · · they both -- Lisa just looked like

17· · · uncomfortable, like all right, go away.

18· · · And Tricia was more visibly

19· · · uncomfortable and then he pulled her up

20· · · onto his lap.· And she was, she was

21· · · visibly shaken by that.· I remember the

22· · · look on her face.

23· · · · Q.· ·You were intoxicated at that

24· · · time, correct?


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·1· · · · A.· ·Excuse me?

·2· · · · Q.· ·You were intoxicated at the

·3· · · time, correct?

·4· · · · A.· ·We had definitely all been

·5· · · drinking.

·6· · · · Q.· ·Answer my question.· That wasn't

·7· · · my question.

·8· · · · · · · · ·My question was:· Were you

·9· · · intoxicated at the time?

10· · · · A.· ·Was I?· Well, what's drunk?           I

11· · · didn't take -- I mean I had been

12· · · drinking so I was buzzed at the very

13· · · least.

14· · · · Q.· ·Okay.· So in let's say early

15· · · March 2018 you were intoxicated after

16· · · AIPAC and stayed in Mr. Roman's Airbnb,

17· · · correct?

18· · · · A.· ·So Lisa had fallen asleep on the

19· · · couch and we were wanting to leave and

20· · · they were like no, no, no, stay here,

21· · · stay here, just stay here, there's an

22· · · extra bedroom.

23· · · · · · · · ·And so Tricia and I flipped

24· · · a coin for the bedroom and she won so


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·1· · · she went into the bedroom.· And I was

·2· · · like I didn't really -- I really wanted

·3· · · to go back to the hotel room.

·4· · · · · · · · ·And I was like screw her.

·5· · · There's a big bed in here.· I'm not

·6· · · going to sleep on the couch.· I'm going

·7· · · to go sleep in there with her.· There's

·8· · · plenty of room.

·9· · · · · · · · ·And as I was walking away --

10· · · I was by myself at that point.· She was

11· · · asleep and everybody was gone.· And as

12· · · I was walking away, I looked and Lisa

13· · · was like swearing a skirt and she was

14· · · asleep on the couch and I was like do

15· · · you know what?· I didn't feel

16· · · comfortable leaving her alone on the

17· · · couch.

18· · · · · · · · ·And I thought Tricia has a

19· · · lock on her door, so I'll just sleep on

20· · · the couch and we'll just leave early in

21· · · the morning.· So that's what we did.

22· · · · Q.· ·Was there any incident after you

23· · · went to sleep?

24· · · · A.· ·I don't think so.· We woke up


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·1· · · early in the morning and went back to

·2· · · our hotel room.

·3· · · · · · · · ·MS. SHIKUNOV:· Molly, when

·4· · · you're done this line of questioning

·5· · · can we take a cbreak?

·6· · · · · · · · ·MS. DIBIANCA:· Yes.

·7· · · Definitely.· I mean we can do it now if

·8· · · you want.

·9· · · · · · · · ·MS. SHIKUNOV:· I don't want

10· · · to interrupt your line of questioning.

11· · · If you want to finish this topic and

12· · · then we can go.

13· · BY MS. DIBIANCA:

14· · · · Q.· ·So in the first paragraph of the

15· · · second page of your charge the last

16· · · sentence says that, quote, "Because of

17· · · his inappropriate advances Ms. O'Brien

18· · · missed out on the opportunity to

19· · · further her career and participate on

20· · · the business trip."

21· · · · · · · · ·I guess I don't follow that

22· · · so help me unwind that if you can.

23· · · · A.· ·Where is it?

24· · · · Q.· ·This is the second page of your


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·1· · · charge on the first paragraph, last

·2· · · sentence.· It begins "Because of his

·3· · · inappropriate advances."

·4· · · · A.· ·Oh.· Well, I felt like the

·5· · · Israel trip was an opportunity to, you

·6· · · know, I guess become more, you know,

·7· · · involved in the business, what was

·8· · · going on.· And I didn't -- I wasn't

·9· · · able, I wasn't comfortable taking the

10· · · opportunity because I was uncomfortable

11· · · at the thought of being alone with him

12· · · for a week.

13· · · · · · · · ·So that's what that means.

14· · · · Q.· ·Now, sitting here today do you

15· · · think that you lost out on a business

16· · · opportunity or a career opportunity by

17· · · not going on that trip?

18· · · · A.· ·I don't think there was a career

19· · · opportunity.· I think it was an

20· · · opportunity for Mr. Roman to try to get

21· · · in someone's pants.

22· · · · Q.· ·The next paragraph describes

23· · · Lisa Barbounis as an administrative

24· · · assistant.


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·1· · · · · · · · ·Is that your understanding

·2· · · of what her title was at the Forum?

·3· · · · A.· ·Her title changed several times.

·4· · · She was hired in to be an executive

·5· · · assistant.· I'm not sure.· She didn't

·6· · · want that title.· She was very worried

·7· · · about the title.

·8· · · · · · · · ·So I'm not sure what her

·9· · · title was when she started, but the

10· · · role that we were hiring for was for an

11· · · administrative assistant and that's

12· · · where she started.

13· · · · Q.· ·Then it says "When Ms. Barbounis

14· · · returned from Israel she made a comment

15· · · to you about, quote, the shit Mr. Roman

16· · · pulled in Israel."

17· · · · · · · · ·Were those her exact words?

18· · · They're in quotation marks here.

19· · · · A.· ·Yeah.

20· · · · Q.· ·And you followed up and she did

21· · · not -- did you respond to that

22· · · sentence?

23· · · · A.· ·When they first got back they

24· · · were very weird with each other, so I


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·1· · · kind of thought something might have

·2· · · happened and then she made that

·3· · · comment.

·4· · · · · · · · ·And I said was he

·5· · · inappropriate while you were there?

·6· · · And she was like oh, nevermind, it's

·7· · · nothing.· And she like made a bee line

·8· · · for the door and got out of the office.

·9· · · · Q.· ·It says that she did not address

10· · · the trip again.· Is that correct?

11· · · · A.· ·I don't, I don't know what you

12· · · mean.

13· · · · Q.· ·I'm looking at your charge.

14· · · · A.· ·She never, she never said any

15· · · more comments like that around me

16· · · anyway.

17· · · · Q.· ·And then subsequently Mr. Roman

18· · · told you that Ms. Barbounis had hit on

19· · · him during the Israel trip?

20· · · · A.· ·That was actually before, I

21· · · think.· He was in my office for

22· · · something and he was like she hit on me

23· · · in Israel.

24· · · · · · · · ·And I was like she did?· Are


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·1· · · you sure about that?

·2· · · · · · · · ·And he was like oh, I don't

·3· · · know, maybe.

·4· · · · · · · · ·It was, it was weird.

·5· · · · Q.· ·When you say it was before that,

·6· · · you mean it was before Lisa's comment

·7· · · to you?

·8· · · · A.· ·I think it was.

·9· · · · Q.· ·Okay.· And then it says "Soon

10· · · after her trip to Israel," which I'm

11· · · assuming means Ms. Barbounis's trip to

12· · · Israel, "in March of 2018 Mr. Roman

13· · · asked you to document everything

14· · · Ms. Barbounis did wrong while working

15· · · for the Forum, including when she was

16· · · late or when she spoke too loudly.

17· · · Ms. O'Brien was directed by Mr. Roman

18· · · to look for reasons to discipline

19· · · Ms. Barbounis."

20· · · · · · · · ·Is that a true and accurate

21· · · statement?

22· · · · A.· ·It is.

23· · · · Q.· ·Tell me the context of that.

24· · · · A.· ·So --


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·1· · · · Q.· ·When did it happen?

·2· · · · A.· ·I'm sorry.· What?

·3· · · · Q.· ·Let's start with when it

·4· · · happened.· When did he say that?

·5· · · · A.· ·I'm not good with like actual

·6· · · like at this point remembering the

·7· · · exact moment that these things

·8· · · happened.· He -- when she was hired,

·9· · · she had zero skills for being an admin

10· · · assistant.

11· · · · · · · · ·What was the question again?

12· · · Oh, when he -- okay.

13· · · · · · · · ·So he wanted to fire her.

14· · · So he told me that we needed to start

15· · · gearing up to get her out because she

16· · · wasn't doing her job, which she wasn't

17· · · good at it, I guess.· But he asked me

18· · · to basically start documenting when she

19· · · was late.

20· · · · · · · · ·She's a very big personality

21· · · and she can be disruptive in the

22· · · office.· He was asking me to document

23· · · that and just start gathering, you

24· · · know, a reason to fire her.


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·1· · · · · · · · ·MS. DIBIANCA: Okay.· Let's

·2· · · go ahead and pause there -- Erica, I

·3· · · forgot we were going to take a break --

·4· · · before I carry on.· Sorry.

·5· · · · · · · · ·We can go off.

·6· · · · · · · · ·THE VIDEOGRAPHER:· Going off

·7· · · the record at 10:56.

·8· · · · · · · · ·(A brief recess was taken)

·9· · · · · · · · ·THE VIDEOGRAPHER:· We are

10· · · now rolling and recording and we're on

11· · · the record at 11:08 Eastern Time.

12· · · BY MS. DIBIANCA:

13· · · · Q.· ·So we're going to stick with the

14· · · same line or the chain of events here.

15· · · · · · · · ·You said, your testimony was

16· · · that Ms. Barbounis did not have the

17· · · qualifications that she needed for the

18· · · position for which she was hired at

19· · · MEF.· Is that correct?

20· · · · A.· ·Yes.

21· · · · Q.· ·And at the time she was hired

22· · · did you disagree with her being hired?

23· · · · A.· ·I did.

24· · · · Q.· ·Because of her lack of


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·1· · · qualifications?

·2· · · · A.· ·I thought she was smart and

·3· · · seemed like a hard worker and, you

·4· · · know, but there was another woman who

·5· · · had previously interviewed who was an

·6· · · older woman, like a bit matronly, and

·7· · · she was a lifelong executive assistant.

·8· · · Her resume was perfect for what we were

·9· · · hiring for.· She knew MEF.· She was a

10· · · fan of Daniel Pipes and she wanted the

11· · · job.

12· · · · · · · · ·So I wanted her and he

13· · · insisted on hiring Lisa for the job.

14· · · And I said to her in the interview you

15· · · know you're not going to like this job,

16· · · right?· Because this isn't the job that

17· · · you want.

18· · · · · · · · ·And she said oh, I'll learn

19· · · it, I'll be good at it.· And, you know,

20· · · so she got the job.

21· · · · Q.· ·And when she was hired and

22· · · started to work for the Forum, in your

23· · · opinion did she do a good job at first?

24· · · · A.· ·I wouldn't have any knowledge of


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·1· · · how well she did her job firsthand.           I

·2· · · only know what Gregg told me.· And I

·3· · · would ask him often like -- because I

·4· · · felt like it was doomed because she was

·5· · · hired for a job she didn't have the

·6· · · skill set for.

·7· · · · · · · · ·So I asked him often, you

·8· · · know, is she doing a good job?· How's

·9· · · it going?

10· · · · · · · · ·And he would say oh, she's

11· · · doing good, she's getting it, she's

12· · · doing great.· So he was always

13· · · defending her.

14· · · · · · · · ·So I said if she's not doing

15· · · a good job you need to let her know so

16· · · she can fix it because you can't --

17· · · when you decide that she's not doing a

18· · · good job and you're going to try to rip

19· · · the rug out from under her it's going

20· · · to be a problem, so if she's not doing

21· · · a good job you need to tell me.

22· · · · Q.· ·And did he tell you that she

23· · · wasn't doing a good job at some point?

24· · · · A.· ·He always said that she was


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·1· · · doing well.· He would complain about

·2· · · her and then he would say she was doing

·3· · · well and it's good, everything's fine.

·4· · · · · · · · ·It wasn't until after they

·5· · · got back from Israel that he said that

·6· · · she wasn't doing a good job and that he

·7· · · needed her to go.

·8· · · · Q.· ·And did you agree with him at

·9· · · the time that he said that, that Lisa

10· · · was not doing a good job at that time?

11· · · · A.· ·I still don't know.· I know that

12· · · she wasn't happy in the position.          I

13· · · know that she was always struggling and

14· · · feeling like she wasn't doing well.

15· · · · · · · · ·And then I would ask him

16· · · about it and he'd say say no, she's

17· · · fine, it's good, it's good, it's good.

18· · · · · · · · ·So I wouldn't have any

19· · · firsthand knowledge of the job that she

20· · · did because our jobs didn't interact.

21· · · They didn't really cross too much so I

22· · · really don't know how she did.

23· · · · Q.· ·So at the time that Mr. Roman

24· · · told you when they returned from


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·1· · · Israel -- let me just go over that a

·2· · · bit because it's a little unclear to

·3· · · me.

·4· · · · · · · · ·When they returned from

·5· · · Israel in March of 2018 Mr. Roman told

·6· · · you that Ms. Barbounis -- what did he

·7· · · tell you about Ms. Barbounis?

·8· · · · A.· ·He said she hit on me, like

·9· · · that.· And that was really it.· Because

10· · · I went she did?· Are you sure about

11· · · that?

12· · · · · · · · ·And then he's like oh, I

13· · · don't know, maybe and then that was it.

14· · · · Q.· ·What about this piece about

15· · · telling you to document the things that

16· · · Ms. Barbounis did wrong?

17· · · · A.· ·After he decided -- I didn't

18· · · realize it at the time but it was after

19· · · the Israel trip.· I didn't really put

20· · · two and two together.· He asked me to

21· · · start documenting all of her, you know,

22· · · things that she did wrong, she was loud

23· · · in the office, when she showed up late,

24· · · anything that she did, you know, that


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·1· · · was wrong or not okay.

·2· · · · Q.· ·Prior to March of 2018 you had

·3· · · already told Ms. Barbounis that she had

·4· · · tardiness issues, correct?

·5· · · · A.· ·Yeah.

·6· · · · Q.· ·Yeah.· So what he was telling

·7· · · you was not news to you, correct?

·8· · · · A.· ·No.· But he wanted it documented

·9· · · at this point.

10· · · · Q.· ·Well, wasn't that your job as HR

11· · · to document when people are doing

12· · · things that are not in line with their

13· · · performance obligations?

14· · · · A.· ·We didn't have a time clock and

15· · · I wasn't her boss.· And we also --

16· · · again we're told that we didn't have to

17· · · be 9:00 to 5:00, that we could flex and

18· · · do different, you know, schedules if we

19· · · needed to so --

20· · · · Q.· ·You talked to her about being

21· · · late prior to the Israel trip, correct?

22· · · That's what your testimony was.

23· · · · A.· ·Yes.· I believe I did.

24· · · · Q.· ·Okay.· So there was obviously


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·1· · · some mechanism by which you determined

·2· · · that she was late.

·3· · · · A.· ·He was the mechanism.

·4· · · · Q.· ·No.· My question was and your

·5· · · testimony was that prior to the Israel

·6· · · trip you yourself had said to

·7· · · Ms. Barbounis you're late, right?

·8· · · · A.· ·She did show up late a lot.

·9· · · But, again, I wasn't her boss so it

10· · · wouldn't -- I wouldn't have had a

11· · · discussion with her about her lateness

12· · · unless Gregg asked me to.

13· · · · Q.· ·So the testimony you gave just a

14· · · few minutes ago when you said that

15· · · prior to Israel in March of 2018 you

16· · · had, in fact, talked with Ms. Barbounis

17· · · with regard to her tardiness, is that

18· · · correct or is that incorrect testimony?

19· · · · · · · · ·Do you want to change that

20· · · testimony or are you sticking with

21· · · that?

22· · · · A.· ·I think, I think it probably was

23· · · addressed at some point.

24· · · · Q.· ·Okay.· And you said that she


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·1· · · was, he felt that she was not doing a

·2· · · good job.· That's what he told you,

·3· · · correct?

·4· · · · A.· ·Yes, when he, when he asked me

·5· · · to start documenting it.

·6· · · · Q.· ·Did you think there was anything

·7· · · wrong with him asking you to document

·8· · · when an employee is not doing a good

·9· · · job?

10· · · · A.· ·He didn't ask me to document her

11· · · not doing a good job.· He asked me to

12· · · document her latenesses, her loudnesses

13· · · because I didn't have really the

14· · · ability to gauge her work performance.

15· · · · · · · · ·No, there's nothing wrong

16· · · with that because when somebody is not

17· · · doing a good job and you don't want

18· · · them to be part of your team anymore

19· · · you have to document reasons for that.

20· · · · Q.· ·And she was loud from time to

21· · · time, correct?

22· · · · A.· ·Yes.

23· · · · Q.· ·And it was loud in a way that

24· · · was disruptive, correct?


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·1· · · · A.· ·Yes.

·2· · · · Q.· ·And she was tardy from time to

·3· · · time, correct?

·4· · · · A.· ·Yes, I believe.

·5· · · · Q.· ·Did you document it?

·6· · · · A.· ·I did.· I started keeping a

·7· · · list, yeah.

·8· · · · Q.· ·Did you ever speak to

·9· · · Ms. Barbounis after Mr. Roman made the

10· · · request that you document it about --

11· · · let me say that in a better way.

12· · · · · · · · ·After Mr. Roman asked you in

13· · · March of 2018 to document

14· · · Ms. Barbounis's various employment

15· · · failings, loudness, tardiness,

16· · · et cetera, you did so, correct?

17· · · · A.· ·Document it?

18· · · · Q.· ·Yes.

19· · · · A.· ·I started keeping a list.

20· · · · Q.· ·And did you address those issues

21· · · with Ms. Barbounis directly at any

22· · · time?

23· · · · A.· ·She would disrupt me a lot, so

24· · · yes.· If she was loud, I would call her


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·1· · · out on it.

·2· · · · Q.· ·And you went into her office and

·3· · · told her that she was late, correct?

·4· · · · A.· ·I may have.

·5· · · · Q.· ·Then the next paragraph of your

·6· · · charge you say "Additionally, when he

·7· · · returned from Israel" -- when you said

·8· · · that did you mean in March of 2018?

·9· · · · A.· ·That was a prior trip to Israel.

10· · · · Q.· ·So when was that?

11· · · · A.· ·That trip when he came back and

12· · · told me he slept with Leah?

13· · · · Q.· ·Yes.

14· · · · A.· ·I'm not sure.· It was prior to

15· · · the trip with Lisa though.

16· · · · Q.· ·Okay.

17· · · · A.· ·And I only know that because she

18· · · had told me that while he was screaming

19· · · about needing a blow job that he called

20· · · Leah and she wasn't taking his calls.

21· · · · Q.· ·Who is "she"?

22· · · · A.· ·Leah wasn't taking his calls.

23· · · So he had already slept with her prior

24· · · to that trip was my point.


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·1· · · · Q.· ·You got to unpack that a bit.

·2· · · You said that she told you.· Who told

·3· · · you what?

·4· · · · A.· ·Lisa when she told me about what

·5· · · happened in Israel said that when she

·6· · · was declining his advances he was

·7· · · calling Leah and she wasn't taking his

·8· · · calls.· That's how I know of him

·9· · · sleeping with Leah happened prior to

10· · · that trip.· It had already happened.

11· · · · Q.· ·And I thought you said that Lisa

12· · · didn't talk to you more about that

13· · · trip.· So are you changing that

14· · · testimony now?

15· · · · · · · · ·MS. SHIKUNOV:· I'm going to

16· · · object to the form of the question

17· · · because it's mischaracterizing what she

18· · · said previously.

19· · · · Q.· ·Would you like me to rephrase

20· · · it?

21· · · · · · · · ·MS. SHIKUNOV:· She can

22· · · answer it or you can rephrase it,

23· · · whatever you prefer.

24· · · · A.· ·So when you asked --


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·1· · · · · · · · ·MS. SHIKUNOV:· Hold on.· Let

·2· · · her ask her question.

·3· · · · Q.· ·I'm asking you if you would like

·4· · · me to rephrase it?

·5· · · · · · · · ·MS. SHIKUNOV:· You can

·6· · · rephrase it or she can answer it.          I

·7· · · put my form objection on the record so

·8· · · whatever you want to do.

·9· · · · · · · · ·MS. DIBIANCA:· I meant the

10· · · witness.

11· · · · A.· ·Oh, me?· So when you asked me if

12· · · she talked to me about it again, I

13· · · thought you meant like that day in the

14· · · office brought it up again.· We did

15· · · talk about it again and it was when she

16· · · told me about what happened and that

17· · · ended up with me filing a complaint

18· · · with Daniel Pipes and Marc Fink.

19· · · · Q.· ·So Lisa Barbounis just -- we got

20· · · a lot of pronouns on the record.

21· · · · · · · · ·So when Lisa Barbounis got

22· · · back from Israel she made a comment to

23· · · you about, quote, the shit he pulled in

24· · · Israel, quote.


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·1· · · · · · · · ·After that she did not

·2· · · address the trip again until October 30

·3· · · or 31st, 2018.· Is that correct?

·4· · · · A.· ·That's correct.

·5· · · · Q.· ·Okay.· Got it.

·6· · · · · · · · ·So in this next paragraph

·7· · · where you say "Additionally when he

·8· · · returned from Israel," that is not

·9· · · correct then?· Tell me what I'm

10· · · supposed to understand from that

11· · · sentence.

12· · · · A.· ·So additionally when he returned

13· · · from Israel from a prior trip Mr. Roman

14· · · had told me how he had slept with Leah

15· · · Merville.

16· · · · Q.· ·And when did he say exactly?

17· · · · A.· ·He said that she was there

18· · · interning for IVP and he was there· and

19· · · they went out for drinks.· And he said

20· · · that they got a little fired up and he

21· · · forgot her paperwork back in his hotel

22· · · room to sign her internship papers,

23· · · which that's the only intern that he's

24· · · ever signed their internship papers.


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·1· · · Matt Bennett usually handled that.

·2· · · · · · · · ·So he had her papers up in

·3· · · his hotel room and she went up there

·4· · · and they -- one thing led to another

·5· · · and they slept together.

·6· · · · Q.· ·When did he tell you that?

·7· · · · A.· ·It was prior to that Israel trip

·8· · · and prior to the invitation to go to

·9· · · Israel.

10· · · · · · · · ·I thought I was the only one

11· · · that knew and then I found out later

12· · · that he had told other people as well.

13· · · · Q.· ·So is it correct to say that he

14· · · told you, your testimony is that

15· · · Mr. Roman told you that he slept with

16· · · Ms. Merville and that he made that

17· · · comment, he made that statement prior

18· · · to your dinner at Misconduct in

19· · · September 2018?

20· · · · A.· ·I'm not sure if it was prior to

21· · · that or not.

22· · · · Q.· ·You said it was prior to when he

23· · · asked you to go to Israel, right?

24· · · · A.· ·Yes.· I'm not sure where that,


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·1· · · when that happened.· I'm not sure of

·2· · · the time frame of when he slept with

·3· · · Leah or when he told me.

·4· · · · Q.· ·So just so we're clear and we're

·5· · · talking about the same question, I'm

·6· · · only talking about when he told you

·7· · · that.· Okay?

·8· · · · A.· ·I'm unclear.· I don't know.

·9· · · · Q.· ·But you do know it was prior to

10· · · his trip to Israel in March 2018 with

11· · · Ms. Barbounis, correct?

12· · · · A.· ·Yeah.· I'm pretty sure it was.

13· · · · Q.· ·And are you pretty sure that it

14· · · was before he asked you to go to

15· · · Israel?

16· · · · A.· ·Well, probably, yeah.

17· · · · Q.· ·So as HR what did you do about

18· · · it when he told you that?· You kept it

19· · · to yourself?

20· · · · A.· ·I did keep it to myself, but she

21· · · wasn't -- he said that she wasn't

22· · · working for us.· He said that --

23· · · actually I didn't know at that time

24· · · that she was interning for IVP Israel.


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·1· · · I thought it was, you know, she was

·2· · · just coincidentally there.

·3· · · · · · · · ·That's kind of how he framed

·4· · · it to me, but I told him that that's

·5· · · stupid and you shouldn't be doing that.

·6· · · · Q.· ·So at the time of the alleged

·7· · · incident when he, Mr. Roman, and

·8· · · Ms. Merville had sex in Israel, was

·9· · · Ms. Merville an intern for IVP at that

10· · · time?

11· · · · A.· ·I believe that's what I found

12· · · out later.· I thought, I thought at the

13· · · time that he told me that she was

14· · · interning for somewhere else and that

15· · · maybe he helped her get the internship.

16· · · · · · · · ·I'm really not that clear on

17· · · that.

18· · · · Q.· ·She wasn't interning for the

19· · · Forum, correct?

20· · · · A.· ·She wasn't?

21· · · · Q.· ·Was she I guess?

22· · · · A.· ·I'm unclear.· He told me that

23· · · she was not and then I heard later that

24· · · she was.· And if he was signing her


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·1· · · internship papers, I would have to

·2· · · guess that she was.

·3· · · · Q.· ·But as the HR person you did not

·4· · · know whether she was interning for the

·5· · · Forum?

·6· · · · A.· ·No.· They didn't always update

·7· · · me to that.· There would just be

·8· · · somebody -- Matt really, Matt managed

·9· · · the interns.

10· · · · Q.· ·Was Ms. Merville working in the

11· · · office at that time, the MEF office in

12· · · Philadelphia?

13· · · · A.· ·She was in Israel.

14· · · · Q.· ·Did she ever work in the MEF

15· · · office in Philadelphia?

16· · · · A.· ·Yes.

17· · · · Q.· ·When?

18· · · · A.· ·I'm going to guess --

19· · · · · · · · ·MS. SHIKUNOV:· Don't guess.

20· · · · · · · · ·THE WITNESS:· Okay.

21· · · · Q.· ·Well, yeah, I want you to guess.

22· · · You can just say it's a guess, but I

23· · · still want you to try to figure it out.

24· · · · · · · · ·MS. SHIKUNOV:· If you can


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·1· · · approximate, you can.· Just make sure

·2· · · it's clear for the record that it is an

·3· · · approximation.

·4· · · · A.· ·I'm going to say in 2017, I

·5· · · believe.

·6· · · · Q.· ·So at the time that he told you

·7· · · that he had sex with Ms. Merville, did

·8· · · he tell you right after he returned

·9· · · from the trip that they allegedly had

10· · · sex?

11· · · · A.· ·He went -- he flew and traveled

12· · · often so I'm not sure if it was right

13· · · when he got back from that trip or not.

14· · · · Q.· ·Well, your charge says when he

15· · · returned from Israel.

16· · · · A.· ·Well, I mean I don't know if it

17· · · was the day he returned.· It was after

18· · · he returned and after it happened.

19· · · · Q.· ·It wasn't long afterwards, in

20· · · other words?

21· · · · A.· ·I don't think so.· It doesn't

22· · · seem like he would want to keep that

23· · · quiet since he was telling everyone.

24· · · · Q.· ·Well, you didn't know that he


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·1· · · was, quote, telling everyone.· Those

·2· · · are your words after the fact, correct?

·3· · · · A.· ·Yes.

·4· · · · · · · · ·MS. SHIKUNOV:· Sorry, Molly.

·5· · · Can we take two seconds?

·6· · · · · · · · ·MS. DIBIANCA:· Yes.

·7· · · · · · · · ·MS. SHIKUNOV:· Can we take

·8· · · two seconds?

·9· · · · · · · · ·MS. DIBIANCA:· We're going

10· · · off the record.

11· · · · · · · · ·THE VIDEOGRAPHER:· Going off

12· · · the record at 11:28.

13· · · · · · · · ·(A brief recess was taken.)

14· · · · · · · · ·THE VIDEOGRAPHER:· We are

15· · · going back on the record at 11:29.

16· · · BY MS. DIBIANCA:

17· · · · Q.· ·At the time that Mr. Roman

18· · · allegedly had sex with Ms. Merville in

19· · · Israel, was Ms. Merville an MEF intern?

20· · · · A.· ·Not MEF.· I believe she was an

21· · · IVP intern.

22· · · · Q.· ·Was she an intern with MEF after

23· · · you learned, allegedly learned from

24· · · Mr. Roman that he had sex with


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·1· · · Ms. Merville in Israel?

·2· · · · A.· ·No.

·3· · · · Q.· ·Did you do Ms. Barbounis's

·4· · · performance review?

·5· · · · A.· ·I wouldn't think so.· I usually

·6· · · sat in on them and Gregg did them.

·7· · · · Q.· ·Do you remember if he did a

·8· · · midyear review for Ms. Barbounis?

·9· · · · A.· ·I think we did, yeah.

10· · · · Q.· ·When you say "we," who do you

11· · · mean?

12· · · · A.· ·Gregg and I.

13· · · · Q.· ·It says that "On October" -- I'm

14· · · looking at your charge again --

15· · · "October 30th, 2018 Ms. O'Brien and

16· · · Ms. Barbounis got into an argument due

17· · · to Ms. O'Brien continuing to document

18· · · Ms. Barbounis's minor mishaps."

19· · · · · · · · ·Is it true to say that

20· · · before October 30th, 2018 you and

21· · · Ms. Barbounis had gotten into arguments

22· · · before that?

23· · · · A.· ·Yes.

24· · · · Q.· ·Was this a particularly bigger


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·1· · · argument than what you normally had?

·2· · · · A.· ·Yes.

·3· · · · Q.· ·And are you aware now -- and I'm

·4· · · not asking if you were aware at the

·5· · · time.· But now sitting here today are

·6· · · you aware of some of the messages that

·7· · · Ms. Barbounis sent about you during her

·8· · · employment at the Forum, various

·9· · · derogatory messages with words that I'm

10· · · not inclined to use on the record but I

11· · · will if you need me to?

12· · · · A.· ·I need you to.

13· · · · Q.· ·Okay.· So there's one where she

14· · · called you a fucking cunt.

15· · · · A.· ·Ohhh, no.

16· · · · Q.· ·One where she called you a

17· · · fucking bitch.

18· · · · A.· ·I think she might have called me

19· · · that to my face a couple of times.

20· · · · Q.· ·Okay.· So is it fair to say that

21· · · prior to October 30th, 2018 you and

22· · · Ms. Barbounis did not have a friendly

23· · · relationship?

24· · · · A.· ·I liked her.· I didn't not like


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·1· · · her.· She was difficult to work with

·2· · · and we would have differences.

·3· · · · · · · · ·So I would say, you know, it

·4· · · would fluctuate.· We would get along

·5· · · well and then when we didn't, we

·6· · · didn't.

·7· · · · Q.· ·Why didn't you when you didn't?

·8· · · · A.· ·Gregg would tell me, like when

·9· · · he was leaving on a trip or something

10· · · he had told me that him and Daniel saw

11· · · me as management and he wanted me to

12· · · act as a supervisory person when he

13· · · wasn't in the office.

14· · · · · · · · ·So when I would try to do

15· · · that it would piss her off and she

16· · · would say you're not my boss.· And I

17· · · was like I'm doing my job; that's what

18· · · I was told to do.

19· · · · · · · · ·And she would just

20· · · repeatedly tell me you're not my boss,

21· · · you're not my boss.

22· · · · · · · · ·So on one hand he's telling

23· · · me to act as a supervisor, you know,

24· · · make sure she's toeing the line and


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·1· · · doing her job.· And not just her.· It

·2· · · happened with other people as well.

·3· · · · · · · · ·And then I found out after

·4· · · the fact when they would complain to

·5· · · him that I told them to do something

·6· · · that he would say don't listen to her,

·7· · · she's not your boss.· Like so he would

·8· · · then was basically pitting me against

·9· · · everyone.

10· · · · Q.· ·When did you find that out?

11· · · · A.· ·After the fact.· After, you

12· · · know, he was out of the office.

13· · · · Q.· ·So after November 1st, 2018?

14· · · · A.· ·Yes.

15· · · · Q.· ·And who did you find that out

16· · · from?

17· · · · A.· ·I think it was Lisa and maybe

18· · · Tricia.

19· · · · Q.· ·So the October 30th, 2018

20· · · argument with Ms. Barbounis, describe

21· · · to me how that happened.

22· · · · A.· ·I was documenting, so I guess I

23· · · was on her a little bit.· And she was

24· · · very stressed out I guess because she,


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·1· · · she was always worried about her job at

·2· · · that point.

·3· · · · · · · · ·So I think she was being

·4· · · loud outside of the office and I told

·5· · · her to be quiet.· And she just lost it

·6· · · and she kind of squared up, walked into

·7· · · my office telling me I was a bitch and

·8· · · I needed to mind my own business and

·9· · · who do you think you are?

10· · · · · · · · ·And I was like I stood up

11· · · out of my desk and I squared right back

12· · · up and I walked her -- we argued.          I

13· · · can't remember what was said at that

14· · · point.· And I backed her right into her

15· · · office and shut the door and I walked

16· · · out.

17· · · · · · · · ·She came back out.         I

18· · · remember feeling like Matt Bennett had

19· · · fueled the fire on that as well and I

20· · · think he told them that I told Gregg

21· · · something.

22· · · · · · · · ·So he was in the bathroom

23· · · when that happened and I finished

24· · · yelling at her and he came in and I


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·1· · · told him that he was an asshole and I

·2· · · left for the day.

·3· · · · Q.· ·Okay.· You said Matt Bennett

·4· · · told them.

·5· · · · · · · · ·Are you talking about your

·6· · · coworkers?

·7· · · · A.· ·Tricia and Lisa.

·8· · · · Q.· ·I ask just because the pronouns

·9· · · make it hard to follow later so I just

10· · · try to get names associated with them

11· · · if we can.

12· · · · · · · · ·So the October 30th incident

13· · · was in your opinion fueled by

14· · · Mr. Bennett.· Is that correct?

15· · · · A.· ·Yeah.· He threw fire on it for

16· · · sure.

17· · · · Q.· ·Then it says -- you said you

18· · · left for the day.· In other words, you

19· · · walked out, right?

20· · · · A.· ·I was pissed.· I left, yeah.

21· · · · Q.· ·Do you have knowledge of whether

22· · · Ms. Barbounis uses drugs?

23· · · · A.· ·I mean she takes Adderall.

24· · · · Q.· ·I mean illegal drugs.


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·1· · · · A.· ·I don't.

·2· · · · Q.· ·Including marijuana?

·3· · · · A.· ·I don't think she smoked

·4· · · marijuana.

·5· · · · Q.· ·The next day, October 31, 2018,

·6· · · you arranged to meet with Ms. Barbounis

·7· · · to address the argument that happened

·8· · · the previous day.· Is that correct?· It

·9· · · was your idea to meet to address the

10· · · argument?

11· · · · A.· ·Yeah.· So I had yelled at Matt

12· · · and I had yelled at Lisa.· And Gregg

13· · · called me and was like, you know, what

14· · · happened or whatever?

15· · · · · · · · ·And he told me to write it

16· · · up and --

17· · · · Q.· ·Excuse me.· When you say "he,"

18· · · do you mean Bennett or Roman?

19· · · · A.· ·Gregg told me to write up the

20· · · situation, what happened before the end

21· · · of the night or whatever, and get it to

22· · · him.

23· · · · · · · · ·He also told me that I

24· · · needed to call Matt and smooth it over


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·1· · · with him because we all had to work

·2· · · together and everything.

·3· · · · · · · · ·So they were going to be

·4· · · at -- they were doing a radio show at

·5· · · the time, so they were going to be at

·6· · · the radio show in the morning.· He

·7· · · wouldn't be --

·8· · · · Q.· ·Who is "they"?

·9· · · · A.· ·"They" are Gregg and Matt.

10· · · · Q.· ·Okay.

11· · · · A.· ·So it would have been me in the

12· · · office, me, Lisa, Tricia, Delaney,

13· · · Caitriona and Thelma.· I'm not sure if

14· · · Thelma was in on either of those days,

15· · · but that's who would have been in the

16· · · office.

17· · · · · · · · ·And so he had told me to

18· · · call Matt and smooth it over or maybe

19· · · he told Matt to tell me.· I think he

20· · · told Matt to call me and smooth it

21· · · over.

22· · · · · · · · ·So during the course of that

23· · · conversation, you know, we were talking

24· · · about it and I think he alluded to me


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·1· · · that something had happened between

·2· · · Gregg and Lisa in Israel and that she

·3· · · didn't report it.· So whatever.          I

·4· · · guess we smoothed it over somewhat.

·5· · · · · · · · ·And then Gregg had asked me

·6· · · about it.· I think he called me the

·7· · · next morning or something.· And I had

·8· · · said yeah, that we smoothed it over and

·9· · · that I was a little bit uncomfortable

10· · · going back to the office after that and

11· · · just with everybody I thought it would

12· · · be uncomfortable for everyone.

13· · · · · · · · ·So I said I'm going to have

14· · · coffee with her and just try to get to

15· · · a place where we're going to be civil

16· · · to each other.· I don't want it to be

17· · · weird when we go into the office or,

18· · · you know, for the day.

19· · · · · · · · ·So I went and I think we met

20· · · at the Starbucks right down the street

21· · · and we grabbed a cup of coffee.· And we

22· · · were so I guess hostile or I guess

23· · · angry that we didn't even speak the

24· · · entire time we were waiting in line for


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·1· · · coffee.· We didn't really talk to each

·2· · · other at all.· We got the coffees and

·3· · · we walked down the street and sat on a

·4· · · bench.· And I was like you know, look,

·5· · · I was doing my job or whatever we were

·6· · · talking about.

·7· · · · · · · · ·And she became completely

·8· · · unhinged, which wasn't like her because

·9· · · she's really more of the angry,

10· · · aggressive alpha person.· And she was

11· · · like unhinged and crying and saying how

12· · · she was worried about her job, they're

13· · · always coming at her that she didn't do

14· · · this and she didn't do that and she

15· · · felt like I was persecuting her and

16· · · harassing her.· And I don't know.          I

17· · · think I might have said Matt said this.

18· · · · · · · · ·And then she told me the

19· · · story of what had happened in Israel,

20· · · that they were on the couch or whatever

21· · · and I think he stuck his foot under her

22· · · butt and then it just escalated to

23· · · where he was angry and yelling about

24· · · wanting a blow job and calling Leah.


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·1· · · · · · · · ·And she had said that she

·2· · · was so scared that she went into the

·3· · · bedroom and locked -- she took a knife

·4· · · from the kitchen and went into --

·5· · · because he's a bigger guy and I guess

·6· · · he was angry and screaming and he

·7· · · usually tries to make you fearful of

·8· · · him anyway.

·9· · · · · · · · ·So she took a knife and she

10· · · said she went into the bedroom, put the

11· · · knife under her pillow and that she was

12· · · texting her husband and Tricia and

13· · · telling them what was happening and

14· · · that she was scared.

15· · · · · · · · ·And she said to me that she

16· · · didn't want to say anything.· She said

17· · · I don't want to tell anybody.

18· · · · · · · · ·And I was like look -- and

19· · · at that point there was a big shift in

20· · · our relationship because now I am like

21· · · the HR person and I know it's my job

22· · · that I can't not say anything because

23· · · then I'm not doing my job and that

24· · · could hurt the Forum.


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·1· · · · · · · · ·So I told her just take a

·2· · · breath.· I was like let's go to work.

·3· · · I was like you do your thing.· I'm

·4· · · going to do my thing and just take the

·5· · · day and think or whatever.

·6· · · · · · · · ·And I think we had talked on

·7· · · the phone that night and I said Daniel

·8· · · Pipes needs to know that this is

·9· · · happening because it's not the first

10· · · time that he's been accused of it.· He

11· · · needs to know that it's happening and

12· · · I'm going to report it to him.

13· · · · Q.· ·Your testimony is that the two

14· · · of you didn't agree to report it to

15· · · Dr. Pipes until that evening of October

16· · · 31st?

17· · · · A.· ·It wasn't really an agreement.

18· · · She had told me she didn't want to

19· · · report it and then that evening I let

20· · · her know that I was going to report it.

21· · · · · · · · ·MS. SHIKUNOV:· Hold on.· Can

22· · · we go off for a minute, please?

23· · · · · · · · ·MS. DIBIANCA:· Yes.

24· · · · · · · · ·THE VIDEOGRAPHER:· Going off


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·1· · · the record at 11:43.

·2· · · · · · · · ·(A brief recess was taken.)

·3· · · · · · · · ·THE VIDEOGRAPHER:· We are

·4· · · back on the record at 11:50 Eastern

·5· · · Time.

·6· · · · · · · · ·MS. DIBIANCA:· We're back

·7· · · after that brief break.· Sorry about

·8· · · that.

·9· · · · · · · · ·All right.· So I'm trying to

10· · · think.

11· · · · · · · · ·Actually, Kurt, could you

12· · · just remind us where we left off, just

13· · · a couple of sentences or two?

14· · · · · · · · ·THE COURT REPORTER:

15· · · Certainly.

16· · · · · · · · ·(The reporter read back the

17· · · last question and answer).

18· · · · · · · · ·MS. DIBIANCA:· Terrific.

19· · · Thanks so much.

20· · · BY MS. DIBIANCA:

21· · · · Q.· ·So on the bench outside of

22· · · Starbucks when you and Ms. Barbounis

23· · · had this conversation and she became,

24· · · in your words, unhinged, did you tell


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·1· · · her at that time that as HR you had an

·2· · · obligation to report anything that was

·3· · · or could be inappropriate?

·4· · · · A.· ·I believe so.· I don't remember.

·5· · · But she was just so upset and scared

·6· · · that I just wanted her to calm down and

·7· · · I honestly was shocked.· I mean I'm not

·8· · · a certified HR person and they knew

·9· · · that.· So this was something that I had

10· · · never dealt with and I wanted to make

11· · · sure that I handled it the way I was

12· · · supposed to, but I just wanted her to

13· · · calm down too.· And I think I just

14· · · needed a minute to take it all in and

15· · · figure out what I was supposed to do.

16· · · · Q.· ·And when did you decide what you

17· · · were supposed to do?

18· · · · A.· ·And what?

19· · · · Q.· ·When did you decide what you

20· · · were supposed to do?

21· · · · A.· ·I went home and I just -- it was

22· · · Halloween so like my kids were out and

23· · · everything.· I think it was Halloween.

24· · · It was right around there.· And I --


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·1· · · oh, yeah.· Okay.· So that was

·2· · · Halloween.

·3· · · · · · · · ·And I was busy that night or

·4· · · whatever, so I just was like putting it

·5· · · aside and then, you know, I was

·6· · · thinking on it and thinking about

·7· · · everything.· And I said that, you know,

·8· · · it needs to be reported so that's what

·9· · · I did.

10· · · · Q.· ·Didn't you tell Ms. O'Brien --

11· · · I'm so sorry.

12· · · · · · · · ·Didn't you tell

13· · · Ms. Barbounis after you left the park

14· · · bench that the other people in the

15· · · office were going to ask you what you

16· · · talked about and you needed to come up

17· · · with an agreed-upon story?

18· · · · A.· ·I didn't -- I think everyone in

19· · · the office knew that this happened.           I

20· · · did not want Gregg to get wind of what

21· · · was happening.· His sister worked in

22· · · the office as well and he would send

23· · · her around to see who was at their

24· · · desks and just I always felt like she


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·1· · · was kind of creeping on everybody to

·2· · · give him information.

·3· · · · · · · · ·There was a situation with

·4· · · two women who were unhappy with him and

·5· · · they never reported anything to me.

·6· · · They took it upon themselves to meet

·7· · · and they were like, it was like they

·8· · · were conspiring against Gregg.· And

·9· · · that's what he said that they were

10· · · doing.

11· · · · · · · · ·And then they were like, it

12· · · did come out that they were taking

13· · · stuff.· I didn't want her and I to come

14· · · off like we were conspiring.· I didn't

15· · · want there to be gossip.· I didn't know

16· · · that everybody had already known this

17· · · and the only one that pretty much

18· · · didn't know it was me.

19· · · · · · · · ·So I just wanted to keep

20· · · separate while I figured out what to do

21· · · because I was scared.

22· · · · Q.· ·And the two women were named

23· · · Lara and Laura, correct?

24· · · · A.· ·Yes.


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·1· · · · Q.· ·So do you recall sending a

·2· · · message to Ms. Barbounis shortly after

·3· · · your meeting on the park bench telling

·4· · · her they're going to ask what we talked

·5· · · about?

·6· · · · A.· ·I don't, but I think I probably

·7· · · did.· I was very nervous.· I didn't

·8· · · want, again I didn't want to seem like

·9· · · Lara and Laura, like all of a sudden

10· · · like we were making stuff up about

11· · · Gregg.· Like it was a real, real

12· · · problem.

13· · · · · · · · ·And I was nervous and didn't

14· · · want -- it's a small office and you say

15· · · oh, don't tell anyone and then everyone

16· · · in the office knows.

17· · · · Q.· ·Did you tell her that -- didn't

18· · · you tell Ms. Barbounis right after your

19· · · meeting on the park bench that the two

20· · · of you should if asked should say that

21· · · you discussed your similar

22· · · personalities and how you needed to

23· · · respect each other's space?

24· · · · A.· ·And we did actually.


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·1· · · · Q.· ·No, that's not my question.

·2· · · · · · · · ·My question is limited to

·3· · · did you tell her that?

·4· · · · A.· ·Yes.· Maybe.· I don't have the

·5· · · text in front of me so I can't see it.

·6· · · · Q.· ·Well, do you recall telling,

·7· · · coming up with a story of what you

·8· · · thought Ms. Barbounis and you should

·9· · · tell others at the office about what

10· · · you discussed?

11· · · · A.· ·I remember encouraging her to

12· · · keep this -- my intention was to keep

13· · · it quiet until we could figure out how

14· · · we were handling it.· Again, because

15· · · she said she didn't want -- she was

16· · · saying at that point that she did not

17· · · want to report it.

18· · · · · · · · ·And I felt like it needed to

19· · · be reported, but at the same time I

20· · · didn't want to report it because it

21· · · was -- I was afraid.· So --

22· · · · Q.· ·It was your job to report it

23· · · though, correct?· You are HR?

24· · · · A.· ·I did.


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·1· · · · Q.· ·Okay.· Also that day you told

·2· · · Ms. Barbounis that the two of you

·3· · · needed to steer clear of each other

·4· · · around everyone else, correct?

·5· · · · A.· ·She kept like talking to me,

·6· · · like she was, she was -- I didn't want

·7· · · to seem like we were buddy buddy at

·8· · · that point.· I felt like I needed space

·9· · · from her because of this as well.

10· · · · Q.· ·I don't follow that at all.

11· · · Could you explain that?

12· · · · A.· ·Well, I'm HR and she reported it

13· · · to me.· I didn't want it to seem like

14· · · all of a sudden I was like buddy buddy

15· · · with her and there was a conspiracy, is

16· · · what I was afraid of, oddly enough,

17· · · because that's what happened with Lara

18· · · and Laura and I did not want to repeat

19· · · that.

20· · · · · · · · ·I wanted to figure out how I

21· · · wanted to handle it and I wanted to do

22· · · it and I didn't want office gossip.           I

23· · · didn't want Stacey reporting back to

24· · · them they're talking, they're talking,


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·1· · · dah-dah-dah.

·2· · · · · · · · ·I just was trying to --

·3· · · · Q.· ·Hide it?

·4· · · · A.· ·No, not hide it.· That's not

·5· · · what I said.

·6· · · · Q.· ·You said to her that --

·7· · · · A.· ·What I said was I didn't want

·8· · · everybody in the office to know and I

·9· · · didn't want everybody in the office to

10· · · wonder why all of a sudden we had a big

11· · · secret.

12· · · · · · · · ·I was trying to maintain

13· · · professionalism.

14· · · · Q.· ·You said, quote, they need to

15· · · think we are at odds though; they are

16· · · trying to pit us against each other,

17· · · probably to get rid of us both.

18· · · · A.· ·Yes.

19· · · · Q.· ·Does that sounds like a

20· · · conspiracy?

21· · · · A.· ·It sounds like I was nervous

22· · · about my job because I had knowledge

23· · · now that now I know why he would want

24· · · to get rid of me.


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·1· · · · Q.· ·And that you were attempting to

·2· · · have Ms. Barbounis go along with you to

·3· · · hide your knowledge from the Forum,

·4· · · correct?

·5· · · · · · · · ·MS. SHIKUNOV:· I'm going to

·6· · · object to form.

·7· · · · · · · · ·This is a, first of all,

·8· · · mischaracterization of text messages

·9· · · that you're not presenting to the

10· · · witness.· You're asking --

11· · · · · · · · ·MS. DIBIANCA:· I'll present

12· · · them.· Let me just put them up.

13· · · · · · · · ·MS. SHIKUNOV:· Let me finish

14· · · my objection.· If you want to put them

15· · · up, you can put them up.

16· · · · · · · · ·But also it's mis-

17· · · characterizing what she just said to

18· · · the point that you said you were hiding

19· · · it and she specifically said no and now

20· · · you're saying that she said that again.

21· · · · · · · · ·That's my objection on the

22· · · record.

23· · · · · · · · ·THE COURT REPORTER:· I'm

24· · · sorry.· I couldn't pick up all the


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·1· · · words you said.

·2· · · · · · · · ·MS. SHIKUNOV:· I was

·3· · · clarifying I was done speaking for

·4· · · Molly's sake so that we didn't speak

·5· · · over one another because it's clunky.

·6· · · · · · · · ·MS. DIBIANCA:· What was the

·7· · · last word, Erica?

·8· · · · · · · · ·MS. SHIKUNOV:· I said

·9· · · clunky, awkward.

10· · · · · · · · ·(A discussion was held off

11· · · the record)

12· · · · · · · · ·MS. DIBIANCA:· Let's just go

13· · · back and we'll clarify so that your

14· · · counsel's objection -- let me try to

15· · · make that right.

16· · · BY MS. DIBIANCA:

17· · · · Q.· ·So after the park bench, I'm

18· · · still talking October 31st, 2018,

19· · · following your conversation with

20· · · Ms. Barbounis that day, did you want

21· · · Ms. Barbounis to hide what you two had

22· · · discussed from the others at MEF?

23· · · · A.· ·Keep it private?

24· · · · Q.· ·Sure.


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·1· · · · A.· ·Yes.

·2· · · · Q.· ·And you wanted her to steer

·3· · · clear of you in the office, correct?

·4· · · · A.· ·I did.

·5· · · · Q.· ·And was that because you did not

·6· · · want people to suspect that the two of

·7· · · you had knowledge of something that the

·8· · · others did not have knowledge of?

·9· · · · A.· ·Well, they all did have

10· · · knowledge of it actually.

11· · · · Q.· ·At the time you did not know

12· · · that, correct?

13· · · · A.· ·Yes.

14· · · · Q.· ·Okay.· So I'm talking about at

15· · · that time on October 31st, 2018 you

16· · · wanted her to steer clear of you in the

17· · · office because you did not want her by

18· · · being around you to raise suspicions

19· · · with the others at MEF.· Is that

20· · · correct?

21· · · · A.· ·I didn't want the entire office

22· · · to know that there was a potential,

23· · · more specifically Gregg's sister, to

24· · · know that there was the potential of


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·1· · · this claim being filed before I filed

·2· · · it.

·3· · · · Q.· ·Okay.· And did you think that

·4· · · they were trying to pit you and

·5· · · Ms. Barbounis against one another?

·6· · · · A.· ·Who's "they"?

·7· · · · Q.· ·Did you think anyone at MEF was

·8· · · trying to pit the two of you against

·9· · · each other?

10· · · · A.· ·Yes.

11· · · · Q.· ·Who?

12· · · · A.· ·Gregg Roman.

13· · · · Q.· ·And who else?

14· · · · A.· ·Possibly Matt Bennett, but

15· · · that's it.

16· · · · Q.· ·Did you think they were trying

17· · · to get rid of you both, meaning you and

18· · · Ms. Barbounis?

19· · · · A.· ·I after the quarterly meeting

20· · · where I had --

21· · · · Q.· ·I have to interrupt.· I'm still

22· · · talking about just October 31st on

23· · · 2018.· On that date did you think that

24· · · they were probably trying to get rid of


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·1· · · both you and Ms. Barbounis?

·2· · · · A.· ·I was going to explain that I

·3· · · was fearful for that myself and now I

·4· · · realized why they were trying to get

·5· · · rid of her because after the quarterly

·6· · · meeting and I guess me not agreeing to

·7· · · go to Israel with him he became less of

·8· · · like -- I was not his right hand

·9· · · anymore.· It was all of a sudden it

10· · · shifted and Matt Bennett was like Matt

11· · · and him were having conversations and

12· · · it was like there was stuff going on

13· · · that I didn't know.· Like I was out of

14· · · the loop.· I noticed that all of a

15· · · sudden I was out of the loop.

16· · · · · · · · ·And then I realized -- first

17· · · off, I thought all of what he was doing

18· · · was because he had a crush on me.          I

19· · · didn't realize that he was doing it to

20· · · everybody in the office.

21· · · · · · · · ·So yes, I was fearful at

22· · · that point realizing he's gearing up to

23· · · get rid of her and I'm probably next,

24· · · so I was nervous.


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·1· · · · Q.· ·Do you remember the Pittsburgh

·2· · · synagogue shooting?

·3· · · · A.· ·Yeah.

·4· · · · Q.· ·Do you remember that that was

·5· · · just a few days before your meeting

·6· · · with Ms. Barbounis?

·7· · · · A.· ·I don't remember the date of

·8· · · that happening, but I do remember it.

·9· · · · Q.· ·Do you remember how Mr. Roman

10· · · reacted to that event?

11· · · · A.· ·I do.· He was yelling that

12· · · nobody cared how he felt about it and

13· · · he was emotionally distraught.· And

14· · · then he wrote an article and prior to

15· · · that every time he wrote an article he

16· · · would write, he would sign it, you

17· · · know, Gregg Roman, director of MEF and

18· · · that article was signed Gregg Roman,

19· · · former director of blah, blah, blah

20· · · Pittsburgh.

21· · · · Q.· ·You're saying it with a very

22· · · cavalier tone in your voice.

23· · · · · · · · ·Are you making light of the

24· · · tragedy that occurred in Pittsburgh?


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·1· · · · A.· ·Of the tragedy?· No, I'm not

·2· · · making light of a tragedy.

·3· · · · · · · · ·What I'm saying is his

·4· · · response was that he was trying to get

·5· · · attention for himself from it.

·6· · · · Q.· ·Oh, so you're disputing his

·7· · · grieving of that?

·8· · · · · · · · ·MS. SHIKUNOV:· I'm going to

·9· · · object to that as argumentative.

10· · · · · · · · ·But you can answer.

11· · · · · · · · ·MS. DIBIANCA:· That's fine.

12· · · · A.· ·I don't remember him grieving.

13· · · · Q.· ·And you knew at the time,

14· · · October 31st, 2018, that just a few

15· · · days before Ms. Barbounis had engaged

16· · · in an extramarital affair, correct?

17· · · · A.· ·I don't -- I knew that she

18· · · engaged in extramarital affairs.          I

19· · · think she had told her husband that she

20· · · didn't want to be married anymore.· So

21· · · my understanding of that was more that

22· · · they were taking a break from their

23· · · marriage as opposed to that being an

24· · · extramarital affair, but I don't


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·1· · · remember who it was with or anything.

·2· · · · Q.· ·If I said it was with Danny

·3· · · Tommo, would that help you recall?

·4· · · · A.· ·Okay.

·5· · · · Q.· ·Yes?

·6· · · · A.· ·Yeah.

·7· · · · A.· ·I do know that she had a

·8· · · relationship with him.

·9· · · · Q.· ·You testified earlier that Matt

10· · · Bennett, quote, alluded, quote, to

11· · · something happening in Israel.

12· · · · · · · · ·What do you mean he alluded

13· · · to it?

14· · · · A.· ·That Gregg was inappropriate.

15· · · · Q.· ·And when did he make such an

16· · · allusion?

17· · · · A.· ·When I spoke to him the night

18· · · before I had coffee with her.· That was

19· · · the first time I had ever heard of it

20· · · since I kind of got that inkling

21· · · before.

22· · · · Q.· ·And the inkling you got was

23· · · because of what?

24· · · · A.· ·When they got back from the trip


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·1· · · they were awkward around each other and

·2· · · he had made that comment and she had

·3· · · made the comment about the shit he

·4· · · pulled in Israel.

·5· · · · Q.· ·The shitty what in Israel?

·6· · · · A.· ·The shit he pulled in Israel.

·7· · · · Q.· ·Okay.· Sorry.· I thought you

·8· · · used a noun.

·9· · · · · · · · ·And as HR director you

10· · · didn't follow up with Mr. Bennett about

11· · · that, what you felt he was alluding to?

12· · · · A.· ·No.· Because I talked with her

13· · · about it the next day.

14· · · · Q.· ·But I'm talking about during

15· · · your call with Mr. Bennett on the

16· · · evening of October 30th you just let it

17· · · go?

18· · · · A.· ·I mean he said don't say

19· · · anything, don't say anything, don't say

20· · · anything.

21· · · · · · · · ·I didn't let it go.· I met

22· · · with her the next morning and discussed

23· · · it.

24· · · · Q.· ·Well, when you say alluded to,


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·1· · · what do you mean by alluded?

·2· · · · A.· ·He said that he was hit on her

·3· · · in Israel or something happened in

·4· · · Israel.· I think that's what he said.

·5· · · Something happened in Israel between

·6· · · the two of them is what he said,

·7· · · something along those lines.

·8· · · · Q.· ·And you didn't follow up with

·9· · · him during that call to say what do you

10· · · mean, Matt?

11· · · · A.· ·Yeah.

12· · · · · · · · ·MS. SHIKUNOV:· I object to

13· · · form.· That's asked and answered.

14· · · · A.· ·I did.

15· · · · · · · · ·MS. SHIKUNOV:· She just said

16· · · three times now that she met with Lisa

17· · · Barbounis and discussed it with her the

18· · · next morning.

19· · · · Q.· ·My question was:· You didn't

20· · · follow up with Mr. Bennett during the

21· · · call with Mr. Bennett?

22· · · · A.· ·I did.· I'm sure I was asking

23· · · him questions and he just was saying I

24· · · don't know, I don't know, like ask Lisa


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·1· · · or whatever.

·2· · · · Q.· ·But you don't have a specific

·3· · · recollection of that or you do?

·4· · · · A.· ·I do.· I mean I wouldn't have

·5· · · him tell me something like that and

·6· · · then not even ask one question about

·7· · · it.

·8· · · · Q.· ·Okay.· Let's return to your

·9· · · charge, please.· We'll go to the third

10· · · page of it.· This is Exhibit 1.

11· · · · · · · · ·"As a result of

12· · · Ms. O'Brien's letter," I don't know

13· · · that we talked about that so let's go

14· · · back to page 2.· The last sentence on

15· · · page 2 says "She notified Dr. Pipes."

16· · · I'm sorry.· Let me go backwards.          I

17· · · apologize.

18· · · · · · · · ·"Upon hearing this

19· · · information on November 1st, 2018,

20· · · Ms. O'Brien wrote a letter to Daniel

21· · · Pipes, respondent's president, to

22· · · address how Mr. Roman came onto her

23· · · when they went to dinner, how Mr. Roman

24· · · tried sleeping with Ms. Barbounis and


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·1· · · how Mr. Roman slept with Ms. Merville,

·2· · · a young, female intern, when she went

·3· · · to Israel."

·4· · · · · · · · ·So let's take that piece by

·5· · · piece.· Is it correct to say that on

·6· · · November 1st, 2018 you wrote a letter

·7· · · to Dr. Pipes?

·8· · · · A.· ·Yes.

·9· · · · Q.· ·You gave it to him on November

10· · · 1st or you wrote it on November 1st?

11· · · · A.· ·I wrote it that morning.· Let me

12· · · look.· Let me think.

13· · · · · · · · ·Yeah.· Because I slept on it

14· · · and I went in the office and I wrote

15· · · it.· I wanted to report it, but Gregg

16· · · had access to my computer.· There were

17· · · many times where my mouse would just

18· · · jump across or there were times where I

19· · · felt like he was on while I was on.

20· · · · · · · · ·There were other times where

21· · · I know that he went into my computer

22· · · when I wasn't there and had been

23· · · through my social media that I left

24· · · opened on there so --


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·1· · · · Q.· ·How do you know that?

·2· · · · A.· ·Well, one day he asked me to get

·3· · · office chairs because we had really bad

·4· · · office chairs.· So he sent me this ad

·5· · · and said there were all these like --

·6· · · he saw it on Facebook, he got it on his

·7· · · Facebook.· All these office chairs that

·8· · · were needed came up on his Facebook

·9· · · Marketplace.

10· · · · · · · · ·Facebook Marketplace puts

11· · · stuff in your area and the ad that he

12· · · had was like near me.· Like he

13· · · shouldn't have been getting ads from my

14· · · area.

15· · · · · · · · ·He made it known that he was

16· · · able to get information, that he was

17· · · able to hack into people's computers

18· · · and phones.· There was a widespread

19· · · sense of paranoia about social or your

20· · · personal information and the fact that

21· · · he bragged about being able to get to

22· · · it if he wanted to.

23· · · · · · · · ·He also would go through I

24· · · think my -- he had the ability and the


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·1· · · right to go through my work e-mail.

·2· · · And he would do that and he would give

·3· · · me a hard time more than once if I was

·4· · · having any kind of correspondence with

·5· · · Daniel without his knowing about it.

·6· · · He did not want me corresponding with

·7· · · Daniel at all unless he knew about it.

·8· · · And he was always going, you know, into

·9· · · my -- I felt like he was always going

10· · · into my e-mail and stuff.

11· · · · · · · · ·So I was afraid to put it on

12· · · my computer because I didn't want him

13· · · to see it.· I didn't want him to know.

14· · · I was like really scared.· Again, I'm

15· · · HR, but this is like way above what I

16· · · had ever dealt with so I was really

17· · · trying to be mindful to handle it

18· · · properly.

19· · · · · · · · ·So I ended up writing the

20· · · note, writing everything down, and I

21· · · was trying to give him a really clear

22· · · picture of all the shenanigans that

23· · · were going on there because he was so

24· · · far removed from it he just didn't seem


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·1· · · to care about it.

·2· · · · · · · · ·So I wrote it down by hand

·3· · · and then I took pictures of it and I

·4· · · sent it to him and Marc I think through

·5· · · telegram, but then they weren't able to

·6· · · read it.· So then my next thing was I

·7· · · did it in my phone, I took the pictures

·8· · · and I sent them from my personal gmail

·9· · · to Marc's and Daniel's personal gmail.

10· · · · Q.· ·You don't have any actual

11· · · knowledge of Mr. Roman accessing your

12· · · computer without your knowledge,

13· · · correct?

14· · · · A.· ·No.· He -- no.

15· · · · Q.· ·Those are your suspicions,

16· · · correct?

17· · · · A.· ·Yes.

18· · · · Q.· ·When you say you sent it, you

19· · · sent the pictures of the handwritten

20· · · complaint to him, you mean Dr. Pipes,

21· · · correct?

22· · · · A.· ·Dr. Pipes and Marc Fink.

23· · · · Q.· ·Okay.· You said the word "he" so

24· · · I just want to make sure we get a clear


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·1· · · record.

·2· · · · · · · · ·Have you reviewed that

·3· · · handwritten complaint in preparation

·4· · · for today?

·5· · · · A.· ·No.

·6· · · · Q.· ·What did you review in

·7· · · preparation for today?

·8· · · · A.· ·I don't know.· Just trying to

·9· · · remember --

10· · · · · · · · ·MS. SHIKUNOV:· She's asking

11· · · you specifically documents you

12· · · reviewed.· Don't tell her about

13· · · conversations that we had.

14· · · · A.· ·Oh, documents?· I guess we

15· · · looked at the charges.· I don't know

16· · · that we looked at any specific

17· · · documents.

18· · · · Q.· ·All right.· So you handwrote

19· · · your complaint.· Did you put everything

20· · · in that handwritten complaint that you

21· · · were aware of?

22· · · · · · · · ·Was it a complete recitation

23· · · of the issues?

24· · · · A.· ·No.


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·1· · · · Q.· ·Why not?

·2· · · · A.· ·What I put took six pages.          I

·3· · · didn't, I didn't put down every

·4· · · occurrence of every little thing that

·5· · · happened.· I tried to give him a good

·6· · · overview of what was happening.

·7· · · · Q.· ·"Him" meaning Dr. Pipes?

·8· · · · A.· ·Dr. Pipes, yes.

·9· · · · Q.· ·And you gave it to Dr. Pipes and

10· · · Mr. Fink on November 1st, 2018.· And

11· · · then what was the next -- let me ask

12· · · you this:· Did Lisa review the document

13· · · before you sent it to them?

14· · · · A.· ·I did let her read it.· She was

15· · · terrified and I think Gregg was

16· · · painting a picture of her.· He actually

17· · · said to me one day what do you think of

18· · · her?· Stacey think she's crazy.· Do you

19· · · think she's crazy?

20· · · · · · · · ·So that was kind of the

21· · · narrative I think that he was trying to

22· · · run or create.· And I think she was

23· · · afraid that -- you know, she didn't

24· · · really trust me.· She didn't trust me


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·1· · · 100 percent.· She was afraid I think

·2· · · maybe that I would, you know, turn the

·3· · · tables and present it a different way

·4· · · and that she was going to get fired.

·5· · · She didn't trust me at all.

·6· · · · · · · · ·So I did let her read it.           I

·7· · · didn't change a thing on it.· I didn't

·8· · · add anything to it.· It went as I wrote

·9· · · it.

10· · · · Q.· ·Do you know that Ms. Barbounis

11· · · recorded a telephone call without your

12· · · knowledge?

13· · · · A.· ·I do know that now, yeah.

14· · · · Q.· ·Do you think Ms. Barbounis is

15· · · crazy?

16· · · · A.· ·No.

17· · · · Q.· ·Do you think she's stable?

18· · · · A.· ·I'm not -- she seems fine.· She

19· · · seems high-strung.

20· · · · Q.· ·Is it fair to say that you

21· · · coached Ms. Barbounis with regard to

22· · · what she should or should not say to

23· · · Dr. Pipes after --

24· · · · A.· ·There's no --


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·1· · · · Q.· ·I've got to finish my question.

·2· · · All right?

·3· · · · · · · · ·Is it fair to say that you

·4· · · coached Ms. Barbounis on what she

·5· · · should or should not say to Dr. Pipes

·6· · · after the complaint was submitted on

·7· · · November 1st, 2018?

·8· · · · A.· ·I don't know.· I may have made

·9· · · recommendations to her because she

10· · · flies off the handle, but I doubt she

11· · · listened to them.

12· · · · Q.· ·Okay.· What happened after you

13· · · submitted the complaint to Dr. Pipes?

14· · · · A.· ·I think he came in later that

15· · · day and he went around and interviewed

16· · · everybody separately and asked them,

17· · · you know, what happened, their

18· · · experiences I guess with Gregg, if they

19· · · knew anything, if they experienced

20· · · anything and then he left.

21· · · · · · · · ·Originally I think he said

22· · · that he was going to tell them not to

23· · · do that anymore and then he must have

24· · · like researched or maybe he talked to


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·1· · · somebody and he started to take it more

·2· · · seriously at that point.

·3· · · · Q.· ·So is it correct to say that

·4· · · Dr. Pipes interviewed each of the

·5· · · employees in the Forum, that worked in

·6· · · the office after he received the

·7· · · complaint?

·8· · · · A.· ·Yes.

·9· · · · Q.· ·Did that include you?

10· · · · A.· ·I believe, but I mean we had

11· · · spoken.· I don't know if he maybe

12· · · called -- yeah, it did.

13· · · · Q.· ·Did you tell him that there were

14· · · other things of concern to you outside

15· · · of the five pages or six pages that you

16· · · submitted?

17· · · · A.· ·I don't recall.· I think we were

18· · · probably focusing on what was written

19· · · there at that point.

20· · · · Q.· ·At that time did you tell Matt

21· · · Ebert what was going on?

22· · · · A.· ·No.

23· · · · Q.· ·When did you first tell

24· · · Mr. Ebert about the situation at work?


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·1· · · · A.· ·I don't know exactly.· I mean I

·2· · · think at one point I was talking with a

·3· · · friend on the phone and he maybe asked

·4· · · me a question and then I, you know, may

·5· · · have answered it.· And he overheard I

·6· · · guess some of what I was saying and

·7· · · maybe kind of got the gist that there

·8· · · was something going on and I just said

·9· · · I have an issue at work or whatever.

10· · · · · · · · ·But I was -- you know, I had

11· · · just been dating him, I guess.· Do you

12· · · know what I mean?· So I didn't say too

13· · · much to him early on and I certainly

14· · · didn't confide in him for help with it

15· · · or anything.

16· · · · Q.· ·You had been dating him for six

17· · · months at that point, right?

18· · · · A.· ·Yeah.

19· · · · Q.· ·According to the complaint.· So

20· · · did a time come that you eventually did

21· · · tell Mr. Ebert about the issues you

22· · · were having at work?

23· · · · A.· ·Wait.· I didn't start dating him

24· · · until 2019.


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·1· · · · Q.· ·Okay.

·2· · · · A.· ·I wasn't dating him at the time

·3· · · that this was all happening.

·4· · · · Q.· ·Okay.· And so Daniel Pipes spoke

·5· · · with the individuals in the office and

·6· · · then what happened?

·7· · · · A.· ·I said that he said that he was

·8· · · going to tell Gregg not to do that

·9· · · anymore.· And then he must have had,

10· · · you know, conferred with somebody and

11· · · decided to take it more seriously and

12· · · then he called a meeting.

13· · · · Q.· ·What was he going to tell Gregg

14· · · not to do anymore?

15· · · · A.· ·I guess be sexually harassing

16· · · people.

17· · · · Q.· ·You're going to have to explain

18· · · that to me.

19· · · · A.· ·That is what he said.· I think

20· · · he actually said it to Lisa.· So I gave

21· · · him the complaint written with all of

22· · · that stuff in it and he went around and

23· · · interviewed everybody and he said he

24· · · was going to tell Gregg to act right.


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·1· · · I don't know.· He said he was going to

·2· · · have a talk with him.

·3· · · · Q.· ·And he told Lisa that, correct?

·4· · · · A.· ·I believe, yeah.

·5· · · · Q.· ·And then you said he called a

·6· · · meeting.

·7· · · · A.· ·Yes.

·8· · · · Q.· ·So Dr. Pipes called a meeting.

·9· · · When was the meeting held, who was

10· · · there and what happened?

11· · · · A.· ·The meeting was on --

12· · · · Q.· ·I'm sorry to interrupt.· But

13· · · what document are you looking at right

14· · · now?

15· · · · A.· ·The charges.

16· · · · Q.· ·Okay.

17· · · · A.· ·Because I wanted to be sure of

18· · · the dates because I don't know them off

19· · · the top of my head.

20· · · · Q.· ·That's fine.· Feel free to refer

21· · · to it at any time.

22· · · · A.· ·November 5th he called a staff

23· · · meeting and it was just the office

24· · · people and Marc.· So Marc was invited,


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·1· · · Matt, me, Lisa, Tricia, Caitriona,

·2· · · Delaney, Stacey, Gregg's sister, and

·3· · · Thelma.

·4· · · · Q.· ·And Stacey Roman was an employee

·5· · · of the Forum at that time, correct?

·6· · · · A.· ·Yes.

·7· · · · Q.· ·So Mr. Roman did not attend,

·8· · · correct?

·9· · · · A.· ·No.· He was supposed to and then

10· · · Daniel told him he didn't want him

11· · · there.

12· · · · Q.· ·What do you mean he was supposed

13· · · to?

14· · · · A.· ·Originally I was told that he

15· · · was inviting Gregg to attend and then I

16· · · was told later that he didn't want him

17· · · to attend.

18· · · · Q.· ·Dr. Pipes told you that or that

19· · · was in an e-mail?

20· · · · A.· ·I don't know.· Maybe it was in

21· · · an e-mail, but I learned that he

22· · · wouldn't be attending.

23· · · · Q.· ·As an HR professional do you

24· · · think it was appropriate for Mr. Roman


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·1· · · to not be present at that meeting?

·2· · · · A.· ·At that point -- so, again, I

·3· · · said that I wasn't certified in HR and

·4· · · this was all above my head.· And at

·5· · · that point Marc was the one, you know,

·6· · · he has had experience in this.· And so

·7· · · I was no longer -- he was the one

·8· · · handling it at that point.

·9· · · · Q.· ·Okay.· But my question is at the

10· · · time was it your opinion that Mr. Roman

11· · · should have attended?

12· · · · A.· ·I thought it was weird that he

13· · · wasn't but, again, Marc and Daniel took

14· · · it out of my hands.· I wasn't consulted

15· · · about who should attend or what I

16· · · thought.· I was told to be there.

17· · · · Q.· ·Were you upset that you weren't

18· · · consulted?

19· · · · A.· ·I just thought that because I

20· · · had shared my experiences that they

21· · · probably were taking me away from it,

22· · · but no, I wasn't upset.· I wanted Marc

23· · · to be involved.· That's why I cc'd him.

24· · · · Q.· ·And you wanted him to be


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·1· · · involved because you thought it would

·2· · · be handled with seriousness, correct?

·3· · · · A.· ·Correct.

·4· · · · Q.· ·You say you're not certified in

·5· · · HR.· Does that mean that you're not

·6· · · competent in HR?

·7· · · · A.· ·I'm not competent?· No.· It

·8· · · means that I don't have certifications.

·9· · · I have experience, but I don't have a

10· · · certification in it.

11· · · · Q.· ·But you're qualified as an HR

12· · · person, in other words?

13· · · · A.· ·They seemed to think so.· They

14· · · hired me.

15· · · · Q.· ·You represented to them that you

16· · · were, didn't you?

17· · · · A.· ·I think I did a lot there to

18· · · create the foundation of an HR

19· · · department that they did not have prior

20· · · to that so --

21· · · · Q.· ·Didn't your cover letter

22· · · specifically say that you had

23· · · significant HR experience?

24· · · · A.· ·I did.· And I do.


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·1· · · · Q.· ·At the time you were hired you

·2· · · represented to the Forum that you were

·3· · · a qualified HR professional, correct?

·4· · · · A.· ·When we had our discussions they

·5· · · knew that I did not have

·6· · · certifications.· I --

·7· · · · Q.· ·Certification is not what I'm

·8· · · asking.

·9· · · · · · · · ·I'm asking whether you were

10· · · qualified, whether you had enough

11· · · experience and background as an HR

12· · · professional to perform the duties of

13· · · an HR professional.

14· · · · · · · · ·Did you or did you not tell

15· · · them that?

16· · · · · · · · ·MS. SHIKUNOV:· I would just

17· · · ask that the witness be permitted to

18· · · complete her answer in full before the

19· · · next question comes.

20· · · · · · · · ·But with that, Marnie, you

21· · · can answer the question.

22· · · · A.· ·I told them that I had

23· · · experience in HR, that I helped create

24· · · an HR department foundation where I had


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·1· · · worked before, that I did onboarding

·2· · · and offboarding.· I did do sexual

·3· · · harassment trainings and I did like

·4· · · performance reports and initiated and

·5· · · implemented those practices.

·6· · · · · · · · ·And they said that that is

·7· · · what they wanted as well.

·8· · · · Q.· ·Did you ever tell MEF that you

·9· · · were not qualified to handle HR duties?

10· · · · A.· ·I believe I may have said that

11· · · this was out of my wheelhouse and then

12· · · I presented it to them.

13· · · · Q.· ·Were you competent to handle HR

14· · · duties?

15· · · · A.· ·I felt like I handled it exactly

16· · · like I was supposed to.

17· · · · · · · · ·MS. SHIKUNOV:· Molly, it

18· · · doesn't have to be right this minute

19· · · but at some point can we take like a

20· · · longer break for lunch?

21· · · · · · · · ·MS. DIBIANCA:· Yes.· We

22· · · definitely can.· Let me get through the

23· · · meeting, the meeting we're about to

24· · · talk about, and then we can break, if


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·1· · · that works.

·2· · · · · · · · ·MS. SHIKUNOV:· Okay.

·3· · · BY MS. DIBIANCA:

·4· · · · Q.· ·So, Ms. O'Brien, at the meeting

·5· · · you've described this would have been

·6· · · November -- I'm sorry.· Was it the 1st

·7· · · or the 5th?

·8· · · · A.· ·I think it was the 5th.

·9· · · · Q.· ·Okay.· You already identified

10· · · who was present for the meeting.· Who

11· · · led the meeting, who spoke?

12· · · · A.· ·Daniel.

13· · · · Q.· ·And what did he say?

14· · · · A.· ·Gosh, I don't remember any exact

15· · · words or anything like that, but he

16· · · felt that I guess upon speaking with

17· · · everyone and what was presented to him

18· · · that he felt that Gregg behaved poorly

19· · · and that he was going to remove him

20· · · from the office and that he would, you

21· · · know, not -- I can't remember if it was

22· · · then that he laid down like what he was

23· · · going to do or if it was in an e-mail.

24· · · · · · · · ·And I kind of think he may


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·1· · · have just like wanted to know

·2· · · everybody's story.· We were all talking

·3· · · about it, I guess, what happened, and

·4· · · everybody really didn't say too much.

·5· · · Matt Bennett, who had been very verbal

·6· · · prior to that about an anti-Gregg and

·7· · · not feeling that he was a good

·8· · · executive director, he was very verbal

·9· · · about that.· He was very verbal about

10· · · the way that he felt he treated people

11· · · poorly and the stories that he had told

12· · · that he said he knew he didn't say

13· · · anything in front of Stacey.· And I

14· · · think everybody was kind of hesitant to

15· · · say anything in front of Stacey because

16· · · it was her brother.

17· · · · · · · · ·So he just had the meeting

18· · · and everybody kind of told their

19· · · stories.· And then I think he followed

20· · · up with an e-mail.· I don't think he

21· · · decided then how he was handling it,

22· · · but he just took that and went.

23· · · · · · · · ·And then he came back later

24· · · with an e-mail to everyone telling them


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·1· · · what he was going to do.

·2· · · · Q.· ·Did everyone who wanted the

·3· · · opportunity to speak, was everyone

·4· · · given an opportunity to speak who

·5· · · wanted to speak at that meeting?

·6· · · · A.· ·They were.· Again, I think that

·7· · · everybody probably didn't say as much

·8· · · as they would have if Stacey wasn't

·9· · · there.

10· · · · Q.· ·And why do you think that?· Did

11· · · anyone say that or imply that?

12· · · · A.· ·Yes.· Everyone was uncomfortable

13· · · to talk about, to say too much about

14· · · what he did.· You know, he's married.

15· · · He has kids.· That's her brother and

16· · · sister-in-law.· I think everybody was

17· · · uncomfortable with that.

18· · · · Q.· ·You say everybody was

19· · · uncomfortable you think.· Did anyone

20· · · tell you --

21· · · · A.· ·I was and I know that other

22· · · people had mentioned that they didn't

23· · · say everything that they might have

24· · · said if she wasn't there.· And I know


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·1· · · everybody mentioned that they were kind

·2· · · of confused by how quiet Matt was.

·3· · · · Q.· ·And you say "everybody."· Do you

·4· · · mean that literally, that every person

·5· · · other than Daniel Pipes and Marc Fink

·6· · · told you after the meeting that they

·7· · · were not comfortable?

·8· · · · A.· ·Probably not Thelma.

·9· · · · Q.· ·Mr. Bennett?

10· · · · A.· ·Oh, no.· Actually, Lisa told him

11· · · he was a pussy and he didn't say

12· · · anything, you know, he didn't talk and

13· · · say what he should have said.· And she

14· · · said that in front of everybody.

15· · · · Q.· ·How does that get us to him

16· · · saying that he didn't say anything, say

17· · · more because of Stacey?

18· · · · A.· ·I didn't say that he said that.

19· · · I said that we felt that we didn't say

20· · · anything and everybody commented how

21· · · Matt didn't say anything.

22· · · · Q.· ·Okay.· So when you say

23· · · "everybody," give me the names of the

24· · · people who told you that they did not


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·1· · · feel comfortable speaking out during

·2· · · the meeting because of the presence of

·3· · · Stacey Roman.

·4· · · · · · · · ·Identify those people for

·5· · · me, please.

·6· · · · A.· ·I know, I believe it was like

·7· · · discussed by a group of us after the

·8· · · meeting and it was like in the office

·9· · · afterwards.· I think Stacey left

10· · · directly after and everybody was kind

11· · · of like oh, it was weird with Stacey

12· · · being there; I didn't want to say

13· · · anything to upset her.

14· · · · · · · · ·MS. SHIKUNOV:· Give her

15· · · names.· She's asking you for names.

16· · · · A.· ·Caitriona, Delaney, Tricia,

17· · · Lisa, probably not Thelma because

18· · · Thelma just, she doesn't like drama and

19· · · she stays out of it and she doesn't

20· · · want to be a part of it it seemed.· But

21· · · no, Matt didn't say that.· Everybody --

22· · · Lisa told him he was a pussy because he

23· · · didn't, you know, say everything that

24· · · he said he was going to say.


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·1· · · · Q.· ·What do you mean everything he

·2· · · said he was going to say?

·3· · · · A.· ·Well, he was talking to Daniel a

·4· · · lot.· As soon as, as soon as this

·5· · · happened, I think Daniel had called

·6· · · Matt and I into his office or whatever

·7· · · and Matt was on the edge of his seat.

·8· · · He was gunning for Gregg's job from the

·9· · · get, from that minute, on the edge of

10· · · the seat, Daniel, whatever you need,

11· · · whatever you need, Daniel, whatever you

12· · · need I'll help you, I got it, I got

13· · · this, Daniel, don't worry about it, I

14· · · got this, dah-dah-dah.

15· · · · Q.· ·Slow down.

16· · · · A.· ·What?

17· · · · Q.· ·Slow down because the court

18· · · reporter can't get it when you go that

19· · · fast.

20· · · · · · · · ·THE COURT REPORTER:· Agreed.

21· · · · Q.· ·So the meeting where you got a

22· · · whole lot of things getting jumbled

23· · · together now in my mind, so you said

24· · · that -- did any of the women tell you


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·1· · · directly hey, Marnie, I was not

·2· · · comfortable sharing but I had more to

·3· · · share?

·4· · · · A.· ·They said they were

·5· · · uncomfortable talking about anything in

·6· · · front of Stacey.

·7· · · · Q.· ·Okay.· And did you say to them

·8· · · well, look, I gave Dr. Pipes the prior

·9· · · complaint, so go ahead and tell me what

10· · · the complaint is and I'll convey it to

11· · · Dr. Pipes?

12· · · · A.· ·No.· Because at that point I

13· · · felt like I had been removed from the

14· · · HR component because Marc Fink was

15· · · handling it.· Marc was reaching out to

16· · · everybody.· Marc was sending an e-mail

17· · · that said what are your needs?· Like do

18· · · you have -- like he was reaching out to

19· · · people and Daniel was reaching out to

20· · · people.

21· · · · · · · · ·So no, I mean I didn't.           I

22· · · don't think I did.

23· · · · Q.· ·Did you think that any employee

24· · · had an issue that had not been


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·1· · · addressed in the meeting on November

·2· · · 5th?

·3· · · · A.· ·Do I think that every employee

·4· · · brought up every single thing that

·5· · · Gregg ever said or did to them during

·6· · · that meeting?· No.· It wasn't long

·7· · · enough.

·8· · · · Q.· ·Every material thing?

·9· · · · A.· ·I wouldn't know.· They can only

10· · · tell that.

11· · · · Q.· ·You're saying that they told

12· · · you that they --

13· · · · A.· ·They told me that they did not

14· · · feel comfortable speaking freely in

15· · · front of Stacey.· That's what they told

16· · · me.

17· · · · Q.· ·Okay.· And by "they" you mean

18· · · the people you've already identified by

19· · · name, correct?

20· · · · A.· ·Yes.

21· · · · Q.· ·And then you talked about a

22· · · meeting with Matt Bennett and

23· · · Dr. Pipes.· When did that occur and

24· · · yourself?


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·1· · · · A.· ·I'm not sure.· It might have

·2· · · been the day that he came in to talk to

·3· · · everybody.· It might have been after

·4· · · that.· It was, you know, in the days

·5· · · following everything.

·6· · · · Q.· ·And what was the purpose of that

·7· · · meeting?

·8· · · · A.· ·Well, Daniel was very removed

·9· · · from anything office related.· So now

10· · · with all of these allegations he was

11· · · probably trying to figure out what to

12· · · do because the daily operations were

13· · · going to be affected.

14· · · · · · · · ·So I can't tell you exactly

15· · · why we were meeting with him but, you

16· · · know, he was trying to figure out what

17· · · to do and he and I were helping him.

18· · · · Q.· ·"He" meaning Daniel Pipes was

19· · · trying to figure out what to do and you

20· · · and Matt Bennett were helping him?

21· · · · A.· ·Yes.

22· · · · Q.· ·Okay.

23· · · · A.· ·He asked for mine and Matt

24· · · Bennett's help, I guess, or maybe he


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·1· · · didn't specifically say I need you to

·2· · · help me but was asking us questions and

·3· · · trying to I guess figure out what

·4· · · needed to be done.

·5· · · · Q.· ·At that meeting where it was

·6· · · you, Dr. Pipes and Mr. Bennett, did you

·7· · · tell Dr. Pipes that you felt that

·8· · · employees had refrained from sharing

·9· · · everything with him because of the

10· · · presence of Stacey Roman at the

11· · · November 5th meeting?

12· · · · A.· ·I may have.· I'm pretty sure I

13· · · mentioned more than once how

14· · · uncomfortable I was with Stacey and

15· · · that I'm pretty sure Matt said it too,

16· · · that you just didn't want to say

17· · · anything to upset her.

18· · · · Q.· ·Didn't everyone at the meeting

19· · · share something?· The November 5th

20· · · meeting I'm referring to.

21· · · · A.· ·I'm not sure.

22· · · · Q.· ·Following the meeting on

23· · · November 5th is it correct that

24· · · Dr. Pipes announced that Mr. Roman


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·1· · · would no longer be returning to the

·2· · · office?

·3· · · · A.· ·Yes.

·4· · · · · · · · ·NS, DIBIANCA: Erica, I'm

·5· · · going to do a few more but not many, so

·6· · · you don't think I forgot again.

·7· · · · · · · · ·MS. SHIKUNOV:· All right.           I

·8· · · get hangry.

·9· · · · · · · · ·MS. DIBIANCA:· Me too.

10· · · BY MS. DIBIANCA:

11· · · · Q.· ·Now, Dr. Pipes also informed

12· · · Mr. Roman that Mr. Roman would no

13· · · longer be running the administration of

14· · · the Forum, correct?

15· · · · A.· ·That's my understanding.

16· · · · Q.· ·And Dr. Pipes, effective

17· · · November 5, 2018 Dr. Pipes also imposed

18· · · certain restrictions on Mr. Roman's

19· · · activities, didn't he?

20· · · · A.· ·What do you mean "activities"?

21· · · · Q.· ·For example, Mr. Roman was to

22· · · have no involvement in the approval of

23· · · expenses or initiatives?

24· · · · A.· ·Yes.


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·1· · · · Q.· ·Mr. Roman was to have no

·2· · · involvement in the hiring or firing of

·3· · · employees, including project directors,

·4· · · correct?

·5· · · · A.· ·I believe.· He was not supposed

·6· · · to have any supervisory role over staff

·7· · · members.

·8· · · · Q.· ·No authority over administrative

·9· · · staff, correct?

10· · · · A.· ·Or any staff, hiring, anything.

11· · · · Q.· ·Okay.· Mr. Roman was also

12· · · instructed to not offer or approve

13· · · contracts on behalf of the Forum,

14· · · correct?

15· · · · A.· ·I believe so, yeah.

16· · · · Q.· ·And he was instructed to not

17· · · have involvement in the Forum's

18· · · accounting, finances, office affairs

19· · · and personnel issues and property

20· · · management, correct?

21· · · · A.· ·I believe so.· As far as the

22· · · accounting went, I didn't want him to

23· · · have access to my work product.· So I

24· · · think, you know, it might have been


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·1· · · that for the accounting issues.

·2· · · · · · · · ·But we shared passwords and

·3· · · there was a lot of money, investments

·4· · · and whatchamacallit, you know, just in

·5· · · the bank accounts that I didn't want

·6· · · anything to happen to because I was

·7· · · afraid he would do something to make it

·8· · · look like I stole or that I, you know,

·9· · · did something wrong.

10· · · · · · · · ·So I didn't want him having

11· · · access to my work product.

12· · · · Q.· ·And he was instructed by

13· · · Dr. Pipes, that authority was removed

14· · · from him after November 5th, correct?

15· · · · A.· ·Yes.

16· · · · Q.· ·And he was also instructed that

17· · · he had no authority over the Forum's

18· · · education fund monies anymore, correct?

19· · · · A.· ·Yes.· Well, he didn't really

20· · · have any -- Daniel had given him a

21· · · certain amount to allocate to

22· · · organizations and I think he revoked

23· · · that.

24· · · · Q.· ·And Dr. Pipes also told


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·1· · · Mr. Roman that Mr. Roman was to no

·2· · · longer have access, physical access to

·3· · · the Philadelphia office, correct?

·4· · · · A.· ·I think he had to make -- he had

·5· · · to request access to make sure that

·6· · · basically there are no female staff

·7· · · members there or if they were they were

·8· · · comfortable with him being there.

·9· · · · · · · · ·So I don't know.· He was

10· · · told to work remotely and I don't know

11· · · that he was never allowed back, but it

12· · · was more that he had to make sure that

13· · · I guess we were comfortable with him

14· · · being there.

15· · · · Q.· ·And Dr. Pipes also instructed

16· · · Mr. Roman to not have contact with the

17· · · Forum's female employees outside of

18· · · business hours other than via Forum

19· · · e-mail, correct?

20· · · · A.· ·Yes.

21· · · · Q.· ·And Dr. Pipes also instructed

22· · · Mr. Roman that Mr. Roman was to, any

23· · · e-mails he sent must be business

24· · · related, correct?


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·1· · · · A.· ·I'm sorry.· What?

·2· · · · Q.· ·Dr. Pipes also instructed

·3· · · Mr. Roman that any e-mails Mr. Roman

·4· · · sent to any employees at the Forum must

·5· · · be business related, correct?

·6· · · · A.· ·I believe, yeah.

·7· · · · Q.· ·After November 5th, 2018 through

·8· · · the end of your employment did you

·9· · · personally observe Mr. Roman in the MEF

10· · · office?

11· · · · A.· ·He did come back and it wasn't

12· · · like right away.· He I'm going to

13· · · say -- I know one time he came back to

14· · · pack up his office.· I didn't feel he

15· · · should be allowed to do that.· I felt

16· · · like we should just pack it up and send

17· · · it to him, but Daniel arranged for him

18· · · to come in and pack his things.

19· · · · Q.· ·Were you there for that?

20· · · · A.· ·No.

21· · · · Q.· ·So my question was:· From

22· · · November 5th, 2018 through the end of

23· · · your employment at MEF, did you

24· · · personally observe Mr. Roman in the MEF


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·1· · · office?

·2· · · · A.· ·There was a point when it first

·3· · · happened that he was not allowed in the

·4· · · office and then he was given back I

·5· · · guess some of his authority or tasks or

·6· · · responsibilities.· So he then would

·7· · · come into the office, but Daniel would

·8· · · make sure that he gave -- the agreement

·9· · · I think -- there was a new agreement.

10· · · There was an original agreement and

11· · · then there was a secondary agreement.

12· · · And I think after the secondary

13· · · agreement it was that he would come to

14· · · the office but he had to -- you know,

15· · · we had to be given notice to know that

16· · · he was coming or something like that.

17· · · · · · · · ·So I did see him one time, I

18· · · think one time in the office.

19· · · · Q.· ·To the best of your knowledge,

20· · · to the best of your recollection from

21· · · November 5, 2018 until the end of your

22· · · employment at MEF you personally

23· · · observed Mr. Roman in the office on one

24· · · occasion to the best of your


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·1· · · recollection.· Is that correct?

·2· · · · A.· ·Possibly two, but yes.

·3· · · · Q.· ·And at the time of the one or

·4· · · possibly two instances were you

·5· · · notified in advance that he would be in

·6· · · there?

·7· · · · A.· ·I think so, yeah.· I mean I

·8· · · think there was one time where I

·9· · · thought he was going to be there and I

10· · · was like upset because I didn't know,

11· · · but then he ended up not coming or it

12· · · was misinformation or something.

13· · · · · · · · ·But yeah, I think I knew he

14· · · was going to be there or whatever.

15· · · · Q.· ·And so the one time that -- I'm

16· · · understanding your testimony now, just

17· · · so I'm clear, I'm understanding what

18· · · you're saying is that you do have a

19· · · specific recollection of him returning

20· · · to the workplace on one instance and on

21· · · that one instance you were notified in

22· · · advance.

23· · · · · · · · ·Am I understanding your

24· · · testimony correctly?


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·1· · · · A.· ·Yes.

·2· · · · Q.· ·Yes?

·3· · · · A.· ·Yes.

·4· · · · Q.· ·And during the one instance that

·5· · · he did return to the office when you

·6· · · were there and you had received

·7· · · advanced notice, was there any issue

·8· · · with Mr. Roman's behavior during that

·9· · · visit?

10· · · · A.· ·I didn't, I didn't like hang out

11· · · or sit in a meeting.· I stayed mostly

12· · · in my office.· I think he was -- I

13· · · think they were rehiring Gary Gamble

14· · · and they were having a meeting with

15· · · Gary and he walked around and was

16· · · introducing Gary to people and he just

17· · · walked right by my office and didn't

18· · · introduce me.

19· · · · Q.· ·So -- sorry.

20· · · · A.· ·So no, I wouldn't have been able

21· · · to notice any behavior because I wasn't

22· · · around him.

23· · · · Q.· ·So there was no -- you didn't

24· · · interact with him during that visit, is


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·1· · · that right, other than him -- I guess

·2· · · did you interact with him at all during

·3· · · that visit?

·4· · · · A.· ·I don't think so.· I don't

·5· · · recall.

·6· · · · Q.· ·Okay.

·7· · · · · · · · ·MS. DIBIANCA:· All right.           I

·8· · · drug it out long enough so let's go

·9· · · ahead and take lunch.

10· · · · · · · · ·We can go off the record.

11· · · · · · · · ·THE VIDEOGRAPHER:· Going off

12· · · the record at 12:47.

13· · · · · · · · ·(Recessed for lunch at 12:47

14· · · p.m.)

15· · · · · · · · · -· -· -· -       -

16· · · · · · · · ·AFTERNOON SESSION

17· · · · · · · · · · · 1:23 p.m.

18· · · · · · · · ·THE VIDEOGRAPHER:· We are

19· · · back on the record at 1:23 p.m. Eastern

20· · · time.

21· · · BY MS. DIBIANCA:

22· · · · Q.· ·Ms. O'Brien, after November 5,

23· · · 2018 through the end of your employment

24· · · with the Middle East Forum, did you


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·1· · · ever have contact with Mr. Roman

·2· · · outside of business hours?

·3· · · · A.· ·I don't believe so.

·4· · · · · · · · ·There was one time when

·5· · · there was an issue with Gary Gamble and

·6· · · I think he texted, he might have texted

·7· · · me.· I don't know.· But I think that

·8· · · might have been one time.

·9· · · · Q.· ·Was it a problem?

10· · · · A.· ·With his health insurance.

11· · · · Q.· ·Was there any issue, did

12· · · anything inappropriate occur?

13· · · · A.· ·I don't think so.· I think he

14· · · didn't have his card and I remember I

15· · · had sent it to him and Gregg was

16· · · looking for the card or something and

17· · · he asked me if he had it or whatever.

18· · · · · · · · ·And I resent, I sent it to

19· · · him.

20· · · · Q.· ·So with regard to that

21· · · situation, there was nothing that

22· · · bothered you about Mr. Roman's conduct,

23· · · correct, as it relates to that

24· · · communication?


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·1· · · · A.· ·I don't think so.· There was an

·2· · · issue that had to be handled and it

·3· · · seemed like it was important and it was

·4· · · for an employee, so I don't remember

·5· · · complaining about it.

·6· · · · Q.· ·Okay.· After November 5th, 2018

·7· · · did Mr. Roman, and other than the

·8· · · incident that you just discussed with

·9· · · Mr. Gamble, did Mr. Roman ever text

10· · · you?

11· · · · A.· ·I don't recall.

12· · · · Q.· ·If he had, would you have

13· · · reported it to Dr. Pipes?

14· · · · A.· ·I probably would have, yeah.

15· · · · Q.· ·Because it would have --

16· · · · A.· ·I don't recall if he texted me

17· · · or not.· I was instructed to work with

18· · · him.· So if I felt like it was a work

19· · · matter -- I don't recall.· If there is

20· · · an instance, show me and I'll tell you

21· · · if it bothered me or not.

22· · · · · · · · ·But, you know, I do recall

23· · · that one thing and if he did contact me

24· · · it wasn't very often.


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·1· · · · Q.· ·There was never a situation

·2· · · after November 5th, 2018 where

·3· · · Mr. Roman conducted himself

·4· · · inappropriately with you.· Is that

·5· · · correct?

·6· · · · A.· ·I don't believe so.

·7· · · · Q.· ·Okay.· I know that Mr. Roman was

·8· · · involved in the Forum's audit at some

·9· · · point, correct?

10· · · · A.· ·Yes, he was.

11· · · · Q.· ·Other than that audit, did

12· · · Mr. Roman after November 5, 2018 ever

13· · · again have involvement in the Forum's

14· · · accounting that you're aware of?

15· · · · A.· ·I don't know.· I don't know.

16· · · While I was there I don't think so.

17· · · · Q.· ·If he had, you would have

18· · · reported it to Dr. Pipes, correct?

19· · · · A.· ·It was hard to report stuff to

20· · · him because there were a lot of things

21· · · that he said he wasn't going to have

22· · · access to or be doing.· It was said

23· · · that he wasn't going to be part of

24· · · hiring people, but then when they were


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·1· · · trying to hire somebody he was like the

·2· · · one calling the shots and wanting,

·3· · · telling Thelma to send him all the

·4· · · e-mails, resumes so he could read them.

·5· · · · · · · · ·So his involvement was more

·6· · · than it should have been, but it was

·7· · · very small, it was little.· He'd come

·8· · · back an inch at a time.· So the biggest

·9· · · problem I had was when he was given

10· · · access to my work product.

11· · · · Q.· ·Which is the audit, correct?

12· · · · A.· ·Correct.

13· · · · Q.· ·Did you answer?

14· · · · · · · · ·MS. SHIKUNOV:· She said

15· · · correct.

16· · · · · · · · ·MS. DIBIANCA:· Okay.          I

17· · · didn't hear her.

18· · BY MS. DIBIANCA:

19· · · · Q.· ·So just for the record, could

20· · · you say your answer, Ms. O'Brien, again

21· · · for me, please?

22· · · · A.· ·I said that he --

23· · · · · · · · ·MS. SHIKUNOV:· You just said

24· · · correct.


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·1· · · · A.· ·Correct.· Correct.

·2· · · · Q.· ·So I'll just do it one more

·3· · · time.

·4· · · · · · · · ·I believe your testimony was

·5· · · that your biggest problem was that he

·6· · · had access, "he" meaning Mr. Roman had

·7· · · access to your work product.· Is that

·8· · · correct?

·9· · · · A.· ·Well, I complained other times

10· · · where he was becoming involved where I

11· · · thought that he wasn't going to be.

12· · · When he told -- when Dr. Pipes sent me

13· · · an e-mail telling me to basically shut

14· · · up and give Gregg the reports and that

15· · · Gregg would be taking care of the

16· · · audit, that was when I went to Erica

17· · · and --

18· · · · · · · · ·MS. SHIKUNOV:· Don't talk

19· · · about what you talked to me about.

20· · · · A.· ·That is when I decided I needed

21· · · help from Erica.

22· · · · Q.· ·Okay.· After November 5, 2018

23· · · did you ever hear Mr. Roman make any

24· · · sexual comment?


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·1· · · · A.· ·I wasn't in his presence.

·2· · · · Q.· ·I need you to give a yes or no

·3· · · to the question.

·4· · · · · · · · ·So the question is:· After

·5· · · November 5th, 2018 did you ever observe

·6· · · Mr. Roman make a sexual comment?

·7· · · · A.· ·No.

·8· · · · Q.· ·After November 5, 2018 did any

·9· · · employee report to you in your capacity

10· · · as an HR manager that Mr. Roman had

11· · · made a sexual comment to that employee?

12· · · · A.· ·I don't recall.

13· · · · Q.· ·After November 5th, 2018 did

14· · · Mr. Roman ever make a sexual advance

15· · · towards you?

16· · · · A.· ·No.

17· · · · Q.· ·After November 5, 2018 that you

18· · · are aware of in your HR, in your

19· · · capacity as an HR manager, did

20· · · Mr. Roman make any advance, any sexual

21· · · advance toward any other employee, any

22· · · employee at MEF?

23· · · · A.· ·Not that I know of.

24· · · · Q.· ·After November 5th, 2018 did


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·1· · · Mr. Roman contact you at times that

·2· · · were inappropriate in your opinion?

·3· · · · A.· ·No.

·4· · · · Q.· ·After November 5th, 2018 did

·5· · · Mr. Roman speak to you in a manner that

·6· · · you thought was inappropriate?

·7· · · · A.· ·No.

·8· · · · Q.· ·So is it correct to say that

·9· · · after November 5th, 2018 any concerns,

10· · · any and all concerns you had about --

11· · · I'll start over.

12· · · · · · · · ·After November 5th, 2018 is

13· · · it correct to say that any concerns you

14· · · had about Mr. Roman with regard to any

15· · · kind of sexual harassment did not

16· · · continue after November 5th, 2018?· Is

17· · · that correct?

18· · · · A.· ·He never made a pass at me after

19· · · that.· There was a rumor that he

20· · · apparently started about me.

21· · · · Q.· ·Okay.· Let's talk about that.

22· · · · A.· ·I found out about it after

23· · · November 5th, 2018.· I'm not sure when

24· · · he started it.


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·1· · · · Q.· ·Okay.· So we can jump to that

·2· · · topic next.· That's fine.

·3· · · · · · · · ·In the interest of time, I'm

·4· · · going to try to give you some yes or

·5· · · no's here just because I'm worried of

·6· · · not being able to get through my whole

·7· · · outline.

·8· · · · · · · · ·So sometime after November

·9· · · 5th, 2018 is it correct to say that you

10· · · heard from a coworker about a rumor

11· · · that the coworker believed to have been

12· · · started about you?

13· · · · A.· ·I'm sorry?· Can you say that

14· · · again.

15· · · · Q.· ·Sure.· I'll say it in a better

16· · · way.

17· · · · · · · · ·Did you hear at some point

18· · · that Mr. Roman had started a rumor

19· · · about you that was untrue?

20· · · · A.· ·Yes.

21· · · · Q.· ·And did you hear that after

22· · · November 5th, 2018?

23· · · · A.· ·I heard it after that, but I

24· · · don't know when he started it.


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·1· · · · Q.· ·Okay.· And the rumor, am I

·2· · · correct to say that the rumor was that

·3· · · you had slept with a Mr. Brady?

·4· · · · A.· ·My former employee.· He said

·5· · · that I slept with him to get my

·6· · · position at my job.

·7· · · · Q.· ·Your former employee or your

·8· · · former employer?

·9· · · · A.· ·My former employer.

10· · · · Q.· ·So the rumor was that you had

11· · · slept with your former employer in

12· · · order to get your job.· Is that

13· · · correct?

14· · · · A.· ·Correct.

15· · · · Q.· ·And who told you about the

16· · · rumor?

17· · · · A.· ·Lisa told me that Gregg had told

18· · · her that and Tricia was there and

19· · · Tricia said that she had heard it from

20· · · Matt.

21· · · · Q.· ·Okay.· When you say Tricia was

22· · · there, you mean Tricia was present when

23· · · Lisa told you that Lisa had heard Gregg

24· · · make that statement?· Is that correct?


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·1· · · · A.· ·Yes.

·2· · · · Q.· ·And are you aware that

·3· · · Ms. Barbounis has testified that the

·4· · · rumor, she heard Gregg say that rumor

·5· · · before November 2018?

·6· · · · A.· ·No, I didn't hear that.

·7· · · · Q.· ·Are you aware that there's an

·8· · · e-mail from Ms. Barbounis to Dr. Pipes

·9· · · in which he states that she heard the

10· · · rumor from Mr. Roman prior to November

11· · · 5th, 2018?

12· · · · A.· ·Yes.· I'm not aware.

13· · · · · · · · ·Did you ask me if I was

14· · · aware of it?

15· · · · Q.· ·I did.

16· · · · A.· ·Okay.· No, I didn't know.

17· · · · Q.· ·Do you have any reason to

18· · · believe that Mr. Roman initiated or

19· · · repeated that rumor after November 5th,

20· · · 2018?

21· · · · A.· ·I didn't know anything about it

22· · · until after and when I raised it I was

23· · · told that it wasn't going to be

24· · · addressed.


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·1· · · · Q.· ·And why not?

·2· · · · A.· ·Because he had been good since

·3· · · then.

·4· · · · Q.· ·Because it had occurred prior to

·5· · · the time that his job duties had been

·6· · · changed, correct?

·7· · · · A.· ·It was still something that he

·8· · · did.· Yes.

·9· · · · Q.· ·Okay.· So I don't know that I

10· · · got a straight answer to my question so

11· · · let me just ask it again in case I

12· · · didn't.

13· · · · · · · · ·So do you have any reason to

14· · · believe that Mr. Roman stated, repeated

15· · · or initiated the rumor at any time

16· · · after November 5th, 2018?

17· · · · A.· ·I do not.

18· · · · Q.· ·Other than Mr. Roman's

19· · · involvement in the audit, which I

20· · · promise to you that we are going to

21· · · talk about, other than that was there

22· · · anything that Mr. Roman did to which

23· · · you took offense after November 5th,

24· · · 2018?


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·1· · · · A.· ·I don't believe so.

·2· · · · Q.· ·All right.· Let's see.

·3· · · · · · · · ·Did you change any of your

·4· · · Forum passwords to something along the

·5· · · lines of fuck you Gregg?

·6· · · · A.· ·Yes.

·7· · · · Q.· ·When did you do that?

·8· · · · A.· ·Right after everything happened.

·9· · · · Q.· ·Right after what everything

10· · · happened?

11· · · · A.· ·After I had to report him, after

12· · · all of this.

13· · · · Q.· ·So sometime after October 31st,

14· · · 2018?

15· · · · A.· ·Yes.

16· · · · Q.· ·And did you tell other people in

17· · · the workplace that you had done that?

18· · · · A.· ·I don't think so, but some of

19· · · them needed my passwords, like Thelma

20· · · did.

21· · · · Q.· ·Right.· So Thelma knew that you

22· · · had changed your password to that,

23· · · correct?

24· · · · A.· ·Yes.· She was using it.


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·1· · · · Q.· ·Was that the mature way to

·2· · · handle that?

·3· · · · A.· ·I was angry and it was a

·4· · · password so that's --

·5· · · · Q.· ·Was it the mature way to handle

·6· · · it?

·7· · · · · · · · ·MS. SHIKUNOV:· I'm going to

·8· · · object to that as argumentative.

·9· · · · · · · · ·But you can answer.

10· · · · A.· ·Probably not.

11· · · · Q.· ·Okay.

12· · · · A.· ·I was very angry.

13· · · · Q.· ·If you had to do it again would

14· · · you do that?

15· · · · A.· ·(Pause)

16· · · · Q.· ·You're laughing.· So is it

17· · · funny?

18· · · · A.· ·I was angry.· I mean you're

19· · · telling me.· I was angry.· I was

20· · · emotional.· I had just -- you know, my

21· · · job path just completely changed

22· · · because of his behavior, because of his

23· · · manipulation and his bullshit so I was

24· · · angry.


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·1· · · · · · · · ·So was it mature?· No.

·2· · · · · · · · ·Would I do it again?· I mean

·3· · · right now while I'm calm and I'm not as

·4· · · angry, no, not as angry or it's just

·5· · · time has passed, no, I wouldn't do it

·6· · · again.

·7· · · · Q.· ·You said your job path had

·8· · · changed.· How had your job path

·9· · · changed?

10· · · · A.· ·He was telling me that he was

11· · · going to build -- I thought he was

12· · · sincere and wanted to build that

13· · · organization into a $20 million a year

14· · · organization and we were going to, you

15· · · know, grow it and he wanted me to

16· · · retire from there and I was going to

17· · · have job security.

18· · · · · · · · ·And then because of it was

19· · · all bullshit my job security had

20· · · changed and I felt scared about my job

21· · · every day going to work.

22· · · · Q.· ·After November 5th, 2018 you

23· · · felt scared?

24· · · · A.· ·It probably started earlier than


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·1· · · that when I started to figure out and

·2· · · get an inkling of what was going on,

·3· · · but yes, after that I still felt that

·4· · · way.

·5· · · · Q.· ·Even though you didn't have to

·6· · · interact with him anymore?

·7· · · · A.· ·Correct.

·8· · · · Q.· ·If you didn't have to interact

·9· · · with him anymore, why would you feel

10· · · scared that you were going to lose your

11· · · job?

12· · · · A.· ·Because it was apparent that

13· · · Daniel really didn't care about any

14· · · other employee.· He valued Gregg more

15· · · than he valued everyone else.· And

16· · · after, you know, those things were set

17· · · in place, like I said, there were

18· · · little inches where he was creeping

19· · · back and taking back some of his

20· · · authority, some of his duties.· So I

21· · · felt like it was just a matter of time

22· · · before Gregg got himself back into a

23· · · position where he could kick me out the

24· · · door.


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·1· · · · · · · · ·I also, you know, when it

·2· · · first happened I was told to, you know,

·3· · · everyone was told to work from home and

·4· · · then we went back and we were back in

·5· · · the office.

·6· · · · · · · · ·And then as people started

·7· · · getting other jobs and leaving, I was

·8· · · the last one there.· And I was told to

·9· · · work from home; administrative staff

10· · · wasn't needing to be in the office

11· · · anymore.· So I could work from home

12· · · permanently because they were figuring

13· · · out what to do with the office or

14· · · whatever.

15· · · · · · · · ·And then they hired a new

16· · · director of development that I had zero

17· · · part in the process and formerly I was

18· · · a part of that process.

19· · · · · · · · ·And I went one day and he

20· · · was, you know, probably not knowing

21· · · everything that happened, a little bit

22· · · in the dark and he was showing up.· He

23· · · seemed like a nice guy.· He seemed like

24· · · he was trying to work hard and he was


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·1· · · asking me for help.

·2· · · · · · · · ·So I was trying to help him

·3· · · with like, you know, different things

·4· · · that he needed.· And he basically told

·5· · · me that he was working out of the

·6· · · office every single day where I was

·7· · · told to stay home.

·8· · · · Q.· ·Who was that?

·9· · · · A.· ·Who?

10· · · · Q.· ·Yes. What was the person's name?

11· · · · A.· ·I don't remember his name.· He

12· · · was hired as the director of

13· · · development.

14· · · · Q.· ·And do you remember

15· · · approximately when he was hired as

16· · · director of development?

17· · · · A.· ·No.

18· · · · Q.· ·Was it at the end of your

19· · · employment?

20· · · · A.· ·It was closer towards the end of

21· · · my employment.· I was the only one left

22· · · at that point.

23· · · · Q.· ·And who was the previous

24· · · director of development?


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·1· · · · A.· ·It was Matt Bennett.· And then

·2· · · after that Tricia became the acting, I

·3· · · think the acting director of

·4· · · development or something like that.

·5· · · · Q.· ·You and Mr. Bennett started on

·6· · · the same day?

·7· · · · A.· ·A couple of days apart.

·8· · · · Q.· ·So you didn't have any role

·9· · · whatsoever in hiring Matt Bennett.

10· · · Isn't that correct?

11· · · · A.· ·Yeah.

12· · · · Q.· ·Yes.· So you testified that you

13· · · had previously been involved in the

14· · · hiring and selection of director of

15· · · development but, in fact, that is not

16· · · true at all, correct?

17· · · · A.· ·Hiring and selection of staff

18· · · members.

19· · · · Q.· ·No.· You said director of

20· · · development, so I'm specifically asking

21· · · about that.

22· · · · A.· ·The hiring process is what I

23· · · meant.

24· · · · Q.· ·Okay.· Were there other people


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·1· · · who were hired that you thought you

·2· · · should have participated in the

·3· · · selection and hiring process but you

·4· · · were not able to do so?

·5· · · · A.· ·After?· That was like the first

·6· · · person I think that was hired really

·7· · · that I know of.

·8· · · · Q.· ·So what do you mean when you say

·9· · · you were not permitted to hire, be

10· · · involved in the hiring process?· No one

11· · · was hired.

12· · · · A.· ·He was and I wasn't a part of

13· · · the process.

14· · · · Q.· ·But you had never been part of

15· · · the process for director of development

16· · · selection, correct?

17· · · · A.· ·I didn't say selecting the

18· · · director of development.· What I said

19· · · was I wasn't a part of the hiring

20· · · process.· I usually, no matter who they

21· · · were, I was given the offer letter that

22· · · Marc would write and then I would have

23· · · to put them into Zenefits and get them

24· · · their benefits and all that stuff.           I


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·1· · · was part of that process.

·2· · · · · · · · ·I wasn't a part of that

·3· · · process.

·4· · · · Q.· ·You did that, you put the new

·5· · · director of development input, new hire

·6· · · information?

·7· · · · A.· ·Exactly.· But what I'm saying is

·8· · · that my normal level of involvement

·9· · · wasn't where it was prior to this

10· · · incident.

11· · · · Q.· ·And the entirety of that

12· · · sentence is based on this individual

13· · · director of development position,

14· · · correct?

15· · · · A.· ·Yeah.

16· · · · Q.· ·All right.· Let's turn to the

17· · · audit since we've sort of talked about

18· · · that a little bit but not in detail.

19· · · · · · · · ·The audit was in I'll call

20· · · it June 2019.· Does that sound right to

21· · · you?

22· · · · A.· ·It started earlier than that.

23· · · It's a longer process.· They collect

24· · · information.· They ask for information.


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·1· · · · · · · · ·So the process started way

·2· · · earlier than that, but yeah, that's

·3· · · about when it was starting to get to

·4· · · the end of it, I guess.

·5· · · · Q.· ·In June of 2019 you told

·6· · · Dr. Pipes that you did not want

·7· · · Mr. Roman to be involved in the audit,

·8· · · correct?

·9· · · · A.· ·I didn't want him a part of my

10· · · work product is all I didn't want.· And

11· · · there were financial statements and

12· · · that stuff that I didn't, I didn't

13· · · trust him.

14· · · · Q.· ·When you say your work product,

15· · · so lawyers have a very specific

16· · · definition of work product.· It's sort

17· · · of a term of art for lawyers.

18· · · · · · · · ·So tell me what you mean

19· · · when you say work product just so I

20· · · know that we're understanding, we're

21· · · operating with the same definition.

22· · · · · · · · ·What do you mean when you

23· · · say you didn't want --

24· · · · A.· ·What I worked on.· What I worked


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·1· · · on, the financials.· I just didn't want

·2· · · him to have any excuse to retaliate

·3· · · against me.· I was trying to limit my

·4· · · exposure to him.

·5· · · · Q.· ·So when you say you didn't want

·6· · · him to have access to anything you

·7· · · worked on --

·8· · · · A.· ·Yes.

·9· · · · Q.· ·-- does that mean that you did

10· · · not want him to be able to review

11· · · financial statements for the

12· · · organization?

13· · · · A.· ·I don't know why they would want

14· · · him to.· He blew hundreds of thousands

15· · · of dollars.· He --

16· · · · Q.· ·I'm going to try to get you to

17· · · answer that question, Ms. O'Brien.

18· · · · A.· ·I'm sorry?· What?

19· · · · Q.· ·I'm going to get you to try to

20· · · answer that question because I've got a

21· · · limited number of hours so --

22· · · · · · · · ·MS. SHIKUNOV:· She can

23· · · answer to the best of her ability and I

24· · · think we can agree that none of your


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·1· · · witnesses were particularly responsive

·2· · · and I let them finish their answer so I

·3· · · just ask that Ms. O'Brien be given the

·4· · · same courtesy.

·5· · · · · · · · ·MS. DIBIANCA: As long as you

·6· · · don't cut me off at the end of the day

·7· · · I'm happy to let her talk away.

·8· · · · · · · · ·MS. SHIKUNOV:· I mean that's

·9· · · not how this works.· If you're asking

10· · · questions, she's going to answer them.

11· · · Because you're not getting the answer

12· · · you want doesn't mean that she's not

13· · · giving you a complete answer to your

14· · · question.

15· · · · · · · · ·MS. DIBIANCA:· Well, it's a

16· · · yes or no question.· So I don't need a

17· · · narrative.· I just need a yes or no.

18· · · · · · · · ·MS. SHIKUNOV:· I mean my

19· · · objection stands.· It's the same thing.

20· · · You are not entitled to the answer you

21· · · want.· You're entitled to the answer

22· · · you get.

23· · · · · · · · ·MS. DIBIANCA:· Okay.

24


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·1· · BY MS. DIBIANCA:

·2· · · · Q.· ·In early June of 2019 you

·3· · · complained to Dr. Pipes that you did

·4· · · not want Mr. Roman involved in the

·5· · · Forum's annual financial audit.· Is

·6· · · that correct?

·7· · · · A.· ·Yeah, I would say it is.

·8· · · · Q.· ·And Dr. Pipes responded that he

·9· · · did not have the requisite knowledge to

10· · · be able to assist you with the audit so

11· · · that Mr. Roman would have to be

12· · · involved in some capacity.· Is that

13· · · correct?

14· · · · A.· ·Yes, that's what he said.

15· · · · Q.· ·Did he tell you to shut up?

16· · · · A.· ·Those weren't his words.· That

17· · · was my paraphrasing of his words.

18· · · · Q.· ·That was your interpretation of

19· · · his response?

20· · · · A.· ·It was terse, yes.· That was my,

21· · · that was how I interpreted it just

22· · · then, yes.

23· · · · Q.· ·All right.· So Dr. Pipes said

24· · · no, Mr. Roman is going to have to be


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·1· · · involved; he's the only one that has

·2· · · the knowledge.

·3· · · · · · · · ·What was the extent of

·4· · · Mr. Roman's involvement with the audit?

·5· · · · A.· ·He --

·6· · · · Q.· ·Or I should say in the audit?

·7· · · Sorry.

·8· · · · A.· ·He took it over so I didn't have

·9· · · any really other interactions with him

10· · · at all.· And normally as the bookkeeper

11· · · I did the audit.· In every other

12· · · organization as well I would handle the

13· · · audit and then at the end of it maybe

14· · · they do their report and their results.

15· · · · Q.· ·So what period of time was

16· · · Mr. Roman involved in the audit?

17· · · · A.· ·I don't think it was completed

18· · · when I was there, to my knowledge.           I

19· · · never really had another involvement in

20· · · it after that, so I wouldn't know what

21· · · he did or didn't do.

22· · · · Q.· ·Did Mr. Roman do anything

23· · · inappropriate with regard to the audit?

24· · · · A.· ·I don't know.


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·1· · · · Q.· ·And you don't know, am I

·2· · · understanding correctly you don't know

·3· · · because he took it over?· You said they

·4· · · took it over.

·5· · · · A.· ·Right.

·6· · · · Q.· ·And who is "they"?· He and the

·7· · · auditors?

·8· · · · A.· ·No.· The auditors do the audit.

·9· · · He became the point person, I guess.           I

10· · · don't recall really having much

11· · · involvement in it after that.

12· · · · Q.· ·At some point, you would agree

13· · · with me that at some point in the

14· · · spring of 2019 Ms. Barbounis and others

15· · · requested that Mr. Roman return to some

16· · · of his duties that had been stripped

17· · · from him as a result of your complaint

18· · · on October 31st, correct?

19· · · · A.· ·They did, yes.

20· · · · Q.· ·Yes?

21· · · · A.· ·Yes.

22· · · · Q.· ·Sorry?

23· · · · A.· ·Yes.

24· · · · · · · · ·MS. SHIKUNOV:· She said yes.


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·1· · · · Q.· ·Okay.· Did other employees other

·2· · · than Ms. Barbounis agree with her

·3· · · request?

·4· · · · A.· ·Tricia I think wanted him to be

·5· · · somewhat involved, but I think she was

·6· · · a little more hesitant than Lisa was,

·7· · · but I don't think anybody else other

·8· · · than that wanted him back.

·9· · · · Q.· ·Let's talk about your

10· · · socialization with coworkers.

11· · · · · · · · ·Did you go out with

12· · · coworkers in a social context during

13· · · your employment with MEF?

14· · · · A.· ·Every once in a while.· It was,

15· · · it was -- when I first started Gregg

16· · · and Tiffany would kind of initiate

17· · · everybody going out because it's nice

18· · · to go out with your coworkers.· It's

19· · · good to blow off steam or whatever.

20· · · · · · · · ·So yeah, it was throughout

21· · · my entire employment there occasionally

22· · · there would be times where some or all

23· · · or whatever went out.

24· · · · Q.· ·When you would go out in a


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·1· · · social setting was Mr. Roman present?

·2· · · · A.· ·Occasionally.

·3· · · · Q.· ·Do you know, could you estimate

·4· · · how many times that happened?

·5· · · · A.· ·No.· We really -- I mean as

·6· · · whole group we didn't really do it that

·7· · · often.· I don't know.· I couldn't say

·8· · · how many times he was there or not.

·9· · · · Q.· ·Did you go out with Mr. Bennett

10· · · and Mr. Roman, did the three of you go

11· · · out together?

12· · · · A.· ·We would go to lunches often.           I

13· · · don't recall really going out after-

14· · · hours.· Like maybe once.

15· · · · Q.· ·Was that for drinks?

16· · · · A.· ·Probably.

17· · · · Q.· ·Is it correct to say that those

18· · · instances did not occur after November

19· · · 5th, 2018?

20· · · · A.· ·Yeah.

21· · · · Q.· ·Did the three of you see a movie

22· · · together?

23· · · · A.· ·Matt?

24· · · · Q.· ·You, Matt and Gregg.


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·1· · · · A.· ·I don't recall seeing a movie

·2· · · with them.

·3· · · · Q.· ·Star Wars, would that help

·4· · · refresh your recollection?

·5· · · · A.· ·No.· Gregg actually in the

·6· · · middle of the workday invited me to go

·7· · · see -- he said he didn't want to work.

·8· · · He was stressed out.· He had something.

·9· · · He wanted to see Star Wars.· He said

10· · · let's go see Star Wars.

11· · · · · · · · ·I said no, I have work to do

12· · · and I'm not comfortable going to the

13· · · movies alone with you.

14· · · · · · · · ·And he was like well, you

15· · · know, he wanted to go.· And he was like

16· · · all right, let's get Tricia, Tricia can

17· · · go.· And she really didn't want to go

18· · · either because she wanted to finish her

19· · · work.· She was really overwhelmed and

20· · · he insisted.· So we went and saw the

21· · · movie with him.

22· · · · Q.· ·Who?

23· · · · A.· ·With Gregg.

24· · · · Q.· ·You said "we."


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·1· · · · A.· ·Tricia and I, not Matt Bennett.

·2· · · · Q.· ·Matt Bennett was not there?

·3· · · · A.· ·No.

·4· · · · Q.· ·And when was that?· Was that

·5· · · before November 5th?

·6· · · · A.· ·Yes.

·7· · · · Q.· ·Did you take a trip to the

·8· · · Jersey Shore with some of your female

·9· · · colleagues in July 2019?

10· · · · A.· ·Yes.

11· · · · Q.· ·Who was present?

12· · · · A.· ·That was Lisa, Tricia, Caitriona

13· · · and I.

14· · · · Q.· ·Did you have a girls night out

15· · · on Saturday, September 28th that you

16· · · recall?

17· · · · A.· ·Saturday --

18· · · · · · · · ·MS. SHIKUNOV:· Of what year?

19· · · · · · · · ·MS. DIBIANCA: I'm sorry.

20· · · Thank you, Erica.

21· · BY MS. DIBIANCA:

22· · · · Q.· ·That would have been of 2018.

23· · · · A.· ·Did we go out on a Saturday?           I

24· · · don't know.· I don't recall that.· If I


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·1· · · went out with them it was normally

·2· · · after work.

·3· · · · Q.· ·Did you go out with them

·4· · · normally on the weekends?

·5· · · · A.· ·No.· That's what I'm saying.· If

·6· · · I went out with them it was normally

·7· · · after work.· We did the beach trip was

·8· · · more because Matt had had a comp room

·9· · · and I think Tricia was getting, had

10· · · just gotten a job offer.· And so we

11· · · were excited for her and we all felt

12· · · like we had been through a horrible

13· · · experience and we wanted to celebrate.

14· · · · · · · · ·So we went to just more like

15· · · a going away party for Tricia.

16· · · · Q.· ·Was --

17· · · · A.· ·That's what it was for.

18· · · · Q.· ·I didn't mean to cut you off.

19· · · Were you finished?

20· · · · A.· ·Yes.

21· · · · Q.· ·You said Matt got a comp room.

22· · · Did you mean Matt Ebert?

23· · · · A.· ·Matt Ebert, yes.

24· · · · Q.· ·Just so the record is clear.


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·1· · · · · · · · ·Did you hear any of your

·2· · · coworkers make sexual comments in the

·3· · · workplace?

·4· · · · A.· ·Like what?· Like what kind?

·5· · · · Q.· ·Like did Lisa Barbounis talk

·6· · · about her sex life?

·7· · · · A.· ·Yes.

·8· · · · Q.· ·And you said earlier that you

·9· · · are aware that Ms. Barbounis had had

10· · · multiple extramarital affairs while

11· · · employed at MEF, correct?

12· · · · A.· ·Correct.

13· · · · Q.· ·And you were aware that one of

14· · · those was with Danny Tommo, correct?

15· · · · A.· ·Correct.

16· · · · Q.· ·And another one was with Tommy

17· · · Robertson, correct?

18· · · · A.· ·Oh, I didn't know that.

19· · · · Q.· ·And that one of them was with a

20· · · man named Twin?

21· · · · A.· ·I knew, yeah.

22· · · · Q.· ·And a Mr. Baird?

23· · · · A.· ·Yes.

24· · · · Q.· ·And those were all individuals


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·1· · · that had some connection to the Forum,

·2· · · correct?

·3· · · · A.· ·Yeah.

·4· · · · Q.· ·And in your capacity as HR, did

·5· · · you ever report to Dr. Pipes that

·6· · · Ms. Barbounis was having sexual

·7· · · relationships with individuals who were

·8· · · connected to the Forum?

·9· · · · A.· ·Dr. Pipes was marrying a

10· · · grantee.· He was leaving his wife.· He

11· · · left his wife who --

12· · · · Q.· ·It's a yes or no.

13· · · · A.· ·-- was a former intern of the

14· · · Forum for a grantee.· So I didn't

15· · · really see the point in letting him

16· · · know that.

17· · · · Q.· ·So you took it upon yourself to

18· · · make the decision to not report it to

19· · · Dr. Pipes, correct?

20· · · · A.· ·I didn't think it was something

21· · · that was reportable.

22· · · · Q.· ·I'm going to repeat it again.

23· · · · · · · · ·Did you report it to

24· · · Dr. Pipes?


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·1· · · · · · · · ·MS. SHIKUNOV:· She said she

·2· · · didn't think it was something that was

·3· · · reportable.· Again, you're not entitled

·4· · · to the answer you want.· You're

·5· · · entitled to the answer that you get.

·6· · · · Q.· ·Did you ever report it to

·7· · · Dr. Pipes?

·8· · · · A.· ·No.

·9· · · · Q.· ·Returning to my question about

10· · · Lisa Barbounis, do you recall that Lisa

11· · · Barbounis discussed her sex life in the

12· · · workplace?

13· · · · A.· ·Yeah.

14· · · · Q.· ·Did you ever report that to

15· · · Dr. Pipes?

16· · · · A.· ·No.

17· · · · Q.· ·And you were the HR professional

18· · · at that time, correct?

19· · · · A.· ·Actually, I would have to say I

20· · · would think I wasn't the HR

21· · · professional at that point because

22· · · prior to the day that everything was

23· · · reported I really -- Lisa Barbounis had

24· · · a very different lifestyle that she


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·1· · · lived.· She was married.· I didn't know

·2· · · that her and -- I'm not exactly sure

·3· · · when they started having marital

·4· · · problems and that they decided to see

·5· · · other people.

·6· · · · · · · · ·So she was very different

·7· · · prior to that.· She was married.· She

·8· · · was going to school.· She was working

·9· · · hard at the Forum and a mom.· And then

10· · · afterwards was when all of this

11· · · started.· So I actually felt like my HR

12· · · duties had been more or less given to

13· · · Marc at that point.

14· · · · · · · · ·So after November 5th I

15· · · would say that I wasn't really feeling

16· · · like I was the HR professional.

17· · · · Q.· ·Okay.· So Ms. Barbounis made

18· · · those comments long before November

19· · · 5th, right?

20· · · · A.· ·I don't really, I don't really

21· · · recall her telling me sex stories.           I

22· · · thought that she was married and

23· · · happily married up until -- and I'm not

24· · · sure what that exact date was.


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·1· · · · · · · · ·But I know her behavior

·2· · · after was so different that I suggested

·3· · · that maybe she go see a psychiatrist

·4· · · because her behavior seemed to me like

·5· · · when they say a girl is sexually abused

·6· · · she becomes promiscuous.· It was like

·7· · · this happened and now all of a sudden

·8· · · she was off to the races.

·9· · · · · · · · ·So I don't really recall her

10· · · talking about that stuff prior.

11· · · · Q.· ·When you said this happened to

12· · · her, you mean she had this break with

13· · · her husband?

14· · · · A.· ·Yes.

15· · · · Q.· ·Okay.

16· · · · A.· ·No.· No.· The behavior seemed to

17· · · escalate after we filed the charge

18· · · against Gregg.

19· · · · Q.· ·Well, we already discussed that

20· · · she had had an extramarital affair with

21· · · Danny Tommo just days before your

22· · · meeting with her on the park bench,

23· · · right?

24· · · · A.· ·Okay.· So I didn't maybe know


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·1· · · about that at that point.· So I guess

·2· · · maybe she wasn't talking to me at that

·3· · · point about that type of thing.

·4· · · · Q.· ·So is it your testimony that

·5· · · Lisa Barbounis was promiscuous?

·6· · · · A.· ·Sure.

·7· · · · Q.· ·And is it your testimony that

·8· · · she was promiscuous, based on what you

·9· · · know now she was promiscuous throughout

10· · · her employment at MEF?

11· · · · A.· ·No.· That's exactly the opposite

12· · · of what I said.· I said based on my

13· · · knowledge now it seemed like she was

14· · · promiscuous after everything else, not

15· · · the entire time she worked there.· Most

16· · · of the time she seemed like she was

17· · · happily married.

18· · · · Q.· ·But she had the relationship

19· · · with Mr. Tommo prior to November or

20· · · prior to October 30th, correct?

21· · · · A.· ·Right.· I don't know how much

22· · · knowledge I had of that prior to that

23· · · point.

24· · · · Q.· ·But sitting here today?


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·1· · · · A.· ·I guess.

·2· · · · Q.· ·Okay.· In March of 2018 did you

·3· · · suggest that you, Ms. Barbounis,

·4· · · Ms. McNulty and Ms. Patel take a group

·5· · · pole dancing class?

·6· · · · A.· ·It was an exercise class, yeah.

·7· · · · Q.· ·Did you take that class?

·8· · · · A.· ·No.

·9· · · · Q.· ·In your opinion is it

10· · · appropriate for the HR manager to

11· · · socialize with employees outside of

12· · · work?

13· · · · A.· ·I was never asked not to.· I was

14· · · included in every after-work function.

15· · · It wasn't very often so I mean...

16· · · · Q.· ·In your opinion, is it

17· · · appropriate for the HR manager to

18· · · socialize with employees outside of

19· · · work?

20· · · · A.· ·I don't think it's

21· · · inappropriate.

22· · · · Q.· ·You do not think it is

23· · · inappropriate.

24· · · · · · · · ·You do think it is


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·1· · · appropriate?

·2· · · · A.· ·I think it's fine.· It wouldn't

·3· · · stop me from doing my job.

·4· · · · Q.· ·Having personal friendships with

·5· · · employees in the workplace does not

·6· · · interfere with an HR professional's

·7· · · ability to do his or her job?· Is that

·8· · · your testimony?

·9· · · · · · · · ·MS. SHIKUNOV:· I'm going to

10· · · object to the form of the question

11· · · because it mischaracterizes what she

12· · · just said.

13· · · · · · · · ·But, Marnie, you can answer

14· · · the question.

15· · · · A.· ·I don't -- can you ask the

16· · · question again?

17· · · · Q.· ·By socializing with employees

18· · · outside of workplace, does that

19· · · interfere with your ability as an HR

20· · · professional to do your job?

21· · · · A.· ·No.

22· · · · Q.· ·You arranged a sexual harassment

23· · · training at the Forum in April 2018,

24· · · correct?


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·1· · · · A.· ·At Gregg's request, yes.

·2· · · · Q.· ·Great.· And you conducted that

·3· · · training, correct?

·4· · · · A.· ·I did.

·5· · · · Q.· ·And was that conducted in an

·6· · · all-staff meeting?

·7· · · · A.· ·I believe it was.· And then

·8· · · there were some people that didn't make

·9· · · it so they maybe had to do it

10· · · afterwards.

11· · · · Q.· ·Did Mr. Roman attend the

12· · · training?

13· · · · A.· ·I would assume he did, yeah.

14· · · · Q.· ·Do you have a specific

15· · · recollection?

16· · · · A.· ·I don't recall.· I think

17· · · everybody signed a paper so there's

18· · · probably a paper somewhere with his

19· · · signature if he did.

20· · · · Q.· ·If I said that he was present at

21· · · the beginning and made the introduction

22· · · and then left so that you could conduct

23· · · the training without him present, does

24· · · that help refresh your recollection?


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·1· · · · A.· ·It really doesn't.· I mean if

·2· · · that's -- it could be that's what

·3· · · happened.· I don't remember.

·4· · · · Q.· ·Do you recall whether Mr. Roman

·5· · · gave the employees one of the board

·6· · · member's phone numbers so that they

·7· · · could reach out to the board member

·8· · · directly in the event that there was an

·9· · · issue?

10· · · · A.· ·Wait.· What?

11· · · · Q.· ·Do you recall whether Mr. Roman

12· · · gave the employees the phone number for

13· · · Steven Levy specifically?

14· · · · A.· ·No.· No.

15· · · · Q.· ·You don't have that

16· · · recollection?

17· · · · A.· ·I don't recall that, no.

18· · · · Q.· ·And then in planning for your

19· · · sexual harassment training did you

20· · · suggest that Forum employees get an

21· · · Airbnb?

22· · · · A.· ·He had talked about doing, he

23· · · had talked about doing off-site,

24· · · off-site like I guess team building


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·1· · · things.

·2· · · · · · · · ·So do I recall suggesting

·3· · · that?· No.· Airbnb seemed to be his

·4· · · thing, so I don't recall suggesting

·5· · · that.· But, you know, if that's the

·6· · · route that he was going and saying that

·7· · · he wanted to do off-site trainings or

·8· · · team building things, then -- I think

·9· · · there was another thing that was being

10· · · discussed to do that would have been

11· · · something similar.

12· · · · · · · · ·So maybe I was trying to go

13· · · along with that but...

14· · · · Q.· ·Let me move Exhibit 2.· It's

15· · · going to be Bates stamped D, as in

16· · · defendant, D6695.

17· · · · · · · · ·MS. DIBIANCA:· And I'm going

18· · · to ask Jakob to make a note of that for

19· · · Kurt, please.

20· · · · · · · · ·(O'Brien Deposition Exhibit

21· · · No. 2 was marked for identification.)

22· · · BY MS. DIBIANCA:

23· · · · Q.· ·So it should be on the screen,

24· · · Ms. O'Brien.


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·1· · · · · · · · ·Do you see a document on the

·2· · · screen?

·3· · · · A.· ·Yeah.

·4· · · · Q.· ·Let me just scroll down just so

·5· · · we have a nice clean record.· Since you

·6· · · don't have the document in front of you

·7· · · I just want you to see --

·8· · · · A.· ·Oh, okay.

·9· · · · Q.· ·Let me just scroll down so I can

10· · · show you at the bottom here is that

11· · · Bates stamp D6695.

12· · · · A.· ·So I guess we had staff members

13· · · that weren't just office members coming

14· · · in and we needed a spot for them.· So I

15· · · guess he would do the Airbnb, so I

16· · · guess that's why I said that.

17· · · · Q.· ·So you suggested that you get an

18· · · Airbnb for them, correct?

19· · · · A.· ·I should say I was asking if we

20· · · should.· So I don't know that I

21· · · initially suggested it, but I was

22· · · asking, it looks like I was confirming

23· · · whether or not we were doing that.

24· · · · Q.· ·You were confirming it.· It


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·1· · · actually says "Should we get them an

·2· · · Airbnb?"

·3· · · · · · · · ·It doesn't sound like you're

·4· · · confirming.

·5· · · · A.· ·Well, he said that he was

·6· · · talking about it.· Then I would have

·7· · · said should we do that?· So I don't

·8· · · know that I suggested it.· But it looks

·9· · · like I was definitely trying to get the

10· · · plans in order.

11· · · · Q.· ·Okay.· Do you remember telling a

12· · · coworker that Ms. Barbounis was a

13· · · cancer in the workplace?

14· · · · A.· ·Probably, yeah.

15· · · · Q.· ·Do you recall when you said

16· · · that?

17· · · · A.· ·No.

18· · · · Q.· ·Have you heard the phone call

19· · · that Ms. Barbounis recorded of you two?

20· · · · A.· ·Yes.

21· · · · Q.· ·And what is your opinion of that

22· · · phone call?

23· · · · A.· ·I think you need to -- I think

24· · · it was illegal.· I think -- I didn't


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·1· · · know it was happening and I think it

·2· · · was wrong that she went around playing

·3· · · it for people.· That's my opinion.

·4· · · · Q.· ·And you're aware that she did

·5· · · play it for others in the workplace,

·6· · · right?

·7· · · · A.· ·I was told that, yeah.

·8· · · · Q.· ·What is your knowledge of

·9· · · Ms. Barbounis's proposal to Mr. Terry

10· · · Giles?

11· · · · · · · · ·And for the record that's

12· · · G-i-l-e-s.

13· · · · A.· ·I'm not sure I know who he is.

14· · · · Q.· ·Knowing everything that you know

15· · · today, is it your opinion that

16· · · Ms. Barbounis is an honest person?

17· · · · A.· ·I didn't ask -- I mean I think

18· · · if you ask her a question she tells the

19· · · truth.

20· · · · · · · · ·Was she forthcoming by

21· · · telling me that she recorded me and

22· · · then played it for everyone?· No.· But

23· · · I never asked her either.· So I guess I

24· · · always felt that she was truthful.


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·1· · · · Q.· ·Except for the extramarital

·2· · · affairs?

·3· · · · A.· ·I was under the impression that

·4· · · her and Vasilli were on a break.· She

·5· · · had told him that she didn't want to be

·6· · · married anymore.

·7· · · · Q.· ·And the people that she was

·8· · · sleeping with, they were married,

·9· · · weren't they?

10· · · · A.· ·I don't know about that.

11· · · · Q.· ·If you knew that they were,

12· · · would that change your opinion of

13· · · Mrs. Barbounis's veracity or

14· · · truthfulness?

15· · · · A.· ·I mean her -- is it truthful?           I

16· · · mean truth to me is if you ask somebody

17· · · a question and they tell you a lie.           I

18· · · think, if I remember correctly I think

19· · · she had some kind of exchange with one

20· · · of their girlfriends or whatever and

21· · · she was pretty open with the girl about

22· · · what was going on.

23· · · · · · · · ·Truthful?· I think she is.

24· · · · · · · · ·Do I think she makes a lot


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·1· · · of good choices?· No.

·2· · · · Q.· ·Do you trust her?

·3· · · · A.· ·Not after she played and taped

·4· · · me probably I wouldn't trust her right

·5· · · now, no.

·6· · · · Q.· ·And she filed a complaint at the

·7· · · Forum about you, correct?

·8· · · · A.· ·Yeah.· She told me that Matt

·9· · · Bennett instructed her that it had to

10· · · be done before she left that day that

11· · · we argued and demanded that she submit

12· · · that.

13· · · · · · · · ·MS. SHIKUNOV:· Can you give

14· · · me just two seconds and go off the

15· · · record?· Somebody is yelling in the

16· · · hallway.· I don't know who it is, but I

17· · · just need a minute.

18· · · · · · · · ·THE VIDEOGRAPHER:· Should we

19· · · go off the record?

20· · · · · · · · ·MS. DIBIANCA:· Just wait a

21· · · minute.

22· · · · · · · · ·(A discussion was held off

23· · · the record.)

24


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·1· · BY MS. DIBIANCA:

·2· · · · Q.· ·After November 5th, 2018 -- I'm

·3· · · sorry.· Strike that.· You already

·4· · · answered this question.· I apologize.

·5· · · · · · · · ·Do you recall a meeting in

·6· · · the MEF office in January of 2018 where

·7· · · it was an all-staff meeting with

·8· · · Mr. Bennett, he brought his young

·9· · · daughter and said that all

10· · · communications with Mr. Roman from that

11· · · point forward were to go through

12· · · Mr. Bennett?

13· · · · · · · · ·Do you have a recollection

14· · · of that meeting?

15· · · · A.· ·Yes.

16· · · · · · · · ·MS. SHIKUNOV:· Before you

17· · · answer that.

18· · · · · · · · ·Molly, you said 2018.

19· · · · · · · · ·MS. DIBIANCA:· I'm sorry.           I

20· · · should have said 2019.· I thought I

21· · · did.· I apologize.

22· · · BY MS. DIBIANCA:

23· · · · Q.· ·So in January of 2019 there was

24· · · a meeting with Mr. Bennett.· Can you


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·1· · · tell me about that meeting?

·2· · · · A.· ·He was the -- I'm not sure if he

·3· · · was like the acting director at that

·4· · · point or not, but there was a point

·5· · · where Daniel had given him, you know,

·6· · · the opportunity to be the acting

·7· · · director.· And he called that meeting

·8· · · and told everyone exactly -- I don't

·9· · · remember anything else from that

10· · · meeting, but I do remember him saying

11· · · that he didn't want anyone talking to

12· · · Gregg.· If there was anything to be

13· · · discussed with Gregg, it went through

14· · · him.

15· · · · Q.· ·Do you have an understanding of

16· · · why he gave that directive?

17· · · · A.· ·No.· I don't recall.

18· · · · Q.· ·Did you comply with that

19· · · directive?

20· · · · A.· ·I think Daniel Pipes nullified

21· · · that directive very shortly after it

22· · · was given.

23· · · · Q.· ·Okay.· At some point in time you

24· · · took your boyfriend Mr. Ebert into the


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·1· · · MEF office, correct?

·2· · · · A.· ·I did.

·3· · · · Q.· ·And when was that?

·4· · · · A.· ·It was I went out after work one

·5· · · night.· I had expressed to him concerns

·6· · · that Gregg had a camera in my office.

·7· · · I felt that he might have a camera in

·8· · · everyone's office because we went to --

·9· · · well, first of all, there were cameras

10· · · everywhere.

11· · · · · · · · ·And he had a camera in his

12· · · office pointed directly at his desk so

13· · · that if you went in to the room it

14· · · would set off some kind of motion

15· · · sensor and the video would start

16· · · recording and then he would call and be

17· · · like why are you in my office?

18· · · · · · · · ·And then I just felt

19· · · completely paranoid and creeped out and

20· · · felt that there was a camera in my

21· · · office.

22· · · · · · · · ·We all used to get changed

23· · · for work or for the gym.· There was a

24· · · gym there.· A lot of us would get


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·1· · · changed from our offices sometimes.· So

·2· · · I just felt very strongly that he had

·3· · · set something up that was

·4· · · inappropriate.

·5· · · · · · · · ·And Matt had had experience

·6· · · with that stuff and I said do you think

·7· · · you could, you know, do you think you

·8· · · could check for it?

·9· · · · · · · · ·So we had went out, I think

10· · · we had like one drink and then we went

11· · · back and he went up into Gregg's office

12· · · and looked up over and he said he did

13· · · see something.· I actually have

14· · · pictures of it.· He did see something

15· · · that was hanging that looked like it

16· · · didn't belong there, but he couldn't

17· · · see anything.

18· · · · · · · · ·And then he looked up above

19· · · my office to see if he could see

20· · · anything that looked like a camera and

21· · · he said no, that he couldn't see

22· · · anything.

23· · · · Q.· ·When was that?

24· · · · A.· ·I don't recall.


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·1· · · · Q.· ·Was it before November 5th, 2018

·2· · · or after?

·3· · · · A.· ·Well, it had to be after because

·4· · · I didn't start dating him until May.

·5· · · · Q.· ·And you knew that Mr. Roman did

·6· · · have a camera in his office, correct?

·7· · · · A.· ·I did.

·8· · · · Q.· ·But you still had Mr. Ebert look

·9· · · in Mr. Roman's office.· Why is that?

10· · · · A.· ·He looked above his desk up in

11· · · the ceiling to see if there was any

12· · · wires running.

13· · · · Q.· ·Did you tell anyone at the Forum

14· · · that you had brought in your boyfriend

15· · · to look around?

16· · · · A.· ·No.· But I did follow the

17· · · protocols and I did have him sign an

18· · · NDA.

19· · · · Q.· ·Why didn't you tell anyone that

20· · · you were concerned that there could

21· · · be --

22· · · · A.· ·I was --

23· · · · Q.· ·-- surveillance?

24· · · · · · · · ·MS. SHIKUNOV:· Let her


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·1· · · finish her question.

·2· · · · A.· ·I'm sorry.· Say that again.

·3· · · · Q.· ·That's okay.

·4· · · · · · · · ·Why didn't you tell anyone

·5· · · at the Forum that you were concerned

·6· · · about potentially being, there being

·7· · · potentially surveillance in the office?

·8· · · · A.· ·I don't know that I didn't.· And

·9· · · I think, I'm pretty sure that I had

10· · · mentioned to Daniel that at one point

11· · · after the Israel trip and Gregg had his

12· · · top secret mission stuff he bought

13· · · Alexas.· I know that I told Daniel

14· · · this.· He bought Alexas, one for my

15· · · office and one for Lisa's office.· That

16· · · was so that he could communicate with

17· · · us secretly like off the grid about his

18· · · secret stuff.

19· · · · · · · · ·And I had heard prior to

20· · · that that those could be hacked and

21· · · that you could listen in to people and

22· · · like turn cameras on and all that kind

23· · · of stuff.· And when he gave it to me I

24· · · said I'm not using that.


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·1· · · · · · · · ·And he said yeah, you are

·2· · · and he said -- I said no, I think you

·3· · · hacked it and I think you're going to

·4· · · eavesdrop in my office and I'm not

·5· · · using it.· And we were laughing about

·6· · · it, but I was pretty blunt about the

·7· · · fact that I thought the whole intention

·8· · · of him putting that into my office was

·9· · · so that he could listen to me.

10· · · · · · · · ·And one time Lisa told --

11· · · Lisa was fine with it.· She didn't

12· · · care.· She was using it right away.

13· · · And she did tell me that one time she

14· · · was talking and it wasn't on and she

15· · · said his name and something happened,

16· · · it flickered the lights or something

17· · · like that.· And I was like I told you,

18· · · he hacked it.

19· · · · · · · · ·So I always had a paranoia

20· · · that -- and he fostered that -- that he

21· · · was hacking into your phone, your

22· · · computer.· He knew everything.· He

23· · · could watch everything.

24· · · · · · · · ·And I believe that I may


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·1· · · have said that to them.· I definitely

·2· · · talked about the Alexa.

·3· · · · Q.· ·You talked about it to who?

·4· · · · A.· ·Daniel.

·5· · · · Q.· ·And what did you tell him?

·6· · · · A.· ·Exactly what I just told you.

·7· · · · Q.· ·Did you tell Dr. Pipes that you

·8· · · did not want to use the Alexa?

·9· · · · A.· ·He never knew about the Alexa

10· · · until after the fact.· We probably

11· · · discussed the Alexa when Gregg was

12· · · cleaning up his office and wanted his

13· · · stuff from his office because I had put

14· · · my Alexa in there.

15· · · · · · · · ·So Daniel didn't pay much

16· · · attention to anything that was going on

17· · · in the office so he wouldn't have

18· · · known.

19· · · · Q.· ·Did you use the Alexa?

20· · · · A.· ·He told me I had to.· I think I

21· · · had it on my desk for like a day and I

22· · · didn't actually like plug it in.          I

23· · · just wanted it to be off.

24· · · · · · · · ·And then I might have, I


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·1· · · might have dabbled with it and I think

·2· · · I kind of decided like I would just

·3· · · keep it off and unplugged unless I

·4· · · wanted to like listen to something or

·5· · · whatever.

·6· · · · · · · · ·But it didn't even last

·7· · · long.· I took it out.· I wasn't

·8· · · comfortable with it.

·9· · · · Q.· ·It did not have a camera,

10· · · correct?

11· · · · A.· ·I don't know what it had.

12· · · · Q.· ·Are you aware that it did have a

13· · · camera?

14· · · · A.· ·No, I'm not aware that it did.

15· · · · Q.· ·It didn't have a display,

16· · · correct?

17· · · · A.· ·Right.· No, it didn't.

18· · · · Q.· ·So you let your -- well, let's

19· · · just back up.

20· · · · · · · · ·Mr. Ebert is a convicted

21· · · criminal, correct?

22· · · · A.· ·I don't believe so.

23· · · · Q.· ·You're not aware that your

24· · · boyfriend has a criminal history?


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·1· · · · A.· ·I know that he lost his job, but

·2· · · I don't think he was convicted.          I

·3· · · think it was expunged from his record.

·4· · · · Q.· ·Okay.· So he was convicted and

·5· · · then it was later expunged.· Is that

·6· · · correct?

·7· · · · A.· ·I don't know how that works.           I

·8· · · know that he lost his job for gambling.

·9· · · And I also know that he was good at his

10· · · job because we ran into a bunch of his

11· · · old coworkers and they were absolutely

12· · · thrilled to see him and couldn't say

13· · · enough about what a good cop he was.

14· · · · Q.· ·Are you aware that he was

15· · · terminated from his position with the

16· · · police department as a result of being

17· · · charged and convicted with illegal

18· · · bookmaking?

19· · · · A.· ·Yes.

20· · · · Q.· ·So you let Mr. Ebert into the

21· · · MEF office and specifically into

22· · · Mr. Roman's office to look around

23· · · without prior permission from anyone at

24· · · the Forum, correct?


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·1· · · · A.· ·Yes. His office was empty.· None

·2· · · of his stuff was in there though.

·3· · · · Q.· ·When was this?

·4· · · · A.· ·I don't know.· The NDA is

·5· · · probably dated.

·6· · · · Q.· ·Where is the NDA?

·7· · · · A.· ·Probably in their records.

·8· · · · Q.· ·Whose records?

·9· · · · · · · · ·MS. SHIKUNOV:· Molly, that

10· · · NDA is among the approximately 500 that

11· · · were produced

12· · · · · · · · ·MS. DIBIANCA:· No, I don't

13· · · believe it was.

14· · · BY MS. DIBIANCA:

15· · · · Q.· ·What NDA did you have him sign?

16· · · · A.· ·The NDA that anybody who visited

17· · · the office signed.

18· · · · Q.· ·And was that with the security

19· · · desk?

20· · · · A.· ·What?· No.· It was we took -- we

21· · · managed that.· We just had people sign

22· · · when they visited.

23· · · · Q.· ·Mr. Ebert testified that he

24· · · signed something at the security desk.


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·1· · · So is his recollection correct?

·2· · · · A.· ·I don't know.· I don't think so.

·3· · · I think he signed it at the desk in the

·4· · · office.· I don't think he had to sign

·5· · · in to get there.· He might have had to

·6· · · sign in to get past security.

·7· · · · Q.· ·Had you already retained counsel

·8· · · by the time, at the time that you gave

·9· · · Mr. Ebert access to the MEF office?

10· · · · A.· ·Yes.

11· · · · Q.· ·Had you filed your charge at

12· · · that time?

13· · · · A.· ·I believe so.· It was filed

14· · · before I met him, I believe.

15· · · · Q.· ·It was filed July 24th.

16· · · · A.· ·I think I had gone to Erica's

17· · · office to request that it was filed.           I

18· · · know that when --

19· · · · · · · · ·MS. SHIKUNOV:· Don't talk

20· · · about conversations at my office.· If

21· · · you don't remember if your charge was

22· · · filed at that point just say you don't

23· · · remember.

24· · · · A.· ·I don't remember.


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·1· · · · Q.· ·No.· I don't think you're

·2· · · answering the question.

·3· · · · · · · · ·You had a charge, you had

·4· · · signed the document that is the charge

·5· · · of discrimination marked as Exhibit 1

·6· · · on July 24, 2019, correct?

·7· · · · A.· ·Yeah.

·8· · · · Q.· ·And did you allow Mr. Ebert

·9· · · access to the MEF office before or

10· · · after July 24th, 2019?

11· · · · A.· ·I don't know.· I'm not sure what

12· · · the date was.· Again, the date would be

13· · · on the NDA.

14· · · · Q.· ·And was Mr. Roman's office empty

15· · · at that time?

16· · · · A.· ·I think it was, but I'm not

17· · · sure.

18· · · · · · · · ·But I also want to clarify

19· · · that I didn't allow him entry.          I

20· · · escorted him into the office.· He

21· · · jumped up on the desk, he looked around

22· · · and he did that in a couple of offices

23· · · and he checked mine and then we left.

24· · · · · · · · ·I didn't like -- he wasn't


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·1· · · like running around in there.

·2· · · · Q.· ·But which part of the statement

·3· · · that you allowed him into the office,

·4· · · which part of that do you disagree

·5· · · with?

·6· · · · A.· ·The word "allowed," like you

·7· · · said I allowed him access, like I gave

·8· · · him full rein to do whatever he wished

·9· · · in there.· I escorted him in, I walked

10· · · him to the specific spots that I wanted

11· · · him to look at and then we left.

12· · · · Q.· ·He did that with your

13· · · permission, correct?

14· · · · A.· ·Yes.

15· · · · Q.· ·Okay.· And at no time did you

16· · · ever tell Dr. Pipes that you had

17· · · invited Mr. Ebert into the office,

18· · · correct?

19· · · · A.· ·I don't think so.

20· · · · Q.· ·Did you ever tell Mr. Marc Fink

21· · · that you had brought Mr. Ebert into the

22· · · office?

23· · · · A.· ·I don't think so.

24· · · · Q.· ·Did you tell any of your


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·1· · · coworkers that you had done that?

·2· · · · A.· ·I think I may have.

·3· · · · Q.· ·Like who?

·4· · · · A.· ·Probably the people that also

·5· · · were very paranoid, Lisa, Tricia,

·6· · · Delaney and Caitriona.· And I don't

·7· · · even know if I would have told Delaney

·8· · · and Caitriona but...

·9· · · · Q.· ·We talked about the AIPAC

10· · · conference earlier.· The AIPAC

11· · · conference was in March of 2018.

12· · · · · · · · ·Did you report to Dr. Pipes

13· · · after that conference that you thought

14· · · there was something that had happened

15· · · that made you uncomfortable or was

16· · · inappropriate in any way?

17· · · · A.· ·No.

18· · · · Q.· ·And why not?

19· · · · A.· ·I don't know.· I probably should

20· · · have.· I don't know that he would have

21· · · cared but...

22· · · · Q.· ·Well, you certainly don't know

23· · · if you didn't tell him, right?

24· · · · · · · · ·MS. SHIKUNOV:· Is there a


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·1· · · question?

·2· · · · · · · · ·MS. DIBIANCA:· Yes.· She

·3· · · heard the question.

·4· · · · A.· ·No.· Correct.

·5· · · · Q.· ·Let's talk about your

·6· · · boyfriend's call to Mr. Roman.

·7· · · · · · · · ·You are aware now that

·8· · · Mr. Ebert made an anonymous phone call

·9· · · to Mr. Roman, correct?

10· · · · A.· ·Correct.

11· · · · Q.· ·Are you aware how many times

12· · · Mr. Ebert called Mr. Roman?

13· · · · A.· ·No.

14· · · · Q.· ·Have you seen the phone records?

15· · · · A.· ·I think I did.· I probably knew

16· · · at some point how many times but I

17· · · don't recall.

18· · · · Q.· ·If I told you that there were

19· · · eleven phone calls, would that sound

20· · · correct to you?

21· · · · A.· ·I think, yeah.

22· · · · Q.· ·And the phone call that was

23· · · recorded from Mr. Ebert to Mr. Roman,

24· · · that was in late September 2019.· Would


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·1· · · you agree with that?

·2· · · · A.· ·I'm sorry.· Say it again.

·3· · · · Q.· ·Sure.

·4· · · · · · · · ·The phone call from

·5· · · Mr. Ebert to Mr. Roman was in late

·6· · · September 2019, correct?

·7· · · · A.· ·If that's what you're saying.

·8· · · I'm not sure of the exact date.

·9· · · · Q.· ·Okay.· I'll make that

10· · · representation to you that it was -- I

11· · · apologize.· I don't know if it was the

12· · · 25th or the 29th, but it was around

13· · · that time in September of 2019 just so

14· · · we have a decent chronology.

15· · · · A.· ·Okay.

16· · · · Q.· ·So before September 25th we'll

17· · · call it, September 25th, 2019, prior to

18· · · that what had you told Mr. Ebert about

19· · · your work, about MEF?

20· · · · A.· ·Not much.· I did -- he knew I

21· · · guess that there was a lawsuit.          I

22· · · never discussed it with him

23· · · specifically, the details of it.          I

24· · · might have glossed over some stuff, but


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·1· · · we weren't dating for that long at that

·2· · · point.· I guess at that point I just

·3· · · didn't confide that stuff in him.

·4· · · · Q.· ·Okay.· Have you heard the tape

·5· · · of that phone call?

·6· · · · A.· ·I heard a piece of it.

·7· · · · Q.· ·I am going to play the tape here

·8· · · in a moment, but actually if you could

·9· · · just hold for me for one minute I'm

10· · · going to adjust the blinds in my office

11· · · because I'm currently being blinded.

12· · · Hold on.

13· · · · · · · · ·Okay.· Thanks so much.

14· · · · · · · · ·Had you told Mr. Ebert prior

15· · · to his phone call to Mr. Roman in

16· · · September 2019 that Mr. Roman had been

17· · · excluded from the office at the

18· · · direction of Dr. Pipes?

19· · · · A.· ·I don't know that I told him

20· · · directly, but I have friends that I

21· · · talk to and, you know, work calls and

22· · · stuff so I don't know what he may have

23· · · overheard.

24· · · · Q.· ·What are the names of the


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·1· · · friends that you talked to about it?

·2· · · · A.· ·I'll be honest, I was really

·3· · · nervous for the longest time to say

·4· · · very much to anybody because I was so

·5· · · afraid of the NDA and getting in

·6· · · trouble for talking about MEF business.

·7· · · So I really was very quiet about what I

·8· · · said about it because I was afraid of

·9· · · that on top of everything else that I

10· · · was afraid of.

11· · · · · · · · ·But I do have certain

12· · · friends, Tracy McKinley, Monica Vona

13· · · that I talked to about it, Bill

14· · · Schlosky, my girlfriend Peggy Reese

15· · · probably would be who I really

16· · · consulted and cried to.

17· · · · Q.· ·You supported the decision to

18· · · terminate Tiffany Lee, correct?

19· · · · A.· ·I guess I did.

20· · · · Q.· ·What is Ms. Reese's phone

21· · · number, please?

22· · · · A.· ·Phone number?

23· · · · Q.· ·Phone number.

24· · · · · · · · ·MS. SHIKUNOV:· Molly, I


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·1· · · don't have a problem giving that to

·2· · · you, but can we do that off the record?

·3· · · · A.· ·Did you hear Erica?

·4· · · · Q.· ·I did.

·5· · · · A.· ·She asked if we could give that

·6· · · to you off the record.

·7· · · · · · · · ·MS. DIBIANCA: Erica, can you

·8· · · e-mail it to me?

·9· · · · · · · · ·MS. SHIKUNOV:· Yes.

10· · · · · · · · ·MS. DIBIANCA:· Yes, that

11· · · would be fine.

12· · · · · · · · ·THE VIDEOGRAPHER:· Do you

13· · · want me to go off the record?

14· · · · · · · · ·MS. DIBIANCA:· Nope.· That's

15· · · okay.· We're going to carry on.· Thank

16· · · you for asking.

17· · · BY MS. DIBIANCA:

18· · · · Q.· ·Did you tell Mr. Ebert -- so

19· · · your testimony is that you didn't tell

20· · · Mr. Ebert about the happenings in the

21· · · workplace prior to September 25, 2019?

22· · · · A.· ·I don't know how much I told him

23· · · to be honest or if I told him anything.

24· · · Like I just kept that -- I didn't, like


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·1· · · I said, I didn't talk about it that

·2· · · much.· I was afraid to talk about it.

·3· · · I didn't know who it was okay to talk

·4· · · about it with.

·5· · · · · · · · ·I don't know what I may have

·6· · · said or not said.· I'm sure there were

·7· · · some inklings of there being like a

·8· · · lawsuit, but I didn't really go into it

·9· · · with him.

10· · · · Q.· ·At some point Mr. Roman was

11· · · considering promoting Ms. Barbounis,

12· · · correct?

13· · · · A.· ·What do you mean "promoting"?           I

14· · · think he was going to move her or at

15· · · least give her some content work.

16· · · · · · · · ·Is that what you mean?

17· · · · Q.· ·Okay.· And did you support that

18· · · idea?

19· · · · A.· ·I believe I did.

20· · · · Q.· ·What about was she going to be

21· · · made deputy chief of staff at some

22· · · point?

23· · · · A.· ·Wait.· Gregg was promoting her

24· · · to that?


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·1· · · · Q.· ·Did Gregg discuss that with you?

·2· · · · A.· ·I think that was a title that

·3· · · she got or something like that.          I

·4· · · remember thinking that it was a weird

·5· · · title.· I remember thinking that she

·6· · · should be in the context of that's what

·7· · · she wanted to do at the beginning

·8· · · anyway.

·9· · · · · · · · ·I don't remember about the

10· · · title or what the job was.· I think she

11· · · wanted a title that was in line with

12· · · like the government jobs that she had

13· · · before.

14· · · · Q.· ·I'm going to represent to you

15· · · this was around the time that Daniel

16· · · was considering promoting Mr. Roman to

17· · · CEO.

18· · · · · · · · ·Does that help you refresh

19· · · your recollection?

20· · · · A.· ·Not really.· There was a lot of

21· · · title talk all the time.· Everybody was

22· · · talking about their titles.· He was

23· · · telling me that I was going to be the

24· · · CFO.


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·1· · · · · · · · ·So I mean if that was her

·2· · · title, then I guess yeah.· Actually, I

·3· · · think he was going to make me the COO

·4· · · and then it changed and then Daniel was

·5· · · going to be the CEO, Gregg was going to

·6· · · be the CFO -- or COO and I was going to

·7· · · be the CFO.

·8· · · · Q.· ·Okay.

·9· · · · A.· ·I don't remember what Lisa was

10· · · going to be.

11· · · · Q.· ·Okay.· When Ms. Barbounis

12· · · requested that Mr. Roman be allowed to

13· · · return to some of his administrative

14· · · duties that had been stripped from him

15· · · in November of 2018, were you surprised

16· · · by that request or did she tell you

17· · · that that was her intent prior to

18· · · making it?

19· · · · A.· ·I don't think she told me that

20· · · prior.· I was shocked.· And I could see

21· · · that Daniel needed for the good of the

22· · · organization for Gregg to be involved

23· · · and at least keep his position, his

24· · · title.· He was the face of the


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·1· · · organization almost as much as Daniel

·2· · · was at that point.

·3· · · · · · · · ·So it definitely would have

·4· · · hurt to not have his face on there, but

·5· · · I don't think leopards change their

·6· · · spots and I didn't want him in the

·7· · · office.· And yes, I was surprised that

·8· · · she would want more involvement with

·9· · · him.

10· · · · Q.· ·On July 24th, 2019 at around

11· · · 1:00 p.m. you deleted more than a

12· · · thousand documents from Dropbox.· Why

13· · · is that?

14· · · · A.· ·I deleted?· Did we move them

15· · · into Google Drive?· Because there was a

16· · · point where we were changing platforms

17· · · and we were moving out of Dropbox and

18· · · then everything was getting mirrored

19· · · into Google Drive, I think, and we were

20· · · supposed to be using that.

21· · · · · · · · ·And then I don't know what I

22· · · would have deleted.· If I did, I might

23· · · have done it unintentionally.

24· · · · Q.· ·So that was the same day you


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·1· · · filed your charge of discrimination.

·2· · · · · · · · ·Does that help you refresh

·3· · · your recollection?

·4· · · · A.· ·It really doesn't.· It's not --

·5· · · it doesn't seem like something that I

·6· · · would do.

·7· · · · Q.· ·And why doesn't it?

·8· · · · A.· ·Because I don't know why I would

·9· · · get rid of a thousand -- what were

10· · · they?

11· · · · Q.· ·Why wouldn't you have deleted a

12· · · thousand documents?· What makes you say

13· · · that, it doesn't sound like something

14· · · that you would do?

15· · · · A.· ·Because I wouldn't destroy that.

16· · · I don't know what I would have been

17· · · getting rid of.

18· · · · Q.· ·And at that point you already

19· · · had a litigation hold letter, correct,

20· · · instructing you to preserve documents

21· · · and evidence, correct?

22· · · · A.· ·Yes.

23· · · · Q.· ·Okay.· So you would agree with

24· · · me if, in fact, you did delete more


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·1· · · than a thousand documents from Dropbox

·2· · · on July 24th, 2019 at 12:53 p.m. that

·3· · · would have been in violation of that

·4· · · litigation hold letter, correct?

·5· · · · A.· ·Yeah.· It's another reason I

·6· · · wouldn't have done it.· But it should

·7· · · also be there because everything was

·8· · · mirrored into Google Drive so then it

·9· · · should be in the Google Drive if it's

10· · · not in the Dropbox.

11· · · · Q.· ·You also blind copied your

12· · · personal gmail account on multiple MEF

13· · · e-mails, correct?

14· · · · A.· ·Yes, I did.

15· · · · Q.· ·Why did you do that?

16· · · · A.· ·It was when I was feeling

17· · · persecuted and felt like I was being

18· · · harassed and I felt like Daniel was

19· · · going back on his word, so I was

20· · · sending myself proof of that.

21· · · · Q.· ·So let's break that down a

22· · · little.

23· · · · · · · · ·When did you start blind

24· · · copying your personal e-mail?


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·1· · · · A.· ·I don't know.

·2· · · · Q.· ·Did you do that -- once you

·3· · · started doing it, did you keep doing it

·4· · · throughout the rest of your employment?

·5· · · · A.· ·I don't, I don't know.· I mean

·6· · · if you want to show me what I blind

·7· · · copied, I'll tell you what my thought

·8· · · process was.· I don't know.

·9· · · · · · · · ·I know that I was scared all

10· · · the time and that I was nervous and

11· · · that I felt like I needed to protect

12· · · myself.

13· · · · Q.· ·And at that point there was no

14· · · harassment, correct?

15· · · · · · · · ·MS. SHIKUNOV:· At what point

16· · · are we talking about?

17· · · · · · · · ·MS. DIBIANCA:· Whenever she

18· · · started blind copying herself.· She

19· · · testified that she felt she was being

20· · · harassed, but I'm confused why that is.

21· · · · A.· ·Well, prior to the complaint

22· · · being filed to Daniel and Gregg being

23· · · pushed out of the office, I was just

24· · · given like -- it was just if they asked


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·1· · · me for something I would do it.· Now

·2· · · all of a sudden every time I was asked

·3· · · for something it was by close of

·4· · · business, by close of business and I

·5· · · had to -- it basically felt like they

·6· · · were trying to document anything that I

·7· · · was doing that they thought was wrong,

·8· · · anything that they could get on me.           I

·9· · · felt like I was being documented.

10· · · · Q.· ·But you weren't even interacting

11· · · at that point with Mr. Roman, correct?

12· · · · · · · · ·MS. SHIKUNOV:· Again, I'm

13· · · going to ask you at what point?

14· · · Because you're giving her random times

15· · · and space.· You're not limiting your

16· · · questions at all.· You're just saying

17· · · at that point, at that point.

18· · · · · · · · ·I don't even know when we're

19· · · talking about.

20· · · · Q.· ·Ms. O'Brien, when did you start

21· · · blind copying yourself, your personal

22· · · e-mail account?

23· · · · A.· ·I don't recall.

24· · · · Q.· ·So if you don't recall when you


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·1· · · started to do it, do you recall why you

·2· · · started to do it?

·3· · · · A.· ·Because I felt like I needed to

·4· · · document stuff, Daniel going against

·5· · · what he had originally said he was

·6· · · going to do and different things that I

·7· · · felt were representative of harassment

·8· · · and stuff that I felt protected me.

·9· · · · · · · · ·That's what I was doing.

10· · · · Q.· ·What did Daniel do to go against

11· · · what he was going to do?· What do you

12· · · mean by that?

13· · · · A.· ·When he told me that I had to

14· · · send Gregg the work.· He was paying

15· · · Marc Fink $2,000 a month to pick up

16· · · extra responsibilities in regard to the

17· · · office.· I was supposed to be reporting

18· · · to Marc, so all of a sudden Gregg was

19· · · the one that was handling the audit.           I

20· · · was told that he was not going to be

21· · · taking part in the finances and he was.

22· · · · Q.· ·He was only insofar as the

23· · · audit, correct?

24· · · · · · · · ·I'm sorry.· I didn't mean to


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·1· · · cut you off.· Go ahead.

·2· · · · A.· ·It's fine.· What?

·3· · · · Q.· ·Mr. Roman was involved in the

·4· · · finances only as far as the audit,

·5· · · correct?

·6· · · · A.· ·I think.

·7· · · · Q.· ·And once he got involved in the

·8· · · audit you were no longer involved in

·9· · · the audit, correct?

10· · · · A.· ·Correct.· I felt Marc Fink

11· · · should have been doing that because he

12· · · was getting paid extra money to be the

13· · · point person at the office.

14· · · · Q.· ·Right.· But Mr. Fink is in-house

15· · · counsel.· So you're saying that you

16· · · thought Mr. Fink's job should have been

17· · · to run the organization's audit?

18· · · · A.· ·When everything happened and

19· · · Gregg was removed from his

20· · · responsibilities, I was not to be under

21· · · Gregg, my work was not to be under

22· · · Gregg.· Marc was the one that was

23· · · supposed to be handling -- he was my

24· · · report to, him and Daniel and, as such,


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·1· · · you know, Daniel had asked me to be, he

·2· · · actually asked me to be a point person

·3· · · at the office.

·4· · · · · · · · ·And this was after he asked

·5· · · Tricia to be the point person for the

·6· · · development and he offered Tricia an

·7· · · extra thousand dollars to pick up those

·8· · · extra responsibilities.· He didn't

·9· · · offer me any money.· And I said well,

10· · · you're giving Tricia extra money.· Why

11· · · wouldn't I get extra money?

12· · · · · · · · ·And then I said okay, well,

13· · · then, I guess I'm not doing it.

14· · · · · · · · ·After that he said he would

15· · · think about it.· And then the next time

16· · · I heard of it he had put out to the

17· · · office staff and said we're going to

18· · · have a vote to see who's the point

19· · · person for the office.

20· · · · · · · · ·So the vote happened.· And I

21· · · said okay, I'm going to put myself up

22· · · because I've already told him that I

23· · · want to get paid for it.· So if they

24· · · vote for me, then he would have to pay


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·1· · · me for it because he knows I'm not

·2· · · doing it otherwise.

·3· · · · · · · · ·So they had the vote.· They

·4· · · picked Lisa for it, which was

·5· · · completely weird because she didn't

·6· · · want any administrative

·7· · · responsibilities so I didn't even

·8· · · understand why she put herself up for

·9· · · it.· And I would have thought that if

10· · · they were going to vote for somebody to

11· · · be the point person on the

12· · · administrative stuff they would have

13· · · picked me since most of it fell under

14· · · my umbrella anyway.

15· · · · · · · · ·I flipped out.· I thought it

16· · · was bullshit.· I said it was bullshit

17· · · to Daniel.· And he said to me that he

18· · · suspected Lisa must have been

19· · · campaigning behind the scenes.· And

20· · · then he didn't give her the job.· He

21· · · gave Marc Fink the job and he paid him

22· · · $2,000 extra a month to do it.

23· · · · · · · · ·So I feel like if somebody

24· · · was going to pick up the audit it


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·1· · · should have been him.

·2· · · · Q.· ·Who's "him"?

·3· · · · A.· ·Marc Fink.

·4· · · · Q.· ·Okay.· By blind copying your

·5· · · personal e-mail -- what is your

·6· · · personal e-mail address, by the way?

·7· · · · A.· ·Marniem03@gamail.com.

·8· · · · Q.· ·By blind copying that e-mail

·9· · · address you were in violation of the

10· · · Forum's policies, correct?

11· · · · A.· ·I didn't know that.

12· · · · Q.· ·You revised the handbook,

13· · · correct?

14· · · · A.· ·I was requested to do that.

15· · · · Q.· ·Ma'am, you signed an NDA or

16· · · multiple NDA's, correct?

17· · · · A.· ·Mm-hmm.

18· · · · Q.· ·Yes?

19· · · · A.· ·Yes.· Sorry.

20· · · · Q.· ·That's quite all right.

21· · · · · · · · ·And do you understand that

22· · · part of a non-disclosure agreement, the

23· · · purpose of a non-disclosure agreement

24· · · is so that Forum information does not


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·1· · · go outside the Forum?

·2· · · · A.· ·Okay.· Well, then I guess I was

·3· · · in violation of it.

·4· · · · Q.· ·Have you produced the e-mails

·5· · · that you blind copied to your personal

·6· · · gmail account?

·7· · · · · · · · ·Have you produced those to

·8· · · counsel in this case?

·9· · · · A.· ·Yes.

10· · · · Q.· ·And how did you go about

11· · · collecting those?

12· · · · A.· ·I don't know what you mean.· You

13· · · just said that I e-mailed them to

14· · · myself.

15· · · · Q.· ·No.· That's okay.· I meant with

16· · · regard to this litigation.

17· · · · · · · · ·Once the litigation started

18· · · at some point did you go into your

19· · · gmail account and collect the e-mails

20· · · that you had sent to it, blind copied

21· · · to it and turn them over to counsel?

22· · · · A.· ·Yes.

23· · · · Q.· ·And approximately how many were

24· · · there?


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·1· · · · A.· ·I don't recall.

·2· · · · Q.· ·Do you recall if it was more

·3· · · than five?

·4· · · · A.· ·Yeah.

·5· · · · Q.· ·Do you recall if it was more

·6· · · than fifty?

·7· · · · A.· ·I don't think so.

·8· · · · Q.· ·Okay.· Was the rumor true about

·9· · · you having slept with your previous

10· · · employer?

11· · · · A.· ·No.

12· · · · Q.· ·Okay.· Did you communicate with

13· · · Ms. Barbounis via WhatsApp?

14· · · · A.· ·I don't think so.· I never

15· · · really used WhatsApp.

16· · · · · · · · ·NS, DIBIANCA: Let's take,

17· · · Erica, is it okay if we take five

18· · · minutes?

19· · · · · · · · ·MS. SHIKUNOV:· Yes.

20· · · · · · · · ·MS. DIBIANCA:· So we'll go

21· · · off.

22· · · · · · · · ·THE VIDEOGRAPHER:· Going off

23· · · the record the record at 2:50.

24· · · · · · · · ·(A brief recess was taken.)


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·1· · · · · · · · ·THE VIDEOGRAPHER:· We are on

·2· · · the record at 3:01.

·3· · · BY MS. DIBIANCA:

·4· · · · Q.· ·Ms. O'Brien, have you sought any

·5· · · kind of therapy for what you claim to

·6· · · be the harassment?

·7· · · · A.· ·No.

·8· · · · Q.· ·Are you medicated as a result of

·9· · · what you claim to have been harassment?

10· · · · A.· ·I didn't -- no.· No.

11· · · · Q.· ·Has this lawsuit been stressful

12· · · for you?

13· · · · A.· ·Yes.

14· · · · Q.· ·Very?

15· · · · A.· ·Yes.

16· · · · Q.· ·Has the pandemic been stressful

17· · · for you?

18· · · · A.· ·Sure.· Yeah.· It's been

19· · · stressful for everyone, yeah.

20· · · · Q.· ·And losing your employment with

21· · · 1 Construction, that was stressful for

22· · · you as well, correct?

23· · · · A.· ·Yes.

24· · · · Q.· ·Finding out that your domestic


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·1· · · partner/boyfriend Mr. Ebert

·2· · · intentionally sabotaged your job

·3· · · opportunity with the Kimmel Center,

·4· · · that was stressful for you as well,

·5· · · correct?

·6· · · · A.· ·Stressful and heartbreaking.

·7· · · · Q.· ·And the fact that Mr. Ebert

·8· · · called Mr. Roman behind your back, that

·9· · · also was stressful for you?

10· · · · A.· ·Correct.

11· · · · Q.· ·How do you deal with these

12· · · stressors?

13· · · · A.· ·What do you mean?· Are you

14· · · asking about my marijuana use?· Because

15· · · that's how I deal with it.

16· · · · Q.· ·Okay.· You are aware that you

17· · · have made an initial demand for $3

18· · · million in emotional distress, pain and

19· · · suffering and physical injury, correct?

20· · · · · · · · ·MS. SHIKUNOV:· I am going to

21· · · object to that insofar as it asks for

22· · · communications with counsel, that the

23· · · demand has been withdrawn and that that

24· · · was not the initial demand that was


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·1· · · conveyed to Mr. Walton last winter.

·2· · · · · · · · ·That was a demand that was

·3· · · put forth in disclosures.

·4· · · · · · · · ·MS. DIBIANCA:· And that's

·5· · · actually what I'm referring.· So let me

·6· · · pull that up so we're all on the same

·7· · · page.· Okay?· Hold on.

·8· · · · · · · · ·So I believe this will be

·9· · · Exhibit 3 and I'll let Jakob correct us

10· · · if I'm wrong.

11· · · · · · · · ·MR. WILLIAMS:· That's

12· · · correct.

13· · · · · · · · ·MS. DIBIANCA:· Great.· Thank

14· · · you.

15· · · · · · · · ·(O'Brien Deposition Exhibit

16· · · No. 3 was marked for identification.)

17· · · BY MS. DIBIANCA:

18· · · · Q.· ·Ms. O'Brien, can you see the

19· · · exhibit that's on my screen?

20· · · · A.· ·No.

21· · · · Q.· ·No?

22· · · · A.· ·Mm-mm.

23· · · · Q.· ·Sorry.

24· · · · A.· ·No.


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·1· · · · Q.· ·That's why I asked.· How about

·2· · · now?

·3· · · · A.· ·Yes.

·4· · · · Q.· ·Okay.· So Erica and Marnie, you

·5· · · must have dueling mikes because we have

·6· · · an echoe again.

·7· · · · A.· ·Oh, I think I -- there we go.

·8· · · · · · · · ·MS. SHIKUNOV:· You just said

·9· · · something we didn't hear.

10· · · · · · · · ·MS. DIBIANCA:· I think

11· · · because, Erica, you need to turn your

12· · · mike off.

13· · · · A.· ·I think we're good now.

14· · · · Q.· ·Yep.

15· · · · · · · · ·So can you see the document,

16· · · Ms. O'Brien, that's on my screen that

17· · · says Rule 26(a)(1) Initial Disclosures

18· · · Of Plaintiff?

19· · · · A.· ·Yes.

20· · · · Q.· ·Have you seen this document

21· · · before?

22· · · · A.· ·Yes.

23· · · · Q.· ·I'm going to scroll down into

24· · · section III where it says Computation


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·1· · · of Damages.· And it states "At this

·2· · · juncture, Plaintiff is claiming the

·3· · · following damages:"

·4· · · · · · · · ·And I will just tell you

·5· · · that this is dated December 31, 2020.

·6· · · So as of December 31, 2020, is it

·7· · · correct to say that you are seeking

·8· · · emotional distress and physical injury

·9· · · in the amount of $3 million?

10· · · · · · · · ·MS. SHIKUNOV:· I'm going to

11· · · instruct her not to answer that because

12· · · that goes to attorney-client privilege.

13· · · Molly, you can't ask her how she

14· · · computated her damages.

15· · · · · · · · ·MS. DIBIANCA:· Actually,

16· · · there is a wealth of case law on that,

17· · · Erica, that I absolutely can ask her

18· · · how she calculated the damages, but I'm

19· · · not asking her to calculate them.

20· · · · · · · · ·All I'm asking her is to

21· · · confirm that as of December 31, 2020

22· · · she was demanding $3 million for

23· · · emotion distress and physical injury.

24· · · · · · · · ·Is that correct?


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·1· · · · A.· ·Yes.

·2· · · · Q.· ·And what's the basis for you to

·3· · · say that you have a physical injury?

·4· · · · · · · · ·What is the physical injury

·5· · · that you sustained, Ms. O'Brien, as a

·6· · · result of defendants?

·7· · · · A.· ·I think I thought -- I don't

·8· · · have a physical injury.· Isn't that

·9· · · just like both of them together?          I

10· · · don't know.

11· · · · Q.· ·Do you have $3 million in

12· · · emotional distress damages?

13· · · · A.· ·I probably have more than that.

14· · · · Q.· ·It says "Lost Wages.· The annual

15· · · salary at the time of Plaintiff's date

16· · · of termination times 10 years, plus

17· · · bonuses, commissions, health insurance,

18· · · pension, profit sharing and all other

19· · · expected raises and benefits."

20· · · · · · · · ·You did not have health

21· · · insurance with the Forum, correct?

22· · · · A.· ·I did originally.· It was taken

23· · · from me.

24· · · · Q.· ·When was it taken from you?


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·1· · · · A.· ·When Daniel learned that I had

·2· · · it.

·3· · · · Q.· ·You said, you testified earlier

·4· · · that you stayed married to your husband

·5· · · so you could stay on his benefits,

·6· · · correct?

·7· · · · A.· ·Right.· And when I went off I

·8· · · went onto the Forum's plan.

·9· · · · Q.· ·And how long did you have it

10· · · through the Forum?

11· · · · A.· ·I don't know.· A couple of

12· · · years, I guess.

13· · · · Q.· ·So two of the three years that

14· · · you were employed there?

15· · · · A.· ·That sounds about right.

16· · · · Q.· ·And at the time of your

17· · · separation, at the time you resigned

18· · · you did not have health insurance,

19· · · correct?

20· · · · A.· ·The time I resigned from the

21· · · Forum?

22· · · · Q.· ·Yes.

23· · · · A.· ·Well, generally when someone

24· · · leaves you offer them a COBRA.· In


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·1· · · PA -- the federal if you're over fifty

·2· · · employees it's mandatory that you offer

·3· · · I think 18-month COBRA.

·4· · · · · · · · ·PA has it's called a mini-

·5· · · COBRA and you're supposed to offer it

·6· · · for nine months.

·7· · · · · · · · ·I was never offered it and I

·8· · · was never told I was removed from the

·9· · · benefits.· I found out -- I forget how

10· · · I found out, but I needed to scramble

11· · · to get insurance right in the middle of

12· · · the epidemic.

13· · · · Q.· ·So your testimony is confusing

14· · · me because I thought you said that

15· · · Daniel Pipes had you removed from the

16· · · benefit plan when he found out that you

17· · · were enrolled in it.

18· · · · A.· ·No.· I had to pay for it.· I was

19· · · being -- it was being paid for.· Gregg

20· · · knew that I had wanted a higher salary

21· · · when I started there and he I think was

22· · · afraid I was going to jump, which is

23· · · actually what I was going to do, and I

24· · · needed, you know, I wanted to have my


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·1· · · benefits paid for.

·2· · · · · · · · ·Well, actually he said how

·3· · · about if I pay for your benefits?

·4· · · · · · · · ·And I said are you allowed

·5· · · to do that?

·6· · · · · · · · ·And he said I am doing that.

·7· · · · · · · · ·And then he decided that he

·8· · · would get his benefits fully paid, I

·9· · · would get my benefits fully paid and

10· · · Daniel, I think his ex-wife and his

11· · · daughter were on the plan so theirs was

12· · · fully paid as well.

13· · · · Q.· ·At the time you gave your notice

14· · · of resignation to the Forum, were you

15· · · enrolled in the Forum's healthcare

16· · · plan?

17· · · · A.· ·Yes.· And I was paying for it by

18· · · myself at that point, well, whatever

19· · · the split was.

20· · · · Q.· ·At the time you separated from

21· · · the Forum did you have a pension plan

22· · · with the Forum?

23· · · · A.· ·No.

24· · · · Q.· ·At the time that you were


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·1· · · separated from the Forum did you have a

·2· · · profit sharing plan with the Forum?

·3· · · · A.· ·No.

·4· · · · Q.· ·At any time during your

·5· · · employment did you have a pension or

·6· · · profit sharing plan with the Forum?

·7· · · · A.· ·No.

·8· · · · Q.· ·Okay.· Did you ever earn

·9· · · commissions from the Forum?

10· · · · A.· ·No.

11· · · · Q.· ·Did you ever have any

12· · · expectation to earn a commission at the

13· · · Forum?

14· · · · A.· ·No.

15· · · · Q.· ·So let's talk about the

16· · · emotional distress $3 million number.

17· · · · · · · · ·What is the basis for that

18· · · claim?

19· · · · A.· ·I was sexually harassed.· I was

20· · · intimidated.· I was bullied.· I was

21· · · after the fact continued to be

22· · · harassed.

23· · · · Q.· ·At what point?

24· · · · A.· ·After I reported it.


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·1· · · · Q.· ·I'm sorry.· You're saying now

·2· · · that you were continued to be harassed?

·3· · · · A.· ·No.· After I reported the issue

·4· · · to Daniel for my entire, for my entire

·5· · · work life there I think I was bullied

·6· · · to some degree and sexually, and

·7· · · definitely sexually harassed.

·8· · · · · · · · ·And after the complaint was

·9· · · filed I felt like I was being

10· · · retaliated against.

11· · · · Q.· ·So, Ms. O'Brien, you've

12· · · testified today several times that you

13· · · basically had no contact with Mr. Roman

14· · · after your November 5th complaint.· So

15· · · how is it that you were sexually

16· · · harassed for the entirety of your

17· · · employment?

18· · · · A.· ·Well --

19· · · · Q.· ·Who sexually harassed you after

20· · · November 5th, 2018?

21· · · · A.· ·Well, I felt harassed.

22· · · · · · · · ·MS. SHIKUNOV:· I'm going to

23· · · object because you just asked her two

24· · · questions at the same time without


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·1· · · allowing her to answer.

·2· · · · · · · · ·So what is your question?

·3· · · · Q.· ·Who harassed you after November

·4· · · 5th, 2018?· Who sexually harassed you?

·5· · · · A.· ·I felt harassed by the rumor

·6· · · about Kevin Brady, me sleeping with

·7· · · Kevin Brady.· He may have started it

·8· · · before, but it was now being talked

·9· · · about around by everyone again.

10· · · · · · · · ·I also know that someone was

11· · · shouting about my sex life and I suck

12· · · big black cock.· Those are issues to

13· · · me.

14· · · · Q.· ·You're aware that Ms. Barbounis

15· · · said that, correct?

16· · · · A.· ·Yes.

17· · · · Q.· ·And you're aware that that was

18· · · long before November 5, 2018, correct?

19· · · · A.· ·I didn't hear about it until

20· · · after.

21· · · · Q.· ·Okay.· So after November 5, 2018

22· · · did Mr. Roman sexually harass you?

23· · · · A.· ·No.

24· · · · Q.· ·Did Daniel Pipes at any time


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·1· · · sexually harass you?

·2· · · · A.· ·No.

·3· · · · Q.· ·Did Ms. Barbounis tell you that

·4· · · when she went to Israel with Mr. Roman

·5· · · Mr. Roman attempted to force himself on

·6· · · her?

·7· · · · A.· ·Not -- I guess she said that he

·8· · · was trying to get her to have sex with

·9· · · him and he was very aggressive and she

10· · · was scared.

11· · · · Q.· ·So my question is:· At any time

12· · · did Ms. Barbounis tell you that

13· · · Mr. Roman had tried to force himself on

14· · · her?

15· · · · A.· ·She felt like he was forcing it.

16· · · He was screaming and yelling and she

17· · · had to go in and lock the door so she

18· · · felt like she was -- he was trying

19· · · force her.

20· · · · Q.· ·Okay.· Ms. Barbounis testified

21· · · that they were sitting on a couch when

22· · · this incident occurred.· She didn't

23· · · testify anything about him yelling or

24· · · screaming.


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·1· · · · · · · · ·So are you sure about your

·2· · · recollection of what she told you?

·3· · · · A.· ·Yes.· She told me that when she

·4· · · declined and she wasn't going to have

·5· · · sex with him he became irate and he was

·6· · · yelling and screaming, yelling and

·7· · · screaming and she was scared.

·8· · · · Q.· ·Okay.· And she did not tell you

·9· · · that he tried to force himself on her?

10· · · I'm asking about those words

11· · · specifically.

12· · · · · · · · ·Did she say --

13· · · · A.· ·So --

14· · · · Q.· ·I'm going to finish my question.

15· · · · · · · · ·Did she say to you Gregg

16· · · tried to force himself on me?

17· · · · A.· ·I don't recall her exact words,

18· · · but I know that she felt forced, like

19· · · he was trying to force it.· He was

20· · · yelling and pressuring her and she was

21· · · scared and had a knife under her

22· · · pillow.

23· · · · Q.· ·When you say force himself on

24· · · her, to me that sounds like an


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·1· · · attempted sexual assault.· Would you

·2· · · agree with me?

·3· · · · A.· ·Yeah.· Yeah.· That's what I was

·4· · · trying to say.· So maybe he was being

·5· · · forceful.

·6· · · · Q.· ·So to the best of your

·7· · · recollection, Ms. Barbounis did not

·8· · · tell you that when she went to Israel

·9· · · with Mr. Roman Mr. Roman attempted to

10· · · force himself on her?

11· · · · · · · · ·MS. SHIKUNOV:· Objection.

12· · · Asked and answered.· She said, she's

13· · · answered this question now seven times.

14· · · · · · · · ·MS. DIBIANCA: Yeah.· But it

15· · · hasn't been -- I'm going to let her

16· · · answer it again.· If you want to count

17· · · to eight, I'm happy to let you do that.

18· · · · A.· ·I don't remember her exact

19· · · words.· So forced may not have been

20· · · used properly, but I don't, I don't

21· · · recall her exact words.

22· · · · Q.· ·Okay.· Would you agree with me

23· · · that it's a pretty serious allegation

24· · · to say that a man forced himself or


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·1· · · attempted to force himself on a woman?

·2· · · · A.· ·Yes.

·3· · · · Q.· ·Yes.· Okay.· If your son was

·4· · · accused of attempting to force himself

·5· · · on a woman, would you be seriously

·6· · · offended by that?

·7· · · · A.· ·Yes.

·8· · · · Q.· ·Yes.· Okay.

·9· · · · · · · · ·At the meeting on November

10· · · 1st, 2018 were employees pressured to

11· · · sign a non-disclosure agreement?

12· · · · A.· ·Well, the meeting was deemed

13· · · mandatory and it was mandatory that

14· · · everyone sign the NDA prior to the

15· · · meeting.

16· · · · Q.· ·So the answer is no then?

17· · · · · · · · ·MS. SHIKUNOV:· She didn't

18· · · answer no.· You're putting words in her

19· · · mouth.

20· · · · · · · · ·If you want to ask a

21· · · question, her answer stands.

22· · · · Q.· ·All employees at the meeting --

23· · · tell me if you agree or disagree with

24· · · this:· At the November 1st, 2018


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·1· · · meeting all employees were pressured to

·2· · · sign a non-disclosure agreement?

·3· · · · A.· ·I agree with that.

·4· · · · Q.· ·And how were they pressured to

·5· · · sign a non-disclosure agreement at the

·6· · · meeting?

·7· · · · A.· ·Because he gave it, I think he

·8· · · sent it prior to the meeting, but they

·9· · · were pressured to sign it before

10· · · participating in the meeting and the

11· · · meeting was mandatory.

12· · · · Q.· ·So was the NDA discussed at the

13· · · meeting?

14· · · · A.· ·I don't recall.· It was

15· · · discussed, there was discussion about

16· · · it before because it wasn't the same

17· · · NDA that we had signed and there were

18· · · additional items in there.· And one of

19· · · them was that if somebody at the Forum

20· · · behaved inappropriately we weren't

21· · · allowed to tell anybody.

22· · · · Q.· ·At the meeting were employees

23· · · pressured to sign a non-disclosure

24· · · agreement?


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·1· · · · A.· ·Yes.· They had to sign it to

·2· · · participate in the meeting and the

·3· · · meeting was mandatory, so they were

·4· · · pressured.

·5· · · · Q.· ·At the meeting --

·6· · · · · · · · ·MS. SHIKUNOV:· I'm going to

·7· · · object to asked and answered at this

·8· · · point.

·9· · · · · · · · ·And I'm going to instruct

10· · · you not to answer this question any

11· · · further.

12· · · · · · · · ·You've now asked it upwards

13· · · of ten times.

14· · · · · · · · ·MS. DIBIANCA:· Erica, you

15· · · understand why I'm asking though,

16· · · correct?

17· · · · · · · · ·MS. SHIKUNOV:· No, I don't.

18· · · Because she's answered you several

19· · · times.· I feel like I'm listening to a

20· · · broken record.

21· · · · · · · · ·MS. DIBIANCA:· They're not

22· · · even close because what she's saying is

23· · · completely different than what I'm

24· · · asking.· She is saying repeatedly -- if


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·1· · · you want to call it ten times, go for

·2· · · it, let's call it ten times.

·3· · · · · · · · ·She has said that they were

·4· · · pressured to sign it at the meeting but

·5· · · that they could not attend it without

·6· · · signing it.· So they either signed it

·7· · · before they showed up or they discussed

·8· · · it afterwards.· But if they couldn't

·9· · · come to the meeting unless they had an

10· · · non-disclosure agreement, then how

11· · · could they have been pressured to sign

12· · · it at that meeting?

13· · · · A.· ·I said that they were pressured

14· · · into signing it.· I said that he sent

15· · · it prior and they weren't allowed in

16· · · unless it was signed.

17· · · · Q.· ·Right.· Exactly.· And so I'll

18· · · say my question for, according to

19· · · Ms. Shikunov, my 11th time.

20· · · · · · · · ·At the meeting, if you

21· · · prefer I can say during the meeting,

22· · · was anyone pressured to sign a non-

23· · · disclosure agreement?

24· · · · A.· ·No.


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·1· · · · Q.· ·Okay.· After your report to

·2· · · Dr. Pipes on November 1st, 2018, would

·3· · · you agree with me that Mr. Roman was

·4· · · disciplined?

·5· · · · A.· ·I mean he kept his job.· He got

·6· · · to work from home.

·7· · · · Q.· ·Please answer the question.

·8· · · · A.· ·He had less responsibility.· It

·9· · · didn't seem like severe discipline.

10· · · · Q.· ·After your report to Dr. Pipes

11· · · on November 1st, 2018 was Mr. Roman

12· · · disciplined?

13· · · · A.· ·Yes.

14· · · · Q.· ·In March of 2019 was Mr. Roman

15· · · considered for a promotion?

16· · · · A.· ·I don't know what you mean a

17· · · promotion.

18· · · · Q.· ·To the best of your knowledge,

19· · · in March of 2019 was Mr. Roman

20· · · considered for a promotion?

21· · · · A.· ·Where was he going to get

22· · · promoted to?· He was a director and the

23· · · only person ahead of him was Daniel.

24· · · · Q.· ·In March of 2019 was there


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·1· · · discussion about Mr. Roman becoming

·2· · · your supervisor again?

·3· · · · · · · · ·What are you referring to

·4· · · right now, Ms. O'Brien, what document?

·5· · · · A.· ·The charges thing.

·6· · · · Q.· ·Okay.

·7· · · · A.· ·What are you --

·8· · · · Q.· ·Let me ask it this way:· At any

·9· · · time after November 1st, 2018 --

10· · · · A.· ·Okay.· All right.· I don't know

11· · · that it was a promotion.· Essentially I

12· · · guess, I guess he was, I would say the

13· · · wording is more that he was being

14· · · invited to have some of his

15· · · responsibilities back.

16· · · · Q.· ·At any time after November 1st,

17· · · 2018 did Mr. Roman ever again become

18· · · your supervisor?

19· · · · A.· ·No.

20· · · · Q.· ·You would agree with me that you

21· · · have no knowledge or -- I'm sorry.

22· · · Strike that.

23· · · · · · · · ·Do you contend that

24· · · Mr. Roman spread any other rumors other


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·1· · · than the one about you and Mr. Brady?

·2· · · · A.· ·I think that's the only one that

·3· · · I know of.

·4· · · · Q.· ·Did Dr. Pipes ever tell you that

·5· · · Mr. Roman was going to become your

·6· · · supervisor again?

·7· · · · A.· ·No.

·8· · · · Q.· ·I believe in your complaint you

·9· · · have some allegations regarding equal

10· · · pay so I would like to address those,

11· · · please.

12· · · · · · · · ·Do you allege that you were

13· · · paid less than male counterparts?

14· · · · A.· ·Yes.

15· · · · Q.· ·And who is the male counterpart

16· · · or counterparts that you're referring

17· · · to when you say that you were paid less

18· · · than?

19· · · · A.· ·My job was a little bit

20· · · different than most people's, but I

21· · · mean if I was like the director of

22· · · finance, all the other directors -- and

23· · · I think that was my title at one

24· · · point -- all the other directors made


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·1· · · much more than I did, at least like

·2· · · 10,000.

·3· · · · Q.· ·How much?

·4· · · · A.· ·Like 10,000.

·5· · · · Q.· ·You're not aware of any other

·6· · · director of finance who was paid more

·7· · · or less than you, correct?

·8· · · · A.· ·Correct.

·9· · · · Q.· ·And your predecessor in that

10· · · position, was that a female or a male?

11· · · · A.· ·It was a female.

12· · · · Q.· ·And did you make more than she

13· · · made or less than she made?

14· · · · A.· ·I believe I made more.· But I

15· · · also picked up the HR and then I also

16· · · picked up the grant management and was

17· · · responsible for tracking the grants and

18· · · creating the grant contracts and stuff

19· · · like that.

20· · · · · · · · ·So I had more responsibility

21· · · than she did so that the position that

22· · · I held was different than hers.

23· · · · Q.· ·You do not have any background

24· · · or expertise in Middle East policy,


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·1· · · correct?

·2· · · · A.· ·Correct.

·3· · · · Q.· ·You don't have any background or

·4· · · expertise in foreign policy at all,

·5· · · correct?

·6· · · · A.· ·Correct.

·7· · · · Q.· ·You do not speak a second

·8· · · language, correct?

·9· · · · A.· ·Correct.

10· · · · Q.· ·You do not have any background

11· · · or experience with database migration,

12· · · correct?

13· · · · A.· ·Correct.

14· · · · Q.· ·You filed a second charge of

15· · · discrimination against the Forum,

16· · · correct?

17· · · · A.· ·Correct.

18· · · · Q.· ·And in that charge you alleged

19· · · that Mr. Roman called the Kimmel

20· · · Center, correct?

21· · · · A.· ·Correct.

22· · · · Q.· ·And what document are you

23· · · referring to now?

24· · · · · · · · ·MS. SHIKUNOV:· I gave her


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·1· · · the second charge, Molly, and I'm

·2· · · holding it now.

·3· · · · Q.· ·We're not going to go into that

·4· · · so you can put it down.· You certainly

·5· · · can hold it, but I'm not going to ask

·6· · · you about the charge.· I'm going to

·7· · · open the complaint for you.

·8· · · · · · · · ·MS. DIBIANCA:· Erica, do you

·9· · · want to give her the retaliation

10· · · complaint?

11· · · · · · · · ·MS. SHIKUNOV:· I think I

12· · · only pulled the active complaint, but

13· · · I'm going to double-check what we have

14· · · here.· Just a second.

15· · · · · · · · ·Molly, I'm sorry.· I only

16· · · pulled the active complaint.· You're

17· · · going to have to put it on the screen

18· · · I'm sorry.

19· · · · · · · · ·MS. DIBIANCA:· That's okay..

20· · · BY MS. DIBIANCA:

21· · · · Q.· ·Can you see my screen, Ms.

22· · · ·O'Brien, paragraph 27?

23· · · · A.· ·Yes.

24· · · · · · · · ·NS, DIBIANCA: Kurt, we're


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·1· · · not going to need to mark this.· This

·2· · · is a pleading with the court so I'm not

·3· · · going to mark this as an exhibit.

·4· · · BY MS. DIBIANCA:

·5· · · · Q.· ·This is it says at the top the

·6· · · case number.· Paragraph 27 says "Upon

·7· · · information and belief, Defendant has

·8· · · deliberately interfered with

·9· · · Plaintiff's ability to find employment

10· · · elsewhere."

11· · · · · · · · ·You signed this complaint,

12· · · correct?

13· · · · A.· ·Yes.

14· · · · Q.· ·And where is it that you

15· · · believed that defendant had

16· · · deliberately interfered with your

17· · · ability to find employment?

18· · · · A.· ·I believed that he had made the

19· · · call to the Kimmel Center.

20· · · · Q.· ·Was there anywhere else that you

21· · · believed that defendant had interfered

22· · · with your ability to find employment

23· · · elsewhere?

24· · · · A.· ·No.


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·1· · · · Q.· ·So there were no other

·2· · · prospective employees that you believed

·3· · · Mr. Roman spoke with?

·4· · · · A.· ·No.

·5· · · · Q.· ·Were you subject to any sexual

·6· · · comments or remarks after November 5,

·7· · · 2018?

·8· · · · A.· ·No.

·9· · · · Q.· ·Were you subject to any unwanted

10· · · sexual advances by Mr. Roman or anyone

11· · · else at the Forum after November 5th,

12· · · 2018?

13· · · · A.· ·No.

14· · · · Q.· ·Other than the Israel trip that

15· · · we discussed at the very beginning of

16· · · your deposition that Ms. Barbounis

17· · · ended up taking, were you offered or

18· · · invited to take any other business

19· · · trips that you declined to take?

20· · · · A.· ·I don't believe so.

21· · · · Q.· ·Were you denied any -- were

22· · · there opportunities to go on a business

23· · · trip that you thought you should have

24· · · been given and that you weren't, other


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·1· · · than that one?

·2· · · · A.· ·I don't think so.

·3· · · · Q.· ·Mr. Roman's -- I'm sorry.

·4· · · Strike that.

·5· · · · · · · · ·Mr. Roman was never allowed

·6· · · to return to the workplace -- let me

·7· · · state it a different way.· I apologize.

·8· · · · · · · · ·After November 5th, 2018

·9· · · Mr. Roman continued to work remotely at

10· · · least through the end of your

11· · · employment, correct?

12· · · · A.· ·Yes.

13· · · · Q.· ·Okay.· And are you aware --

14· · · · A.· ·Actually, actually I don't know.

15· · · I can't say yes or no to that as I'm

16· · · thinking about it because I was told to

17· · · work from home.

18· · · · · · · · ·After I think Lisa got

19· · · employment, then Tricia, then Caitriona

20· · · and then Delaney, I was the last one

21· · · left and I was told that the

22· · · administrative staff wouldn't need to

23· · · work in the office anymore, that I

24· · · could work from home.· So I wasn't in


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·1· · · the office.

·2· · · · · · · · ·I did find out later that

·3· · · the new director of development was

·4· · · working out of the office every day,

·5· · · but I was told to work from home.· So I

·6· · · wouldn't know if Gregg was there or

·7· · · not.· I don't know if he was there

·8· · · after that.

·9· · · · Q.· ·So you don't have any personal

10· · · knowledge that Mr. Roman ever returned

11· · · to the workplace, correct?

12· · · · A.· ·Correct.

13· · · · Q.· ·Okay.· So as far as you know he

14· · · could be still working remotely today,

15· · · correct?

16· · · · A.· ·Correct.

17· · · · Q.· ·Did you ever talk to Matt Ebert

18· · · about Ms. Barbounis's sexual conduct?

19· · · · A.· ·I don't remember specifically

20· · · having a conversation with him about

21· · · it.· He might have overheard, you know,

22· · · me talking about it to her possibly.

23· · · Maybe I might have made an off-color

24· · · comment about her or something, but I


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·1· · · don't remember having a specific

·2· · · conversation with him about that.

·3· · · · Q.· ·Were you aware that after your

·4· · · November complaint that Tricia McNulty

·5· · · often complained about your work

·6· · · product?

·7· · · · A.· ·No.

·8· · · · Q.· ·Are you aware that she

·9· · · complained that you didn't know how to

10· · · run payroll?

11· · · · A.· ·No.

12· · · · Q.· ·Are you aware that Lisa

13· · · Barbounis did not appreciate that you

14· · · were trying to boss her around still?

15· · · · A.· ·I don't -- that doesn't surprise

16· · · me.· I don't know that I was bossing

17· · · her around but...

18· · · · Q.· ·If the Forum migrated or at

19· · · least partially migrated to the Google

20· · · G Suite in March of 2019, would you

21· · · agree with me that that was before you

22· · · deleted the materials from Dropbox in

23· · · October 2019?

24· · · · A.· ·Yeah.· So we were in Google


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·1· · · Drive at that point.

·2· · · · Q.· ·Not everyone, correct?

·3· · · · A.· ·He was -- I think Daniel had

·4· · · said that everyone could choose what

·5· · · they wanted.

·6· · · · Q.· ·Okay.· I am not asking about

·7· · · anything you discussed with counsel so

·8· · · please keep that instruction in mind

·9· · · when you answer this next question.

10· · · · · · · · ·Why did you not want to have

11· · · the same lawyer as Lisa Barbounis?

12· · · · A.· ·I never said I didn't want to

13· · · have the same lawyer as Ms. Barbounis.

14· · · I made the decision to file on my own

15· · · because I felt persecuted and I made

16· · · the decision to file.· I chose my

17· · · lawyer.

18· · · · Q.· ·Did Ms. Barbounis, did she tell

19· · · you that she did not want to have the

20· · · same lawyer as you?

21· · · · A.· ·I don't remember discussing

22· · · that.· I don't remember talking about

23· · · lawyers.· I made my decision.· I didn't

24· · · even know that I was going to do it


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·1· · · until that day.· I knew that I was

·2· · · speaking to Erica because I wanted to

·3· · · make sure that I was protecting myself.

·4· · · And the friends that I had talked to

·5· · · instructed me that I should be

·6· · · protecting myself.· So I had a

·7· · · conversation with her and that's why I

·8· · · went with my lawyer.

·9· · · · · · · · ·I actually do remember at

10· · · some point Lisa saying well, why don't

11· · · you come with my lawyer?

12· · · · · · · · ·And I was like because I

13· · · have my lawyer; I don't want to be with

14· · · you.

15· · · · Q.· ·Did you transfer money from the

16· · · Forum's bank account after you left the

17· · · Forum in the amount of $500?

18· · · · A.· ·No.· I didn't touch any of the

19· · · Forum's bank accounts after I left.           I

20· · · did actually have an automatic check

21· · · set up for myself because I was -- they

22· · · had asked me to do the books for

23· · · Savannah and they were paying me $500 a

24· · · month to do it under my LLC.


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·1· · · · · · · · ·So like it was a recurring

·2· · · bill and it would take a while to get

·3· · · there because it was processed through

·4· · · the bank.· So I set it up as recurring,

·5· · · so I actually still get checks from the

·6· · · Forum.

·7· · · · · · · · ·The last check that I got I

·8· · · remember going back and looking to see

·9· · · if I should have been paid for that, if

10· · · that was one if I should have cashed it

11· · · or not.· And I determined that that

12· · · $500 was for services rendered for

13· · · February.· So I think I did cash one,

14· · · but the rest of them that I get,

15· · · continue to get I shred them.

16· · · · Q.· ·When was the last time you got a

17· · · check from the Forum?

18· · · · A.· ·I actually got three of them not

19· · · too long ago.· They must have been hung

20· · · up in my mail forwarding and I got

21· · · three of them not too long ago and I

22· · · shredded them all.

23· · · · Q.· ·Did you notify the Forum that

24· · · you had gotten checks from them?


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·1· · · · A.· ·No.

·2· · · · Q.· ·So did you get a $500 check from

·3· · · Savannah then after you left the Forum?

·4· · · · A.· ·That's what I got, yeah.

·5· · · · Q.· ·And that one you cashed?

·6· · · · A.· ·Yes.

·7· · · · Q.· ·And you determined that that was

·8· · · provided to you for services rendered?

·9· · · · A.· ·It was for the prior month and I

10· · · had worked the entire month so I cashed

11· · · it.

12· · · · Q.· ·Okay.· Did you ever threaten

13· · · Daniel Pipes that you were going to

14· · · quit the Forum?

15· · · · A.· ·I said if he made -- I think, if

16· · · I remember correctly, I said that if he

17· · · made Matt Bennett the director I would

18· · · quit.

19· · · · Q.· ·If he made Matt Bennett the

20· · · director?

21· · · · A.· ·He made him the deputy director

22· · · or made him like the director

23· · · intermittent or whatever.· And so I

24· · · don't know what -- he was like going


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·1· · · give him a chance to prove he could be

·2· · · the director.

·3· · · · Q.· ·And did you tell Dr. Pipes that

·4· · · you would have no trouble finding

·5· · · another job if you were to quit?

·6· · · · A.· ·I don't remember.· I'm sure I

·7· · · thought that.

·8· · · · Q.· ·At your meeting at Misconduct,

·9· · · the one we discussed much earlier

10· · · today, at that time you were human

11· · · resources, correct?

12· · · · A.· ·Yes.

13· · · · Q.· ·Did you ever discuss with Daniel

14· · · Pipes that dinner or meeting?

15· · · · A.· ·No.· I felt that, I felt that he

16· · · had a crush on me and I felt like I

17· · · could just keep him at arm's length.           I

18· · · didn't realize that he was a predator.

19· · · · Q.· ·You're referring to who?

20· · · · A.· ·Gregg Roman.

21· · · · Q.· ·And you say he is a predator.

22· · · Did you -- I'll use your word,

23· · · predatory behavior.· You did not

24· · · experience any such behavior after


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·1· · · November 5th, 2018, correct?

·2· · · · A.· ·Yes.

·3· · · · Q.· ·And you've identified today all

·4· · · the instances that you felt were

·5· · · predatory behavior prior to November

·6· · · 5th, 2018, correct?

·7· · · · A.· ·No.

·8· · · · Q.· ·No?· Anything -- well, you

·9· · · summarized them in your charge,

10· · · correct?

11· · · · A.· ·Some of them.

12· · · · Q.· ·Okay.· Are you aware that

13· · · anything that's not in your charge is

14· · · not something that can be the basis for

15· · · your claim now?

16· · · · A.· ·Yes.

17· · · · Q.· ·Okay.

18· · · · · · · · ·MS. DIBIANCA:· All right.

19· · · I'm going to take about ten minutes.

20· · · Let's take fifteen minutes because I

21· · · think I can wrap up after if I get

22· · · fifteen minutes to just review my

23· · · outline.

24· · · · · · · · ·Okay, Erica?


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·1· · · · · · · · ·MS. SHIKUNOV: Yes.· Sorry.

·2· · · I can't figure out when I'm on mute or

·3· · · video, so yes.

·4· · · · · · · · ·THE VIDEOGRAPHER:· Going off

·5· · · the record at 3:42.

·6· · · · · · · · ·(A brief recess was taken.)

·7· · · · · · · · ·THE VIDEOGRAPHER:· We are

·8· · · recording and on the record at 4:00

·9· · · o'clock.

10· · · BY MS. DIBIANCA:

11· · · · Q.· ·Ms. O'Brien, you're aware that

12· · · Ms. Barbounis alleges that she

13· · · destroyed or she deleted electronic

14· · · files at your instruction, correct?

15· · · · A.· ·Yes, I'm aware of that.

16· · · · Q.· ·And you disagree with that

17· · · claim, correct?

18· · · · A.· ·I don't recall instructing her

19· · · to do that.· I was very worried about

20· · · any personal information being left on

21· · · the laptop because I was afraid that

22· · · Gregg would get access to it.

23· · · · · · · · ·I remember encouraging her

24· · · to buy it, but I don't remember, you


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·1· · · know, instructing her to do that.

·2· · · · Q.· ·Instructing her to wipe the

·3· · · device?

·4· · · · A.· ·Correct.

·5· · · · · · · · ·MS. DIBIANCA:· Erica, I have

·6· · · one, two, three, about six separate

·7· · · text messages.· My proposal would be

·8· · · this.· I would like to admit them as a

·9· · · single exhibit just to save the hassle

10· · · of marking them.· But how about we go

11· · · through them first and then you can let

12· · · me know if you think that's appropriate

13· · · or not?· Okay?

14· · · · · · · · ·MS. SHIKUNOV:· That's fine

15· · · with me.

16· · · · · · · · ·MS. DIBIANCA:· Okay.

17· · · BY MS. DIBIANCA:

18· · · · Q.· ·All right.· Ms. O'Brien, I'm

19· · · going to attempt to share my screen

20· · · here.· Let's see if I can do it this

21· · · time.

22· · · · · · · · ·You should see a document.

23· · · This is a text message.· It's a

24· · · printout, an electronic printout.· I'm


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·1· · · not sure what's the best way to say it

·2· · · is.· But, in other words, it's not on a

·3· · · phone but it came from a phone.

·4· · · · · · · · ·The date on the top is 2018,

·5· · · October 31.· Do you see that?

·6· · · · A.· ·Mm-hmm.

·7· · · · · · · · ·MS. SHIKUNOV:· You have to

·8· · · say yes.

·9· · · · A.· ·Yes.· Sorry.

10· · · · Q.· ·That's all right.· It's late in

11· · · the day.· It gets a little harder.

12· · · · · · · · ·And this is from you to

13· · · Ms. Barbounis.· Is that correct?

14· · · · A.· ·Yes.

15· · · · Q.· ·And it's 11:49 a.m. when it was

16· · · sent, correct?

17· · · · A.· ·I'm sorry.· What did you say?

18· · · · Q.· ·It was sent at 11:49 a.m.?

19· · · · A.· ·Yes.

20· · · · Q.· ·Okay.· It states "They are going

21· · · to ask what we talked about."

22· · · · · · · · ·Who were you referring to

23· · · when you said "they"?

24· · · · A.· ·The other staff members.· This


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·1· · · was, this was I believe after we had

·2· · · had coffee and we were going back to

·3· · · the office.· And I was -- I think I had

·4· · · said earlier that I was nervous because

·5· · · of what I had just kind of found out

·6· · · and I was trying to figure out how to

·7· · · handle it.· I was afraid that they were

·8· · · going to think that we were like Lara

·9· · · and Laura and conspiring when really we

10· · · weren't conspiring.

11· · · · · · · · ·She told me something that

12· · · happened and I was trying to figure out

13· · · how to handle it.· And I wanted her to

14· · · give me space and I said that the other

15· · · ones, because they knew we were going

16· · · to get coffee, were going to ask what

17· · · we talked about.

18· · · · · · · · ·So I had wanted her to just

19· · · say we were talking about that we

20· · · are -- I don't know how to say it --

21· · · our personalities, we do have similar

22· · · personalities.· We're very different,

23· · · but we just -- I think our similarities

24· · · make it hard, were making it hard for


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·1· · · us to get along and we did talk about

·2· · · that.

·3· · · · · · · · ·So I think I just was

·4· · · thinking rather than tell anybody all

·5· · · the stuff that was going on it was

·6· · · better that the office not be talking

·7· · · about it, that it not be gossip and

·8· · · that it just be kept between us until

·9· · · we figured out what to do with it.

10· · · · · · · · ·And they actually I think

11· · · were probably -- now that I'm thinking

12· · · about it, including in that would

13· · · probably have been Matt and Gregg

14· · · because they also knew that we were

15· · · going to coffee.· So I just wanted to

16· · · not have anybody's input on it, but

17· · · also I didn't trust Matt or Gregg and

18· · · was afraid that it would be handled

19· · · inappropriately if I wasn't able to

20· · · report it.

21· · · · Q.· ·Were your other coworkers at

22· · · that time aware of Laura and Lara?

23· · · · A.· ·Yeah.· Some of them were because

24· · · it was talked about, so I think mostly


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·1· · · everybody was.

·2· · · · Q.· ·And mostly, you think mostly all

·3· · · of your coworkers were aware that Laura

·4· · · and Lara were conspiring against the

·5· · · Forum?

·6· · · · A.· ·Stacey was because I think

·7· · · Stacey worked with them, as well as

·8· · · Thelma, so they definitely did.· And

·9· · · other people knew what had happened.

10· · · · · · · · ·And, again, I don't know

11· · · that they were conspiring against the

12· · · Forum.· I think at this point, and

13· · · hindsight being 20/20, I think they

14· · · probably had a gripe and I probably

15· · · think that, because Gregg was always

16· · · promoting to everybody like that we

17· · · were like friends, that they weren't

18· · · comfortable coming to me and they were

19· · · just handling it inappropriately.

20· · · · Q.· ·And this, so we have a nice

21· · · clean transcript, is D9917.

22· · · · · · · · ·The next one I would like

23· · · you to look at is marked or has been

24· · · stamped D9928.· This is the same day,


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·1· · · less than an hour later you text Lisa

·2· · · Barbounis and say "We both need to be

·3· · · model employees right now."

·4· · · · A.· ·Right when we got back from

·5· · · coffee, like I said, I was already on

·6· · · edge and Gregg, like I said earlier,

·7· · · they were at a taping of the radio show

·8· · · that they did, Matt and Gregg were.

·9· · · · · · · · ·And the minute, I felt like

10· · · the minute we got back from coffee

11· · · Gregg called her and I could hear her

12· · · talking and saying like, you know,

13· · · answering whatever questions he was

14· · · asking.· And then he called me and I

15· · · was really stressed out and I didn't

16· · · want to talk to him because I just was

17· · · overwhelmed I guess with everything

18· · · that was going on, but he did call my

19· · · office right after he spoke with her

20· · · and he was asking me, you know, what

21· · · happened?

22· · · · · · · · ·And I said we were talking

23· · · about that stuff.· And then right at

24· · · the end of the conversation -- well, I


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·1· · · have to back up for a second because

·2· · · the day that Lisa and I talked, right

·3· · · before we left she said to me wait a

·4· · · minute.· Before we leave I've got to

·5· · · tell you something.· I wrote you up.

·6· · · Matt told me that I had to write it up.

·7· · · He told me I had to before close of

·8· · · business.· They were demanding that I

·9· · · write up the issue.· She said I really

10· · · didn't want to do it because I didn't

11· · · want to like report you but they told

12· · · me I had to.

13· · · · · · · · ·She said that Matt told her

14· · · that.· And Gregg had asked me to do the

15· · · same, but I refused because I told him

16· · · I didn't think he would like what I was

17· · · going to write.

18· · · · · · · · ·So she had told me that when

19· · · we went back.

20· · · · · · · · ·So now going back to where I

21· · · was, he has me on the phone and he

22· · · said, you know, was asking me how

23· · · everything was.· And then he goes all

24· · · right; listen, I want you to act calm.


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·1· · · I don't want you to lose your mind or

·2· · · anything, but I got to tell you.· Lisa

·3· · · filed a complaint against you, but

·4· · · don't worry.· It's okay.· I can make it

·5· · · go away.· Marc Fink is going to come in

·6· · · on Friday and he is going to interview

·7· · · everybody in the office to see about

·8· · · your behavior.· So, you know, don't

·9· · · worry.· It's going to be okay.· I can

10· · · make it go away.

11· · · · · · · · ·And I was immediately

12· · · concerned that I was now going to be

13· · · targeted to be fired and that is why I

14· · · said that I would imagine.

15· · · · Q.· ·When you say he said that Marc

16· · · Fink would come in, was that Matt

17· · · Bennett?

18· · · · A.· ·No.· Gregg Roman.· That's who I

19· · · was speaking with on the phone.· Gregg

20· · · told me that Marc Fink was, that he was

21· · · going to have Marc Fink come in and

22· · · interview all the employees about my

23· · · behavior.

24· · · · · · · · ·And then at the point at


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·1· · · which we had the meeting and Marc was

·2· · · in the office a few times and I had

·3· · · asked him about that and Marc said I

·4· · · had no idea, no one ever asked me to

·5· · · come in and interview anything about

·6· · · that.

·7· · · · Q.· ·Okay.· The next text message is

·8· · · stamped as D9938.· And this is, let's

·9· · · see how far, less than ten minutes

10· · · later after the one we just reviewed.

11· · · · · · · · ·You say to Mr. Barbounis "We

12· · · need to steer clear of each other

13· · · around everyone else.· I believe you.

14· · · They need to think we are at odds

15· · · though.· They are trying to pit us

16· · · against each other, probably to get rid

17· · · of us both."

18· · · · · · · · ·Did I read that correctly?

19· · · · A.· ·Yes.

20· · · · Q.· ·And you were at this point

21· · · hiding information from Daniel Pipes

22· · · and Gregg Roman, correct?

23· · · · A.· ·I was deciding how to handle the

24· · · information that was given to me.          I


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·1· · · wasn't hiding it.· I was trying to

·2· · · handle the situation and figure out the

·3· · · best way to handle the situation

·4· · · because, again, she was telling me that

·5· · · she didn't want to report it.

·6· · · · Q.· ·Okay.· Well, you two were not at

·7· · · odds, correct, you and Ms. Barbounis?

·8· · · · A.· ·We were generally at odds all

·9· · · the time.· And I said I believe you

10· · · there because, well, she kept trying to

11· · · talk to me in the office and I needed

12· · · her to stay away from me.· I just

13· · · didn't want that because then she would

14· · · remember this or remember that or want

15· · · to say this.

16· · · · · · · · ·And I just said we need

17· · · steer clear of everyone else or around

18· · · everyone.· I did believe her.· She

19· · · didn't trust me at that point that I

20· · · was going to do the right thing, that I

21· · · was going to do my job.

22· · · · · · · · ·And I just wanted everyone

23· · · to think the situation hadn't changed

24· · · until I figured out how to handle it.


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·1· · · And they were trying to pit us against

·2· · · each other because they told us both to

·3· · · write each other up.

·4· · · · · · · · ·And I felt that they're

·5· · · trying to get rid of us.

·6· · · · Q.· ·You and Ms. Barbounis had had

·7· · · a pretty heated argument in the

·8· · · workplace, correct?

·9· · · · A.· ·Yes.

10· · · · Q.· ·Yes.· And so did you find it

11· · · unusual that following a heated

12· · · altercation in the workplace that the

13· · · involved employees would be asked to

14· · · write up a report about it?

15· · · · · · · · ·As HR, did you think that

16· · · was unusual?

17· · · · A.· ·I felt that Gregg asked for

18· · · things to be written up when it suited

19· · · him.

20· · · · Q.· ·Well, didn't Mr. Bennett ask

21· · · you?· I thought that was your

22· · · testimony.

23· · · · A.· ·No.· Gregg instructed me to do

24· · · it and Matt instructed Lisa and he


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·1· · · instructed her because Gregg told him

·2· · · to.· She said that Gregg told him to

·3· · · tell her.

·4· · · · Q.· ·That's thirdhand knowledge to

·5· · · you, correct?

·6· · · · A.· ·Lisa said Matt told me Gregg

·7· · · wanted me to write you up; it had to be

·8· · · done by close of business.

·9· · · · · · · · ·So I don't know what kind of

10· · · knowledge that is.

11· · · · Q.· ·You heard from Lisa who heard

12· · · from Matt who heard from Gregg, right?

13· · · · A.· ·Yes.

14· · · · Q.· ·Okay.· So you were not at odds

15· · · with Lisa Barbounis at the time you

16· · · sent this text message, correct?

17· · · · A.· ·I was, well, at odds thinking

18· · · that we were still fighting and I just

19· · · wanted them to think that we were still

20· · · fighting.

21· · · · Q.· ·Were you still fighting with

22· · · Ms. Barbounis at the time you sent this

23· · · text message?

24· · · · A.· ·No.· She had handed me a big


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·1· · · problem and I believed her.

·2· · · · Q.· ·So when you said they need to

·3· · · think we are at odds, you were not at

·4· · · odds, correct?

·5· · · · A.· ·No.· I don't know what we were.

·6· · · We weren't like in cahoots.· We were

·7· · · handling a situation.· So I wouldn't

·8· · · say we were at odds, no.· But we were

·9· · · both in the middle of a problem.

10· · · · Q.· ·But you instructed your coworker

11· · · to pretend that you were at odds to

12· · · hide it from your supervisors, correct?

13· · · · A.· ·I told her to steer clear of me

14· · · and to leave me alone so that we could

15· · · figure out what it was.· And I wanted

16· · · them to think that we were still at

17· · · odds because I was afraid that if they

18· · · thought that we were speaking and

19· · · sharing information that they would try

20· · · to fire us.

21· · · · Q.· ·So you wanted her to give a

22· · · false impression.· Is that correct?

23· · · · A.· ·At that moment, yes.

24· · · · Q.· ·Let's go to the next one.· This


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·1· · · one has been stamped D9941.

·2· · · · · · · · ·The same day, this is two

·3· · · minutes, actually less than two minutes

·4· · · later and you say "We need to play our

·5· · · cards together so we can get out and

·6· · · not be broke or scumbags."

·7· · · · · · · · ·Do you want to explain that

·8· · · one?

·9· · · · A.· ·Yes.· They were trying to fire

10· · · us and we both felt like we were trying

11· · · to be fired.

12· · · · · · · · ·Scumbags are people that do

13· · · the shit that Gregg Roman does and I

14· · · didn't want to do anything underhanded.

15· · · I wanted to do my job and I wanted to

16· · · keep it.

17· · · · Q.· ·You said you thought you were

18· · · being fired at that time?

19· · · · A.· ·I felt like he was gearing up to

20· · · line me up to get rid of me because,

21· · · remember, I had said after, after the

22· · · quarterly meeting and I told him I

23· · · wouldn't fuck him and after I said I

24· · · wouldn't go to Israel, remember I said


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·1· · · that I had been his right-hand man and

·2· · · then all of a sudden Matt was his

·3· · · right-hand man, I felt like I was being

·4· · · teed up to be the next one out the

·5· · · door.

·6· · · · Q.· ·So did you see Ms. Barbounis's

·7· · · complaint as a way to retain your job?

·8· · · · A.· ·I felt like Gregg Roman was

·9· · · trying to get rid of people that

10· · · wouldn't fuck him.· And I felt like if

11· · · we played our cards right and took it

12· · · to Daniel and took it to Marc that we

13· · · would not get fired and Gregg would.

14· · · · · · · · ·That's what I thought.

15· · · · Q.· ·Okay.· Didn't you ask Mr. Roman

16· · · on the same day about the real estate

17· · · course, taking time off for the real

18· · · estate course?

19· · · · A.· ·Oh, yeah.· Do you know what?           I

20· · · did because I wanted to make sure -- I

21· · · was planning at that point to go to it.

22· · · It was supposed to start on November

23· · · 5th and I knew that I was going to

24· · · report it, so I wanted to make sure


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·1· · · that Daniel knew that Gregg had already

·2· · · approved it and I wanted it in writing.

·3· · · · Q.· ·No.· My question was you asked

·4· · · Gregg?

·5· · · · A.· ·I wanted Gregg to confirm that

·6· · · he had told me I could take the class.

·7· · · I wanted it in writing because it was

·8· · · another reason I was going to be out

·9· · · for two weeks after all this.· I wanted

10· · · Daniel to know that Gregg had

11· · · previously approved it.· That is why I

12· · · reached out to him.

13· · · · · · · · ·I wanted it in writing so

14· · · that he couldn't say that I wasn't at

15· · · work for two weeks.

16· · · · Q.· ·So you were so scared that you

17· · · were going to lose your job that you

18· · · wanted to, you instructed your coworker

19· · · to give your bosses a false impression,

20· · · but on the same day you asked your boss

21· · · for confirmation that you were going to

22· · · be allowed two weeks off, correct?

23· · · · A.· ·I was confirming with him that I

24· · · could take those -- that he had given


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·1· · · me the permission for those two weeks

·2· · · because I was afraid for my job and I

·3· · · didn't want to give Gregg any

·4· · · ammunition that he could say to Daniel

·5· · · oh, she didn't show up; she was yelling

·6· · · at employees.

·7· · · · Q.· ·Were you yelling at employees?

·8· · · · A.· ·You know that I was.· Lisa and I

·9· · · had a fight.

10· · · · Q.· ·You said "employees."· So were

11· · · there others?

12· · · · A.· ·No.

13· · · · · · · · ·Yeah.· I yelled at Matt.

14· · · · Q.· ·The next one is D9949.· It looks

15· · · like this one was sent about 30 minutes

16· · · later.· You say "We just need to be

17· · · smart and no one else can know that we

18· · · have each other's backs."

19· · · · · · · · ·So would you agree with me

20· · · that in this text message you were

21· · · instructing Ms. Barbounis that you

22· · · should hide information from your

23· · · superiors?

24· · · · A.· ·I didn't want -- I was trying to


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·1· · · be smart about it because Gregg's

·2· · · incredibly smart and Gregg was already

·3· · · geared up to get Lisa fired and I felt

·4· · · like he was positioning me to be the

·5· · · next one out the door.· And I was

·6· · · trying to protect -- as you can tell,

·7· · · all of these happened the day that I

·8· · · found out about that, the day that she

·9· · · told me what he did to her.

10· · · · Q.· ·That's my point exactly.

11· · · · A.· ·It was fear and panic and it was

12· · · trying to keep our heads above water

13· · · until I could figure out how to handle

14· · · it because, again, she kept saying she

15· · · didn't want to tell him.

16· · · · · · · · ·But after thinking about it,

17· · · I realized there's really no question

18· · · for me.· It's my job.· I have to tell

19· · · him.

20· · · · Q.· ·After you told Dr. Pipes, made

21· · · the report to Dr. Pipes, at that point

22· · · did you tell him that you and Lisa,

23· · · that you have Lisa's back?

24· · · · A.· ·Well, having her back is -- I


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·1· · · don't even know that I told him that or

·2· · · not, but I believed her, I believed

·3· · · her.· I believed her story so that's

·4· · · having her back.

·5· · · · Q.· ·The next one is D9985.· And let

·6· · · me see, the same day.· It looks like

·7· · · ten hours later, if I'm doing the math,

·8· · · but I'm not sure that I am.

·9· · · · · · · · ·You say "Honestly, I figured

10· · · you would.· I think you should consult

11· · · your people and see how they guide you.

12· · · I think together we could have an

13· · · impact with DP.· I'd like to look out

14· · · for MEF but I'm in your corner in the

15· · · meantime.· I will be looking to cover

16· · · my ass.· Apparently I'm going to need a

17· · · new job.· Ugh.· So disappointing.          I

18· · · really think DP and Marc would hear us

19· · · if we went together and spoke from the

20· · · heart."

21· · · · · · · · ·So I would like to focus on

22· · · the sentence that says "I'd like to

23· · · look out for MEF but."

24· · · · · · · · ·So at that point you were


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·1· · · not looking out for MEF, correct?

·2· · · · A.· ·I was concerned that MEF was

·3· · · going to just be worrying about Gregg

·4· · · and looking out for Gregg.· I was

·5· · · taking a stand that I believed Lisa and

·6· · · I was trying to cover my ass with them

·7· · · not to lose my job, although I figured

·8· · · I was going to.· As you can see, I was

·9· · · nervous about it.

10· · · · · · · · ·I was hoping that if we took

11· · · our stories to him and told him

12· · · everything, like not just her story,

13· · · what had happened to me, I felt like

14· · · they would have to see that, coupled

15· · · with the fact that Tiffany Lee had

16· · · already alleged that he was sexually

17· · · harassing her.· Lara and Laura were

18· · · alleging that he was harassing them.

19· · · · · · · · ·I said if, I thought that if

20· · · the two of us stood together strong,

21· · · told our stories, because again she

22· · · didn't want to tell her story, I

23· · · thought that they would hear us and

24· · · that we could make it through it and


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·1· · · potentially keep our jobs.

·2· · · · · · · · ·I was wrong.

·3· · · · Q.· ·You did keep your job, didn't

·4· · · you?

·5· · · · A.· ·-ish.

·6· · · · Q.· ·You did continue to work there,

·7· · · right?

·8· · · · A.· ·I did.· From home.

·9· · · · Q.· ·From home.· At the end of your

10· · · employment, correct?

11· · · · A.· ·Yes.

12· · · · Q.· ·And you resigned, correct?

13· · · · A.· ·Yes.

14· · · · Q.· ·After you had obtained another

15· · · job, correct?

16· · · · A.· ·Yes.

17· · · · Q.· ·Where you believed you would be

18· · · making approximately $30,000 up to

19· · · $80,000 more per year, correct?

20· · · · A.· ·Not to start.· I was taking a

21· · · pay cut.

22· · · · Q.· ·You said that you expected to

23· · · earn a hundred -- you wanted to earn a

24· · · hundred but that you thought you could


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·1· · · go up to 150 I think it was?

·2· · · · A.· ·It was goal that I would be

·3· · · reaching for.· They were hiring me at

·4· · · fifty.· There was an opportunity for

·5· · · other stuff and I said that my goal

·6· · · would have been 130.

·7· · · · Q.· ·130.· But you took the job

·8· · · because you knew that there were these

·9· · · other earning opportunities that would

10· · · get you to a hundred, correct?

11· · · · A.· ·That could potentially get me

12· · · there.

13· · · · Q.· ·Well, you believed it would,

14· · · right?

15· · · · A.· ·I believed I would rather take a

16· · · try at that than stay where I was.

17· · · · Q.· ·Did you believe that you were

18· · · going to earn, you could use the

19· · · earning potential of the new job and

20· · · that you would earn at least a hundred

21· · · thousand?

22· · · · · · · · ·That was your testimony

23· · · earlier so I'm asking you if that's no

24· · · longer true.


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·1· · · · · · · · ·MS. SHIKUNOV:· Objection to

·2· · · the characterization of her testimony

·3· · · because it's a mischaracterization.· It

·4· · · speaks for itself.

·5· · · · · · · · ·And I think we're at the end

·6· · · of a deposition getting bogged down in

·7· · · semantics, but that's a mis-

·8· · · characterization of your testimony.

·9· · · · A.· ·What's the question again?

10· · · · Q.· ·You accepted the position, the

11· · · new position because you believed you

12· · · were going to earn at least $100,000,

13· · · correct?

14· · · · A.· ·No.· I accepted the position

15· · · because I could leave.· The salary that

16· · · I was offered was $50,000 and there was

17· · · a potential to earn more and I had set

18· · · a goal of about 130.

19· · · · · · · · ·They had never really done

20· · · this with anybody before so it wasn't

21· · · like there was other people that had

22· · · already done that.

23· · · · Q.· ·What cuts in your budget did you

24· · · make to accommodate for the difference


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·1· · · in salary between the seventy-one that

·2· · · you were earning at MEF and the fifty

·3· · · that you were going to earn at the new

·4· · · place?

·5· · · · A.· ·I had moved in with Matt and I

·6· · · was renting my townhouse and --

·7· · · · Q.· ·You had done that before you got

·8· · · that job offer, correct?

·9· · · · A.· ·Yeah.· But that's why I felt

10· · · like I could take it.· My expenses were

11· · · less.· I was gaining -- you know, my

12· · · household expenses, we were sharing

13· · · those.

14· · · · · · · · ·And I was having a little

15· · · bit of income from my townhouse to

16· · · cover those expenses.

17· · · · Q.· ·Let's go to the next one, D9204.

18· · · This is November 2nd, so this is after

19· · · you made the complaint to Dr. Pipes

20· · · after Dr. Pipes spoke with you about

21· · · your complaint but before the November

22· · · 5th meeting.

23· · · · · · · · ·And you say to Ms.

24· · · Barbounis "I don't think we should


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·1· · · write grants.· I think you should run

·2· · · for an office or something and I should

·3· · · be your campaign manager.· Fuck it.· Go

·4· · · big or go home.· Let's rule the world."

·5· · · · A.· ·We felt, I felt really good --

·6· · · I'm sorry.· Go ahead.· Ask your

·7· · · question.

·8· · · · Q.· ·I was going to ask you to tell

·9· · · me what this means.

10· · · · A.· ·I can't remember what -- oh, so

11· · · this was after I had given Daniel the

12· · · complaint.· So I guess -- I'm trying to

13· · · remember like what this scenario was.

14· · · · · · · · ·I guess -- I'm trying to

15· · · think what DP -- I think DP must have

16· · · shut down Gregg a little bit.· So I

17· · · felt good about that.· And we had been

18· · · talking about doing like something --

19· · · we liked working together.· As much as

20· · · we hated each other at times, I felt

21· · · like she was a hard worker and she

22· · · wanted to write grants or something

23· · · like that for -- I don't know -- like a

24· · · non-profit or whatever.


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·1· · · · · · · · ·And I said -- we didn't want

·2· · · to work there anymore and we were

·3· · · trying to think of what we could do.

·4· · · And I guess I thought she was, I said

·5· · · she was -- she certainly shouldn't run

·6· · · for office that's for sure, knowing

·7· · · what I know now.

·8· · · · · · · · ·But let's rule the world.

·9· · · We felt good, I felt good because I

10· · · felt like I stood up to a bully.

11· · · · Q.· ·What did you mean by "Go big or

12· · · go home"?

13· · · · A.· ·I don't know.· I guess like her

14· · · being for an office or something

15· · · because she likes politics.· Go big or

16· · · go home, like that's what you like,

17· · · let's do that.

18· · · · · · · · ·And I also had two beers so

19· · · I don't really know.

20· · · · Q.· ·This is marked or stamped

21· · · D10090.· It's the same day, Friday,

22· · · November 2nd, 2018.· This is Lisa to

23· · · you:· "Anyone talk to Delaney or

24· · · Caitriona?"


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·1· · · · · · · · ·When did you involve Delaney

·2· · · and Caitriona in your efforts?

·3· · · · A.· ·Well --

·4· · · · · · · · ·MS. SHIKUNOV:· I'm going to

·5· · · object to the form of that question.

·6· · · And I'm going to instruct her not to

·7· · · answer because there were no efforts.

·8· · · · · · · · ·If you want to ask her when

·9· · · they were made aware of her reporting

10· · · the sexual assessment, I'll allow her

11· · · to answer that question.

12· · · · · · · · ·MS. DIBIANCA:· Counsel, I

13· · · appreciate you suggesting the question

14· · · that I should ask, but my question is

15· · · pending and I'm not taking it back.

16· · · · · · · · ·So you can go ahead and have

17· · · your witness answer.

18· · · · · · · · ·MS. SHIKUNOV:· I just told

19· · · you I instructed her not to answer

20· · · because that is a completely

21· · · argumentative question.· So you can

22· · · rephrase it or she's not going to

23· · · answer.

24


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·1· · BY MS. DIBIANCA:

·2· · · · Q.· ·Ms. O'Brien, when did you

·3· · · involve Delaney and Caitriona in the

·4· · · sexual harassment allegations?

·5· · · · A.· ·I never involved them in the

·6· · · sexual harassment allegations.

·7· · · · · · · · ·Looking at the dates,

·8· · · Friday -- so Thursday was when Daniel

·9· · · came in and was interviewing all the

10· · · people, I think.· And the next day I

11· · · think there was a day where Gregg was

12· · · going into the office or they were

13· · · going to be in the office and they just

14· · · really didn't know what was going on

15· · · and I guess she was asking if anyone

16· · · told them.

17· · · · Q.· ·And had anyone told them?

18· · · · A.· ·I don't remember.· What was the

19· · · next text message?

20· · · · Q.· ·I'm asking you to the best of

21· · · your knowledge.

22· · · · A.· ·I know I didn't.· I don't know.

23· · · I think, I think that they knew what

24· · · had happened in Israel.· Like I said, I


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·1· · · think everybody knew, but I don't know.

·2· · · · · · · · ·I guess they knew I had

·3· · · reported it because Daniel was talking

·4· · · or I guess they knew something was up

·5· · · because Daniel was going around.· So I

·6· · · guess she was trying to find out what

·7· · · they knew or if they knew because that

·8· · · was their first job, that was their

·9· · · first big girl job, and Delaney spent

10· · · every day being terrified.

11· · · · Q.· ·Are you finished with your

12· · · answer?

13· · · · A.· ·Yep.

14· · · · Q.· ·This is D10092 and it's Friday,

15· · · November 2, 2018.· You text Lisa and

16· · · Tricia McNulty and ask them to call you

17· · · in a three-way phone call.

18· · · · · · · · ·Do you recall that?

19· · · · A.· ·I don't recall it, but it looks

20· · · like I did.

21· · · · Q.· ·And do you recall if you had the

22· · · three-way call?

23· · · · A.· ·I'm sure that we did.· And,

24· · · again, I'm looking at this time frame


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·1· · · because after Daniel kind of

·2· · · interviewed everybody he just went away

·3· · · and there was nothing.· I didn't know

·4· · · what was going on.· I didn't know

·5· · · anything.· I didn't know if I was

·6· · · getting fired.· I didn't know if Lisa

·7· · · was getting fired.· I didn't know what

·8· · · Gregg had said.· It was just in limbo.

·9· · · · · · · · ·It was actually probably the

10· · · worst weekend of my life because I just

11· · · didn't know what was going on.

12· · · · · · · · ·And I also -- I'm not sure

13· · · when I found out.· But I didn't know --

14· · · again, like we never discussed AIPAC

15· · · amongst, amongst the three of us.· Like

16· · · they never really discussed that AIPAC

17· · · moment with me.· And apparently Tricia

18· · · had other instances.· I found out that

19· · · she had lodged a complaint with him at

20· · · that point.

21· · · · Q.· ·At what point?

22· · · · A.· ·Somewhere, somewhere in there.

23· · · So I guess I was just trying to

24· · · figure -- we were all trying to figure


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·1· · · out what was going on.· We didn't know.

·2· · · · Q.· ·So in your HR capacity you had

·3· · · an off-duty call with your two

·4· · · coworkers to discuss the complaint that

·5· · · you had brought to the Forum, correct?

·6· · · · A.· ·I think I had said earlier that

·7· · · I felt like I was immediately relieved

·8· · · of my HR duties when I reported that.

·9· · · · Q.· ·Did you tell anyone at the Forum

10· · · that you thought you had been relieved

11· · · of your HR duties once you reported the

12· · · complaint?

13· · · · A.· ·Well, since they never discussed

14· · · it with me again until, you know, later

15· · · on with the group, no, I didn't have an

16· · · official conversation about it.· But

17· · · Marc Fink had definitely stepped in and

18· · · was taking the lead on it.

19· · · · Q.· ·And Marc Fink for the record is

20· · · the Forum's in-house counsel, correct?

21· · · · A.· ·Yes. And he was really the top

22· · · of the line for HR because he is a

23· · · lawyer and he has experience and all of

24· · · that.· In the Forum like he was a part


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·1· · · of HR and when things were above me

·2· · · they went to him.

·3· · · · · · · · ·MS. DIBIANCA: Erica, do you

·4· · · have a preference on how we move these?

·5· · · · · · · · ·MS. SHIKUNOV:· Nope.

·6· · · · · · · · ·MS. DIBIANCA:· Nope.· Okay.

·7· · · So what I'm going to do is I will move

·8· · · these as one exhibit but, Kurt, I can't

·9· · · recall what number we're on.

10· · · · · · · · ·Is it 4?

11· · · · · · · · ·MR. WILLIAMS:· 4 is correct.

12· · · · · · · · ·MS. DIBIANCA:· Jakob, you

13· · · said 4?

14· · · · · · · · ·MR. WILLIAMS:· Yes, 4 is

15· · · correct.

16· · · · · · · · ·MS. DIBIANCA:· We can't hear

17· · · you, pal.

18· · · · · · · · ·MR. WILLIAMS:· Yes, 4 is

19· · · correct.

20· · · · · · · · ·MS. DIBIANCA:· Okay.

21· · · Thanks.

22· · · · · · · · ·(O'Brien Deposition Exhibit

23· · · No. 4 was marked for identification.)

24· · · · · · · · ·MS. SHIKUNOV:· Molly, do you


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·1· · · know how much longer you have?· Because

·2· · · I just want to refill my water bottle

·3· · · unless you are wrapping up.

·4· · · · · · · · ·MS. DIBIANCA:· I'm going to

·5· · · do the Ebert phone call now so --

·6· · · · · · · · ·MS. SHIKUNOV:· Do you mind

·7· · · if I take two just to run to the

·8· · · kitchen?

·9· · · · · · · · ·MS. DIBIANCA:· Absolutely.

10· · · Go ahead.· No problem at all.

11· · · · · · · · ·THE VIDEOGRAPHER:· Going off

12· · · the record at 4:35.

13· · · · · · · · ·(A brief recess was taken.)

14· · · · · · · · ·THE VIDEOGRAPHER:· We are on

15· · · the record at 4:39 Eastern Time.

16· · · BY MS. DIBIANCA:

17· · · · Q.· ·So, Ms. O'Brien, I'm going to

18· · · now play the audio recording of the

19· · · phone call that we discussed earlier

20· · · from your boyfriend, Mr. Ebert, to

21· · · Mr. Roman in September 2019.

22· · · · · · · · ·The court reporter is not

23· · · going to transcribe the actual phone

24· · · call.· In the transcript it will just


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·1· · · say audio recording was played.

·2· · · · · · · · ·So it's reasonably brief,

·3· · · but I think it's like nine minutes or

·4· · · something.· So I'll just ask that you

·5· · · be patient and listen to the whole

·6· · · thing and then I'll ask you some

·7· · · questions about it at the end.

·8· · · · A.· ·Okay.

·9· · · · Q.· ·Actually, I have to do some

10· · · magic thing, don't I, Chris, to get

11· · · people to hear that, right?

12· · · · · · · · ·THE VIDEOGRAPHER:· You

13· · · should be able -- as long as it's

14· · · opened first, go to screen share, it

15· · · should play properly.

16· · · · · · · · ·MS. DIBIANCA:· Oh, yes,

17· · · share computer sound.· There you go.           I

18· · · didn't know if there was some other

19· · · thing I had to do.

20· · · · · · · · ·Erica or Ms. O'Brien, if

21· · · somebody can just nod in just a moment

22· · · to indicate that you can hear the

23· · · recording so I know that it's actually

24· · · working on your end for you to hear.


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·1· · · · · · · · ·(The audio recording was

·2· · · played at this time)

·3· · · · A.· ·(The witness nodded.)

·4· · · · Q.· ·Okay.· Thank you.

·5· · · · · · · · ·So that ends the call there.

·6· · · Who was the woman he was talking about

·7· · · in D.C. with the long sexual history?

·8· · · · A.· ·I would have to assume that's

·9· · · Lisa.

10· · · · Q.· ·And he said that she was out on

11· · · the prowl -- I'm using his words -- on

12· · · Fridays and Saturdays.

13· · · · · · · · ·How was he aware of that?

14· · · · A.· ·I don't know that she was out on

15· · · the prowl on Fridays and Saturdays.

16· · · You would have to ask him how he knows

17· · · that.

18· · · · Q.· ·He said that she was the one

19· · · that got the ball rolling and everybody

20· · · jumped in.

21· · · · · · · · ·Would you agree with that

22· · · description?

23· · · · A.· ·No.

24· · · · Q.· ·Why not?


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·1· · · · A.· ·Because there was no ball

·2· · · rolling.· There was an inappropriate

·3· · · behavior that was followed up with an

·4· · · intention to fire someone.· So it

·5· · · wasn't a ball to be rolled.· It was

·6· · · calling out a bully and a predator.· It

·7· · · wasn't a ball rolling.

·8· · · · Q.· ·Who was the person he was

·9· · · talking about who was leaving in the

10· · · next month?

11· · · · A.· ·I don't remember.· I don't know.

12· · · They were all getting jobs and job

13· · · offers, more so than I was.· I didn't

14· · · get anything really except for that

15· · · one.

16· · · · Q.· ·And he knew that Mr. Roman was

17· · · on Mr. Ebert described it as work

18· · · leave.

19· · · · · · · · ·How did Mr. Ebert know that

20· · · Mr. Roman was not in the workplace at

21· · · that time?

22· · · · A.· ·Again, I'm sure I must have

23· · · mentioned some of it to him, so I guess

24· · · he picked that up that he wasn't


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·1· · · allowed in the office.

·2· · · · Q.· ·"He," meaning Mr. Ebert, picked

·3· · · up that he, Mr. Roman, was not allowed

·4· · · in the office?

·5· · · · A.· ·Yes.

·6· · · · · · · · ·And I wasn't at a high-end

·7· · · dinner so I don't know anything about

·8· · · that.

·9· · · · Q.· ·Where were you with Mr. Ebert

10· · · and some of your coworkers?

11· · · · A.· ·I think one night we had gone

12· · · out for drinks and I called him and he

13· · · met up.· By the time he got there

14· · · everyone had left and Lisa was the only

15· · · one there and she left pretty much

16· · · immediately after he got there

17· · · because -- I don't know why but she

18· · · didn't stick around.

19· · · · Q.· ·How did he know, how did he,

20· · · meaning Mr. Ebert, know that there were

21· · · four women involved in the suit?

22· · · · A.· ·I told you I don't know what I

23· · · told him or I didn't.· I was dating

24· · · him.· I didn't confide in him.          I


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·1· · · didn't -- you know, I did ask him to

·2· · · come in and look at the ceiling.          I

·3· · · think that's the night that I did it.

·4· · · I had told him that there were issues

·5· · · and I asked him to come in and look at

·6· · · the ceiling or whatever.

·7· · · · · · · · ·So obviously I had given him

·8· · · some information, but I certainly

·9· · · wasn't confiding in him all of it.            I

10· · · actually didn't like talking about it

11· · · because it was upsetting and I was

12· · · trying to not talk about it.

13· · · · Q.· ·Did you smoke marijuana with

14· · · your coworkers?

15· · · · A.· ·They don't really smoke.          I

16· · · don't know why he said that because I

17· · · don't think I was even smoking that

18· · · night.· I actually -- I don't remember.

19· · · · Q.· ·Do you remember if you ever

20· · · smoked marijuana with your coworkers?

21· · · · A.· ·I smoked with Tricia at the gala

22· · · because somebody had had something

23· · · there and Gregg obviously and Matt.

24· · · · · · · · ·But the others, like Lisa


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·1· · · and Delaney and Caitriona, didn't

·2· · · really do that.· Tricia really didn't

·3· · · do it either, but she actually started

·4· · · to after because she was so stressed

·5· · · out.

·6· · · · Q.· ·When did she start smoking

·7· · · marijuana?

·8· · · · A.· ·I don't -- I mean I know she was

·9· · · talking about trying to use it to go to

10· · · sleep or something like that and it was

11· · · after all, after November 5th when

12· · · everybody was really stressed.

13· · · · Q.· ·How did Mr. Ebert know that

14· · · Dr. Pipes was only in about once a

15· · · week?

16· · · · A.· ·Well, I'm sure I told him that

17· · · because he, you know, knew that I

18· · · could -- you know, it wasn't like the

19· · · wild west.· Daniel said we could come

20· · · and go as we needed to and work from

21· · · home.

22· · · · · · · · ·And I think -- you know, I

23· · · know I did it more after Gregg left

24· · · because Gregg would demand us to be in


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·1· · · the office, but I would work from home.

·2· · · So I guess he was painting it like, you

·3· · · know, everything was, we were all

·4· · · running the streets, but we were all

·5· · · actually still working.

·6· · · · Q.· ·And how did Mr. Ebert know that

·7· · · Lisa had recorded you?

·8· · · · A.· ·That wasn't me.· That was a

·9· · · different recording.· And that wasn't

10· · · made up.· I don't think -- if I didn't

11· · · know it, he couldn't have known it.

12· · · And I didn't find it out until much

13· · · later.· So he definitely wasn't talking

14· · · about that.

15· · · · · · · · ·But I do know that when Lisa

16· · · was in D.C. she was out to dinner with

17· · · a bunch of girlfriends.· And I was

18· · · afraid to tell people that I had this

19· · · suit because, again, the NDA scared me.

20· · · I was afraid to say very much about it

21· · · to anybody.· Lisa would tell anybody

22· · · that walked down the street.

23· · · · · · · · ·And she was telling all

24· · · these girls at dinner and one of the


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·1· · · girls had said to her that she had

·2· · · experienced sexual harassment as well

·3· · · and coincidentally it was someone that

·4· · · you work with.· And I don't know -- I'm

·5· · · not even sure if Lisa had told her the

·6· · · whole story, but I guess she had

·7· · · alluded to it.· And then this girl

·8· · · started telling a story about Gregg and

·9· · · Lisa got a recording, she recorded her

10· · · speaking without her knowledge as well

11· · · the whole conversation with that girl.

12· · · · · · · · ·So I believe that's what he

13· · · was referring to.· I don't think she

14· · · made it up.· Actually, I believe that

15· · · girl too because all the shit that he

16· · · was saying is bullshit anyway.· He had

17· · · a couple facts and then he sprinkled in

18· · · what he wanted to paint.

19· · · · Q.· ·You're talking about Mr. Ebert

20· · · right now?

21· · · · A.· ·Yes.

22· · · · Q.· ·The recording that you're

23· · · talking about with Lisa, that Lisa made

24· · · of another person, not you, have you


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·1· · · heard that recording?

·2· · · · A.· ·I did, yeah.· And she told the

·3· · · story of how Gregg was trying to get

·4· · · her to leave the party and go to his

·5· · · hotel room and he was going to give her

·6· · · a story but he would only give it to

·7· · · her if she came to the hotel room and

·8· · · then he was peeing on the side of the

·9· · · building -- I don't know -- on the way

10· · · out the door.

11· · · · · · · · ·That's what I remember of

12· · · that when I heard it.

13· · · · Q.· ·Did you tell Mr. Ebert about the

14· · · recording?

15· · · · A.· ·I must have said something like

16· · · she had a recording of somebody else,

17· · · yes.· Either that or he overheard it on

18· · · the phone because, again, I didn't go

19· · · into detailed conversations with him

20· · · about it because, number one, I don't

21· · · like talking about it.· I had to talk

22· · · about it enough at work and just

23· · · dealing with it.· I liked to be away

24· · · from it.


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·1· · · · · · · · ·And the people that I

·2· · · confided in or consulted or tried to,

·3· · · like their shoulders that I cried on,

·4· · · if he had overheard me talking to one

·5· · · of them because a lot of them would

·6· · · call and check on me so, you know, he

·7· · · might have picked that up there.          I

·8· · · don't really know how he knows.

·9· · · · Q.· ·So some of what he said was true

10· · · and some was not true.· Is that right?

11· · · · A.· ·Yeah.· Most of it seems like

12· · · what he said wasn't true and what he

13· · · did say was kind of just like very

14· · · basic.

15· · · · Q.· ·Okay.

16· · · · A.· ·Like the girl in D.C. and a girl

17· · · that got recorded, like he didn't even

18· · · get that right.

19· · · · Q.· ·Okay.· When you hear the tape

20· · · now is it pretty clear that that is his

21· · · voice?· Is it clear to you?

22· · · · A.· ·That's him.· That's him.

23· · · · Q.· ·Okay.

24· · · · · · · · ·MS.· DIBIANCA: All right.


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·1· · · Let's go off the record, please, if

·2· · · that's okay, Erica.

·3· · · · · · · · ·THE VIDEOGRAPHER:· Going off

·4· · · the record at 5:00 o'clock.

·5· · · · · · · · ·(A brief recess was taken.)

·6· · · · · · · · ·THE VIDEOGRAPHER:· We're

·7· · · recording and back on the record at

·8· · · 5:04 Eastern time.

·9· · · · · · · · ·MS. DIBIANCA:· We're back

10· · · on, Chris, when you're ready.

11· · · · · · · · ·THE VIDEOGRAPHER:· Yes.· Can

12· · · you hear me?· We're back on the record

13· · · at 5:04.

14· · · · · · · · ·(A discussion was held off

15· · · the record)

16· · · BY MS. DIBIANCA:

17· · · · Q.· ·So, Ms. O'Brien, I would like

18· · · to play the recording now that

19· · · Ms. Barbounis made without your

20· · · knowledge.· And I may stop it at some

21· · · point to ask questions because it's a

22· · · bit long so just bear with me there.

23· · · · · · · · ·(The audio recording was

24· · · played at this time.)


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·1· · BY MS. DIBIANCA:

·2· · · · Q.· ·I'm going to stop the tape there

·3· · · and just ask you to identify who was

·4· · · who.· So who was speaking last just

·5· · · there where somebody said "I'm not

·6· · · happy"?

·7· · · · · · · · ·Was that you?

·8· · · · A.· ·Yes, that was me.

·9· · · · Q.· ·Okay.· I'm going to continue it

10· · · now.

11· · · · · · · · ·(The audio recording was

12· · · played at this time)

13· · BY MS. DIBIANCA:

14· · · · Q.· ·Let me ask a question.· I'll put

15· · · the tape on pause and I'll ask a

16· · · question.

17· · · · · · · · ·At this point in the

18· · · conversation, Ms. O'Brien, did you

19· · · think that Ms. Barbounis and some of

20· · · the other women that you worked with

21· · · were ganging up on you?

22· · · · A.· ·No, I didn't think they were

23· · · ganging up on me.· I think that, you

24· · · know, with Gregg out of the office we


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·1· · · were all still afraid that we were

·2· · · going to get fired and I wanted to keep

·3· · · my job and I wanted everybody to keep

·4· · · their job.

·5· · · · · · · · ·So I felt like they should

·6· · · have picked me for that and I knew

·7· · · background information.· I think I

·8· · · actually mentioned it earlier.· He

·9· · · had -- you know, I sat with him while

10· · · he was trying to distribute duties and

11· · · cover everything and he gave Tricia

12· · · extra money.· And then he asked me to

13· · · take on extra responsibilities and

14· · · offered me no money.· And I said, you

15· · · know, I wanted money, extra.

16· · · · · · · · ·He had just taken away my --

17· · · I had just taken a $6,000 hit for not

18· · · having my benefits paid and now he

19· · · wanted to give me extra responsibility

20· · · and not pay me for it.

21· · · · · · · · ·So I didn't feel like they

22· · · were ganging up on me.· He told me when

23· · · he told me that Lisa won he told me it

24· · · seems that she was campaigning behind


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·1· · · the scenes.

·2· · · · · · · · ·So I was just irritated

·3· · · because I was -- you know, she was very

·4· · · worried about her job.· So I was trying

·5· · · to help her get responsibilities and

·6· · · show her value.· And then when there

·7· · · was a moment for her to say yeah,

·8· · · Marnie can handle that, I thought they

·9· · · would just pick me.· And then Daniel

10· · · already knew that if I was going to do

11· · · it he was going to pay me for it or

12· · · that I wanted money for it.

13· · · · · · · · ·So I felt like her trying to

14· · · take an opportunity that should have

15· · · been mine was screwing me out of money

16· · · and out of showing my worth and my

17· · · value because, you know, we all wanted

18· · · to do that at that point.

19· · · · Q.· ·At the time of the call did you

20· · · think that Lisa was conspiring against

21· · · you with the other women?

22· · · · A.· ·No.· I thought she was

23· · · campaigning for the position.

24· · · · Q.· ·Okay.· And they all voted --


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·1· · · nobody voted for you except for

·2· · · yourself, correct?

·3· · · · A.· ·Yeah.

·4· · · · Q.· ·You did?

·5· · · · A.· ·I did.

·6· · · · · · · · ·(The audio recording was

·7· · · played back at this time.)

·8· · BY MS. DIBIANCA:

·9· · · · Q.· ·Okay.· Ms. O'Brien, the tape

10· · · that you just heard, after hearing that

11· · · tape what is your current opinion of

12· · · Ms. Barbounis?

13· · · · A.· ·I'm not happy that she taped me

14· · · without me knowing it.· I'm not happy

15· · · that she played it.· I don't know.           I

16· · · mean are you -- I don't know what

17· · · you're asking really.· Because I mean

18· · · are you asking about then or now?          I

19· · · don't know.

20· · · · Q.· ·Now.

21· · · · A.· ·I think it was pretty screwed up

22· · · that she taped me without me knowing

23· · · it, but she taped that other lady too

24· · · so it shouldn't be surprising.


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·1· · · · · · · · ·MS. DIBIANCA:· Okay.          I

·2· · · don't have any further questions.

·3· · · · · · · · ·If Erica wants to do any

·4· · · cross, I'm sorry, rebuttal, you know

·5· · · what I mean, you're happy to do it.

·6· · · · · · · · ·Did you say something?

·7· · · · · · · · ·MS. SHIKUNOV:· I'm sorry.           I

·8· · · need to project and my throat is

·9· · · killing me.

10· · · · · · · · ·We're good, caput.

11· · · · · · · · ·MS. DIBIANCA:· We can go off

12· · · the record.

13· · · · · · · · ·THE VIDEOGRAPHER:· Going off

14· · · the record at 5:32.

15· · · · · · · · ·THE COURT REPORTER: Counsel,

16· · · just to confirm, as requested I will

17· · · deliver an expedited transcript to

18· · · Molly and, Erica, you would like to

19· · · order your transcript just regular

20· · · turnaround?

21· · · · · · · · ·MS. SHIKUNOV:· Yes.

22· · · · · · · · ·MS. DIBIANCA:· Yes.

23· · · · · · · · ·(Deposition concluded at

24· · · 5:32 p.m.)


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·1· · State of Delaware· )

·2· · · · · · · · · · · ·)
· · · New Castle County· )
·3

·4
· · · · · · · ·CERTIFICATE OF REPORTER
·5

·6· · · · ·I, Kurt A. Fetzer, Registered
· · · · Diplomate Reporter and Notary Public,
·7· · · do hereby certify that there came
· · · · before me on Thursday, January 14,
·8· · · 2021, the deponent herein, MARNIE
· · · · O'BRIEN, who was duly sworn by me and
·9· · · thereafter examined by counsel for the
· · · · respective parties; that the questions
10· · · asked of said deponent and the answers
· · · · given were taken down by me in
11· · · Stenotype notes and thereafter
· · · · transcribed by use of computer-aided
12· · · transcription and computer printer
· · · · under my direction.
13
· · · · · ·I further certify that the foregoing
14· · · is a true and correct transcript of the
· · · · testimony given at said examination of
15· · · said witness.

16· · · · ·I further certify that I am not
· · · · counsel, attorney, or relative of
17· · · either party, or otherwise interested
· · · · in the event of this suit.
18

19

20
· · · · · · ·Kurt A. Fetzer, RDR, CRR
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